       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 1 of 123




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MATTHEW RALSTON                                  : CIVIL ACTION
                                                  :
                       v.                         : NO. 19-1539
                                                  :
 MITCHELL GARABEDIAN, ESQ.,                       :
 KURTIS N. POULOS, MITCHELL                       :
 GARABEDIAN LAW OFFICE                            :

                                  MEMORANDUM
                      with Findings of Fact & Conclusions of Law

KEARNEY, J.                                                                        August 26, 2022

       We presided over an extended bench trial addressing whether a former student and his

attorney defamed a teacher at a boarding school by accusing the teacher of sexual abuse from 1993

to 1995 in two 2018 letters demanding a million dollars in compensation when the former student

and his attorney agreed they would not sue. But no one believed the sexual abuse claims. The

teacher suffered no reputational harm. The central issues today are whether the former student

fabricated the allegations and, if so, whether the teacher can recover damages from the attorney

and former student by adducing clear and convincing evidence of their actual malice.

       We find the former student defamed the teacher with actual malice as the sexual abuse

accusations are demonstrably false and the former student should be liable for causing emotional

distress damages to the teacher. We also find the former student’s attorney is not entitled to the

judicial privilege. The attorney wrote the most heinous of allegations towards the teacher without

the expected care particularly when he sent a second demand letter after learning of material

inconsistencies in the former student’s story after his first demand letter. But the teacher does not

prove reputational injury necessary for compensatory damages. And the teacher does not adduce
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 2 of 123




evidence of the attorney’s actual malice by clear and convincing evidence as necessary for

presumed and punitive damages.

                                     I.   Background
       We provide a synopsis of our lengthy Findings of Fact and Conclusions of Law. A

Wisconsin lawyer trying to help her adult son struggling with alcohol-related health problems

added “two and two” to infer a boarding school teacher sexually abused her adult son as a student

at the boarding school twenty-five years earlier. The former student first mentioned being

“assaulted” at the boarding school approximately ten years ago to his mother but did not mention

sexual abuse nor identify a teacher as the abuser. But the mother began investigating potential

claims against the boarding school before he mentioned sexual abuse after the boarding school’s

headmaster generally advised its alumni of sexual abuse at boarding schools across the country in

April 2016.

       The headmaster sent another letter in November 2017 confirming historical allegations of

sexual abuse at the boarding school. The headmaster hired experienced attorneys to vet and

investigate reports from alumni. The mother remembered a geometry teacher chose her son to

answer questions during a class she visited in the 1990s. The mother “put two and two together”

and somehow concluded the teacher sexually abused her son as a student. A Minneapolis lawyer

told the mother a claim for redress for the teacher’s mid-1990s conduct is barred by the

Pennsylvania statute of limitations. The mother continued. She identified a well-known child

victim advocate and attorney in Massachusetts. The mother called the attorney seeking his advice

about notifying the boarding school of the purported assault by the teacher she remembered from

decades earlier who she now inferred sexually abused her son.




                                               2
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 3 of 123




       The Massachusetts attorney spoke to the mother and her son. The attorney also knew

Pennsylvania’s statute of limitations barred the former student’s claim. He agreed to represent the

former student in contacting the boarding school but both agreed in their retainer agreement to not

sue the boarding school since the statute of limitations barred the claim. The former student never

authorized or wanted to sue the boarding school. The attorney never met the former student in

person or over a video feed but spoke to him twice on the phone before sending an April 11, 2018

letter to the boarding school’s headmaster seeking $1,000,000 from the school based on the

teacher’s alleged sexual abuse of the former student from 1993 to 1995. The attorney based his

letter on telephone representations made to him by the former student who accused the teacher of

sexual abuse. The attorney then largely ignored the former student’s inquiries on the status of his

claim for months after sending the April 11, 2018 letter.

       The boarding school and the former teacher (now working at the boarding school as a

capital giving officer) could not so easily ignore the attorney’s words. The teacher learned of the

April 11, 2018 letter and experienced deep personal distress. Several members of the boarding

school’s executive community learned of the letter. But no one believed the allegations. No one

thought any less of the teacher. The boarding school increased the teacher’s compensation after

positive performance reviews.

       Despite the boarding school’s belief in the teacher, the boarding school immediately

attempted to uncover the facts and invited an investigation into the alleged abuse. The former

student’s attorney remained unresponsive even when the former student contacted him checking

on his progress after not hearing from him for months. The attorney finally contacted the former

student in December 2018. The former student changed his story as to where the abuse occurred

and his age during the abuse. But these material changes did not stop the attorney from sending a



                                                3
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 4 of 123




second letter to the school on December 26, 2018 with more lurid allegations even though the

attorney and former student agreed they would not sue. No one believed this second letter either

and the school did not alter the teacher’s role with its alumni nor reduce his compensation.

       The boarding school repeatedly asked the Massachusetts attorney to cooperate in an

investigation, but the attorney would not cooperate unless the boarding school agreed to non-

confidential mediation. The attorney hoped the threat of reputational harm would result in a

million-dollar payday his client never sought without facing judicial scrutiny.

       The boarding school repeatedly contacted the attorney in early 2019 to further its

investigation. The attorney did not respond. The attorney instead reminded the mother and the

former student he could not proceed given the Pennsylvania statute of limitations, but they should

reassess after one year in case Pennsylvania changed its statute of limitations. Hearing nothing

from the attorney, the boarding school dropped its investigation in April 2019.

       The teacher, still fraught over the allegations, considered a lawsuit to clear his name. The

boarding school’s lawyer told him not to sue as it would force the school to place him on leave

and litigation would harm everyone. The teacher sued anyway seeking to clear his name. He sued

the attorney and the former student in April 2019 knowing suing a former student could result in

losing his position working with the school’s alumni.

       Throwing lurid accusations into demand letters when you will not sue differs from the civil

discovery process leading to the crucible of trial. We held a trial hoping to discover the truth based

on testimony including from the teacher and the student. The former student’s mother did not

appear or testify over a virtual platform afforded to all witnesses. We evaluated the credibility of

several fact and expert trial witnesses surrounding this most serious claim of teacher sexual abuse.




                                                  4
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 5 of 123




We are ever mindful of the need to bring predators of our students to trial and potential justice

either through the criminal system or through civil remedies based on investigated facts.

       The trial evidence amply demonstrated the former student’s sexual abuse story is not

credible. We find the former student, for whatever reason, concocted the sexual abuse claims as

shown by several determinative facts.

       The attorney’s words in two demand letters sent knowing he would not file a lawsuit are

not entitled to judicial privilege. The attorney and the former student agreed to not sue. But we

cannot award damages to the teacher from the attorney. The attorney’s statements did not injure

the teacher’s reputation. The teacher created and maintained such a reputation of renown that no

one believed the former student or the well-known attorney. The teacher lost his job in mid-2019

because he decided to sue a former student but he maintained his reputation after allegations no

one believed. And the teacher did not adduce clear and convincing evidence the attorney acted

with actual malice as required by decades of defamation law largely based on sustaining freedom

of the press but now extended to require the same heightened standard of proof for statements by

non-media speakers about private persons if the private persons do not establish reputational

injury. We do not condone the attorney’s conduct after a limited investigation. We are offended

by his cavalier approach to facts which could destroy a teacher’s career particularly when his client

starts to change material facts. But failure to investigate to the level we expect is not clear and

convincing evidence of actual malice. We cannot find by clear and convincing evidence the

attorney subjectively disbelieved the former student’s story or entertained serious doubts as to its

truth as required by long-established law. The evidence instead shows the attorney refused to doubt

the core of the former student’s claim. We cannot award the teacher damages from the attorney

based on the evidence.



                                                 5
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 6 of 123




       The scrutiny afforded by direct and cross-examination allows us to find the former student

fabricated his story and, even absent reputational harm, is liable for the emotional distress caused

to the teacher based on the former student’s actual malice. We calculate those damages at $50,000.

We cannot enter judgment for this amount as there is no personal representative under

Pennsylvania law for the former student who passed away after our trial and before we could issue

our analysis.

                 II.   FINDINGS OF FACT AFTER BENCH TRIAL 1
       1.         The Hill School is a private college preparatory boarding school located in

Pottstown, Pennsylvania. 2

        2.        Matthew Ralston taught math classes, coached sports, and held various leadership

positions at The Hill School from 1992 to 2009. 3

       3.         Mr. Ralston enjoyed a sterling reputation at The Hill School. He received excellent

evaluations from his students; 4 many grateful messages from students and parents he had helped

during his career; 5 and a dedication of the 2009 Hill School yearbook. 6

       4.         Students at The Hill School displayed “extraordinary” respect for Mr. Ralston,

“treat[ing] him like a member of the[ir] family.” 7

       5.         Mr. Ralston’s colleagues also “highly respected” him. 8 Mr. Ralston’s colleagues

viewed him as “[a] champion for the weak,” “somebody who supports and lifts students who are

struggling,” somebody who “has no patience for bullies and will stand up to them,” and

“[s]omebody who was always seeing the good and trying to draw it out of his students and his

colleagues.” 9




                                                   6
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 7 of 123




        6.         Mr. Ralston kept a box called “Why I Teach” in his home where he stored notes

and other mementos he received from students over the years. 10 He emotionally testified about

some memories he kept in his “Why I Teach” box.

        7.         The Hill School was “so important” to Mr. Ralston. He worked there for decades,

enjoying a “career . . . as fulfilling as [he] could have ever dreamed a job would be.” 11 His two

sons attended The Hill School and “were surrounded by some of the best examples of young men

that [Mr. Ralston] could have ever imagined.” 12 The Hill School was Mr. Ralston’s “whole life.”13

        8.         Mr. Ralston left The Hill School to serve as headmaster of the Leelanau School in

Michigan from 2009 to 2016. 14

        9.         Mr. Ralston returned to The Hill School in 2016 to work as a capital giving officer.

His job responsibilities entailed soliciting donations from The Hill School alumni. 15 He lived in

Ohio and travelled throughout the Midwest to engage alumni. 16 He visited The Hill School

occasionally. 17

        10.        Kurtis Poulos attended The Hill School for his freshman and sophomore years of

high school from 1993 to 1995. 18 He was the fourth member of his family to attend The Hill

School. 19

        11.        Mr. Ralston taught Mr. Poulos geometry when Mr. Poulos was in tenth grade and

aged between fourteen and fifteen at The Hill School in 1994 and 1995. 20

        12.        Mr. Poulos wrote a positive anonymous review of Mr. Ralston after his sophomore

year. 21 Mr. Poulos wrote he “would recommend” Mr. Ralston to other students. 22

        13.        Mr. Poulos attended Marquette University High School for his junior year from

1995 to 1996. 23 He voluntarily returned to The Hill School for his senior year from 1996 to 1997. 24




                                                    7
         Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 8 of 123




                          Mr. Poulos discloses alleged assault to his mother.

         14.     In 2012 or 2013, Mr. Poulos lived with his mother, Mary Ellen Poulos. 25 Mrs.

Poulos is a licensed attorney. 26 She practiced for about forty years focusing on civil rights

litigation. 27

         15.     In 2012 or 2013, Mr. Poulos told his mother he had been “assaulted.” 28 He

“mentioned no names.” 29 Mr. Poulos did not mention when or where the assault occurred. 30 Mr.

Poulos simply told Mrs. Poulos the person who assaulted him “was a teacher.” 31

         16.     Mrs. Poulos recalled Mr. Poulos had “said something about a math teacher.” 32 He

did not “indicate . . . in any way” he had suffered sexual assault. 33

         17.     When Mr. Poulos told Mrs. Poulos about the assault, he “was lashing out.” 34 He

“was hysterical,” “yelling,” and “beside himself with pain.” 35 He “was drinking heavily” around

the time he disclosed the assault to Mrs. Poulos. 36 His behavior was “unpredictable.” 37 He “picked

up something and threw it” during the conversation. 38

         18.     Mrs. Poulos inferred her son had suffered sexual abuse from what he told her. 39 She

“just put two and two together and came up with four.” 40 She reasoned she “would have known

about it when it happened” if the abuse had been non-sexual. 41

         19.     Mrs. Poulos also inferred the abuse occurred during Mr. Poulos’s sophomore year

at The Hill School because she “had put two and two together.” 42 She made this inference by

thinking about Mr. Poulos’s “time at Hill” and “notic[ing] the precipitous drop in his grades

sophomore year.” 43

         20.     Mrs. Poulos never asked Mr. Poulos who abused him. 44

         21.     Mr. Poulos “never told” Mrs. Poulos “anything about when, where, how, who,

about the incident.” 45



                                                   8
         Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 9 of 123




         22.     A few months after 46 Mr. Poulos told Mrs. Poulos about the assault, Mr. Poulos

suffered “acute alcohol poisoning” 47 after drinking “[him]self into a coma.” 48 He became “very,

very sick” and required a hospital stay. 49

     The Hill School addresses national allegations of sexual abuse at boarding schools as
                            Mrs. Poulos investigates Mr. Ralston.

         23.     Hill School Headmaster Zachary Lehman wrote to the Hill School community on

April 23, 2016 acknowledging allegations of sexual abuse against employees of boarding schools

nationally. 50 He assured alumni and parents The Hill School does not tolerate sexual abuse and

outlined its “rigorous protocol” for ensuring sexual abuse does not occur at The Hill School. 51

         24.     Mrs. Poulos received Headmaster Lehman’s April 23, 2016 letter. 52 She does not

recall whether she discussed it with Mr. Poulos. 53 She does not recall how Mr. Poulos reacted to

the letter. 54

         25.     Headmaster Lehman’s April 23, 2016 letter motivated Mrs. Poulos “to try and

figure out who had done this to my son and report it to the school.” 55 It made her “tenacious.” 56

         26.     Mrs. Poulos then emailed The Hill School asking for the name of Mr. Poulos’s

sophomore year geometry teacher. 57 Mrs. Poulos asked for the name of the geometry teacher

because she remembered a time visiting her son’s geometry class when Mr. Poulos answered a

question. Another student interrupted Mr. Poulos while he answered. The teacher stopped the other

student, saying, “Let Kurt do it his way.” 58

         27.     Mrs. Poulos discovered Mr. Ralston taught Mr. Poulos geometry. 59

         28.     Mrs. Poulos endeavored to discover if Mr. Ralston “was the one” who abused Mr.

Poulos. 60 She did so without asking Mr. Poulos about Mr. Ralston. 61 She thought “it was too hard

on” Mr. Poulos “to talk about it.” 62 Mrs. Poulos “suspected” Mr. Poulos would tell her Mr. Ralston

abused him if she asked Mr. Poulos. 63


                                                 9
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 10 of 123




        29.     Mrs. Poulos then contacted a journalist with The New York Times who reported on

sexual abuse at boarding schools to “see if there was any inkling in her research” about The Hill

School. 64 The reporter “said no.” 65

        30.     Mrs. Poulos contacted Minneapolis lawyer Jeffrey Anderson. Attorney Anderson

told Mrs. Poulos the statute of limitations governing potential claims by Mr. Poulos for the alleged

assault had expired. 66

        31.     Mrs. Poulos obtained copies of Mr. Poulos’s Hill School yearbooks. 67

        32.     Mrs. Poulos located Mr. Ralston online. At the time, Mr. Ralston served as head of

school at The Leelanau School in Wisconsin. She contacted The Leelanau School to query Mr.

Ralston’s “employment status.” 68

    Headmaster Lehman notifies The Hill School community of sexual abuse allegations.

        33.     Headmaster Lehman wrote to The Hill School alumni on November 20, 2017

notifying them of “historical allegations” of sexual abuse at The Hill School. 69

        34.     Headmaster Lehman disclosed The Hill School began a review of the allegations

led by attorneys Gina Smith and Leslie Gomez. 70 The review uncovered “several troubling

incidents” which occurred “several decades ago” by former Hill School faculty. 71

        35.     The Hill School’s investigation did not uncover allegations against or wrongdoing

by Mr. Ralston. 72 The investigation also did not involve Mr. Poulos.

        36.     Headmaster Lehman acknowledged: “I understand there may be more alumnae/i

who have similar experiences. . . . I also expect . . . that we may continue to learn more about

sexual and gender-based harassment and violence at The Hill.” 73

        37.     Headmaster Lehman invited “any Hill School community member who wishes to

share his or her experiences with the School, or, if appropriate, with law enforcement” to come

forward. He encouraged “any students, parents, alumni, or staff to reach out directly to the School
                                                10
        Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 11 of 123




to share your observations and feedback.” 74 Headmaster Lehman invited students to contact him

directly. 75

               Mrs. Poulos contacts Attorney Garabedian about Mr. Poulos’s claims.

        38.      Mr. Poulos interpreted Headmaster Lehman’s November 20, 2017 letter as an

“invitation” to contact the school. 76

        39.      But Mrs. Poulos told Mr. Poulos not to contact The Hill School or Attorneys Gomez

and Smith because she thought Attorneys Gomez and Smith helped institutions cover up sexual

abuse. 77

        40.      Mrs. Poulos told Mr. Poulos he should not contact Attorneys Gomez and Smith

“unrepresented.” 78

        41.      Mrs. Poulos instead contacted attorney Mitchell Garabedian, a Massachusetts

attorney with well-known experience representing victims of sexual abuse, in December 2017. 79

Attorney Garabedian gained notoriety after being favorably portrayed in the award-winning movie

Spotlight for his work uncovering abuse of children in Boston. 80 Attorney Garabedian’s law firm

touts his representing “thousands” of alleged sexual abuse victims. 81

        42.      Mrs. Poulos contacted Attorney Garabedian to obtain his thoughts on whether “it

would be a good idea” for Mr. Poulos to contact Attorneys Gomez and Smith. 82 Attorney

Garabedian advised against it. 83

        43.      Mrs. Poulos did not tell Mr. Poulos she planned to contact Attorney Garabedian

before she contacted him. 84

        44.      Mrs. Poulos never identified Mr. Ralston as her son’s abuser to Attorney

Garabedian. 85

        45.      Mrs. Poulos knew a “lawsuit didn’t have anything to do with” contacting Attorney

Garabedian because “[w]e weren’t even thinking of a lawsuit.” 86
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       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 12 of 123




        46.      Mrs. Poulos knew the statute of limitations governing potential claims against Mr.

Ralston or The Hill School had expired from her conversations with Minneapolis Attorney

Anderson.

        47.      Mrs. Poulos only would have considered a lawsuit once it “became viable”—i.e.,

once the statute of limitations governing her son’s claims changed. 87

              Mr. Poulos tells Attorney Garabedian Mr. Ralston sexually abused him.

        48.      Mr. Poulos contacted Attorney Garabedian after speaking to his mother about her

interaction with Attorney Garabedian.

        49.      Mr. Poulos wanted Attorney Garabedian to obtain “relief” from The Hill School

for the purported abuse he suffered there. 88 He sought recoupment of his Hill School tuition and

counseling. 89

        50.      Attorney Garabedian and his associate, Attorney Salvatore Ciulla, first spoke with

Mr. Poulos on December 12, 2017 by telephone. 90

        51.      Mr. Poulos told Attorney Garabedian he contacted him because of Headmaster

Lehman’s 2017 email. 91 Mr. Poulos told Attorney Garabedian he called him because he did not

know whether he should contact Attorneys Gomez and Smith or Headmaster Lehman in response

to the November 2017 letter. 92

        52.      Mr. Poulos told Attorney Garabedian Mr. Ralston sexually abused him. 93

        53.      There is no credible evidence Mr. Poulos accused Mr. Ralston of sexually abusing

him until this call.

        54.      Attorney Garabedian told Mr. Poulos Pennsylvania’s statute of limitations barred

his potential claims against The Hill School or Mr. Ralston. 94 Attorney Garabedian also told Mr.

Poulos he had obtained between $100,000 and $500,000 for other alleged abuse victims through

“settlement” despite their claims being outside the statute of limitations. 95
                                                  12
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 13 of 123




        55.     Attorney Garabedian’s associate, Attorney Daniel Mahoney, conducted an intake

interview with Mr. Poulos by telephone on December 13, 2017. 96 Attorney Garabedian

participated in about thirty percent of this call. 97 He trusted Attorney Mahoney to conduct the call

because he had trained Attorney Mahoney for about one year on client intake interviews. 98

        56.     Attorney Garabedian designed his firm’s standard intake interview to probe the

accuser’s name, address, criminal history, childhood, family history, marital status, relationship to

his parents, where they lived, educational history, and damages. 99 The interview also probed the

accuser’s name, physical appearance, actions, and position of authority. 100 And the interview

probed the location, time, and description of the abuse. 101

        57.     Mr. Poulos told Attorneys Garabedian and Mahoney how Mr. Ralston sexually

abused him while he attended The Hill School during his freshman and sophomore year. 102

        58.     Mr. Poulos said the abuse started when he was fourteen and ended when he was

sixteen. 103

        59.     Mr. Poulos said the abuse occurred in a study room, cubicles in the basement of

The Hill School, and in his dorm room. 104

        60.     Mr. Poulos said Mr. Ralston fondled him in class, rubbed his back, fellated him,

and made him fellate Mr. Ralston. 105

        61.     Mr. Poulos described Mr. Ralston’s physical appearance. 106

        62.     Mr. Poulos said he suffered guilt, lack of sleep, shame, and embarrassment. 107

        63.     Mr. Poulos provided his health, residential, academic, financial, familial, and

criminal history. 108

        64.     Mr. Poulos said he transferred to Marquette in Wisconsin after his sophomore year

at The Hill School. 109 He said he then transferred back to The Hill School for his senior year. 110



                                                 13
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 14 of 123




       65.     Attorney Garabedian insisted he would not sign a non-disclosure agreement with

The Hill School as part of his representation of Mr. Poulos. 111 Mr. Poulos agreed and told Attorney

Mahoney it did not matter whether he “outed” Mr. Ralston. 112

                      Attorney Garabedian credits Mr. Poulos’s allegations.

       66.     Attorney Garabedian believed Mr. Poulos’s allegations. 113

       67.     Headmaster Lehman’s 2017 letter made Attorney Garabedian think “red flags”

existed at The Hill School. 114

       68.     Attorney Garabedian perceived Mr. Poulos to be “in pain,” “anguish,” and “misery”

while Mr. Poulos accused Mr. Ralston of sexual abuse over the phone. 115 Attorney Garabedian

found this behavior consistent with abuse victims’ behavior because they typically act nervously

and anxiously while reporting abuse. 116

       69.     Mr. Poulos disclosed his arrest history to Attorney Garabedian. 117 Attorney

Garabedian found his criminal history consistent with sexual abuse victims’ because abuse victims

“act[] out” following the abuse. 118 He also thought this made Mr. Poulos credible because he “was

open and up front” about his criminal history. 119

       70.     Mr. Poulos told Attorney Garabedian he had received psychological treatment for

the abuse. 120 Attorney Garabedian found this consistent with other abuse victims because many

receive psychological treatment. 121

       71.     Attorney Garabedian did not think Mr. Poulos returning to The Hill School his

senior year belied his abuse claims. He thought returning constituted Mr. Poulos’s way of saying

“F you’” to The Hill School. 122

       72.     Attorney Garabedian thought Mr. Ralston “groom[ed]” Mr. Poulos—for example,

rubbing his back to “test[] the waters.” 123 Attorney Garabedian found this conduct consistent with

the behaviors of sexual abusers. 124
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       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 15 of 123




              Attorney Garabedian and Mr. Poulos agree they will not file a lawsuit.

        73.     Attorney Garabedian told Mr. Poulos the statute of limitations barred any lawsuit

against The Hill School or Mr. Ralston during the intake interview. 125

        74.     Attorney Garabedian did not tell Mr. Poulos the statute of limitations might change,

nor did he tell Mr. Poulos he hoped to help change the statute of limitations in Pennsylvania. 126

        75.     Attorney Garabedian did not tell Mr. Poulos he had contacted legislators about the

statute of limitations or had lobbied to change the statute of limitations. 127

        76.     Mr. Poulos understood the statute of limitations for a potential lawsuit had

expired. 128 He had previously asked an unidentified attorney in 2013 or 2014 and the attorney told

him the statute of limitations had expired for criminal charges against Mr. Ralston. 129

        77.     Mr. Poulos did not intend to file a lawsuit against The Hill School or Mr. Ralston.

He instead hired Attorney Garabedian only to “be prepared” if the Pennsylvania General Assembly

and Governor someday amended Pennsylvania’s statute of limitations. 130

        78.     Mr. Poulos never planned to “take legal action” against Mr. Ralston because

“[t]here was no point in thinking about something that has an undetermined date.” 131

        79.     Mr. Poulos would only have considered a lawsuit if the statute of limitations

changed. 132 If the statute changed, “then” he would “contemplate if” a lawsuit would be “worth

the time and mental energy to deal with.” 133

        80.     But Mr. Poulos still wanted Attorney Garabedian to relay his allegations to The Hill

School. 134

        81.     Mr. Poulos hoped Attorney Garabedian would relay his allegations to Headmaster

Lehman and The Hill School board of trustees. 135

        82.     Mr. Poulos and Attorney Garabedian signed a contingent fee agreement governing

Attorney Garabedian’s representation of Mr. Poulos. 136 They agreed Attorney Garabedian would
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       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 16 of 123




perform services regarding: “Injuries caused by Matthew Ralston . . . and The Hill School.” 137

They agreed Attorney Garabedian would receive 33.3% of the damages he recovered for Mr.

Poulos. 138

        83.    Consistent with Mr. Poulos’s purposes for contacting Attorney Garabedian, Mr.

Poulos and Attorney Garabedian further agreed: “Client and Lawyer agree that a complaint or

lawsuit will not be filed in this matter because the Statute of Limitations has run or expired.” 139

        84.    Attorney Garabedian did not include language in the contingency fee agreement

about modifying the agreement should the statute of limitations governing Mr. Poulos’s claims

change. 140

        Attorney Mahoney obtains background information about Mr. Poulos’s claims.

        85.    Attorney Mahoney then investigated Mr. Ralston’s background following the

intake call. He located online posts from The Hill School about Mr. Ralston’s career and Mr.

Ralston’s LinkedIn page. 141

        86.    Attorney Mahoney also endeavored to obtain Mr. Poulos’s records containing

“background information.” 142

        87.    Attorney Garabedian requested Mr. Poulos’s records with Mr. Poulos’s release

from The Hill School almost six weeks after their intake call. 143 The Hill School did not respond.

        88.    Attorney Garabedian obtained Mr. Poulos’s academic files from Marquette, which

included Mr. Poulos’s Hill School transcript. 144

        89.    The transcript showed Mr. Poulos attended a geometry class at The Hill School

from 1994 to 1995. 145 Mr. Ralston signed the transcript. 146

        90.    Attorney Garabedian did not obtain Mr. Poulos’s criminal records until this lawsuit

even though Mr. Poulos disclosed arrests to Attorney Garabedian during the intake interview. 147



                                                 16
          Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 17 of 123




          91.    Attorney Garabedian did not obtain Mr. Poulos’s medical records even though Mr.

Poulos disclosed psychological treatment for the abuse to Attorney Garabedian. 148

          92.    Attorney Garabedian did not obtain Mr. Poulos’s Hill School file until this

lawsuit. 149

   Attorney Garabedian sends an April 11, 2018 letter accusing Mr. Ralston of sexual abuse.

          93.    Attorney Garabedian sent an April 11, 2018 letter to Headmaster Lehman (the

“April 11 Letter”). 150

          94.    Attorney Garabedian wrote in the April 11 Letter: “This letter is an attempt to settle

and compromise claims involving Matthew B. Ralston . . . and Mr. Ralston’s supervisors at The

Hill School.” 151

          95.    Attorney Garabedian accused Mr. Ralston in the April 11 Letter of “repeatedly

sexually molest[ing]” Mr. Poulos when Mr. Poulos was between fifteen and seventeen years old. 152

Attorney Garabedian claimed the “brief description” of the sexual abuse was “meant to briefly

touch the surface of the relevant facts.” 153

          96.    Attorney Garabedian claimed the sexual abuse caused Mr. Poulos extensive

emotional and psychological damages. 154

          97.    Attorney Garabedian concluded: “Mr. Poulos’s demand for settlement is

$1,000,000.00. I await your response. Thank you.” 155

          98.    Mr. Poulos did not ask Attorney Garabedian to send the April 11 Letter. 156

          99.    Attorney Garabedian did not show Mr. Poulos the April 11 Letter before he sent

it. 157

          100.   Mr. Poulos never intended to demand one million dollars from The Hill School. 158

          101.   Mr. Poulos “had no discussions” with Attorney Garabedian between December

2017, when he signed the contingency fee agreement, and April 2018. 159
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        Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 18 of 123




   The Hill School officials respond to the April 11 Letter, but Attorney Garabedian ignores
                                             them.

         102.      Headmaster Lehman received Attorney Garabedian’s April 11, 2018 Letter. 160

         103.      Headmaster Lehman shared the April 11 Letter with The Hill School’s attorney,

Thomas Rees, and with members of The Hill School’s board: Board Chairman Preston Athey,

Board Vice Chairman Andrew Soussloff, Legal Committee Chairman Geoffrey Richards, Legal

Committee Vice Chairwoman Michelle Gyves, and Chief Financial Officer Richard Wood. 161

         104.      Attorney Rees reviewed the April 11 Letter and determined it made “very serious

allegations.” 162

         105.      He called Attorney Garabedian’s offices “within one day or two” of receiving the

letter and left a voicemail about the allegations. 163

         106.      Attorney Garabedian did not return Attorney Rees’s message. 164

         107.      Attorney Rees faxed Attorney Garabedian a letter asking to discuss “the charges in

the letter.” 165

         108.      Attorney Garabedian did not respond to Attorney Rees’s fax. 166

                       Mr. Ralston discovers Attorney Garabedian’s allegations.

         109.      Mr. Ralston, working for The Hill School as a capital giving officer in the Midwest,

visited The Hill School for its “Career Day” in late April 2018. 167 He stopped into Headmaster

Lehman’s office, as he often did when he returned to The Hill School. 168

         110.      Headmaster Lehman asked Mr. Ralston, “Are you here about the letter?” 169

         111.      Mr. Ralston did not know about the April 11 Letter until Headmaster Lehman asked

him about it. 170

         112.      Headmaster Lehman explained the contents of the April 11 Letter to Mr. Ralston

and later sent him a copy of the letter. 171


                                                    18
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 19 of 123




       113.    Mr. Ralston found the allegations “sickening” and “surreal.” 172 As Mr. Ralston read

the April 11 Letter, he thought, “Why? Why is this here? No way,” and, “It’s all lies.” 173

       114.    Attorney Rees discussed the allegations with Mr. Ralston on three telephone calls

and through email in April 2018. 174 Attorney Rees sought to discover Mr. Ralston’s “dealings with

Mr. Poulos” and discuss “the nature of the charges.” 175

       115.    Mr. Ralston emailed Attorney Rees about his alleged encounters with Mr. Poulos

when Mr. Poulos attended The Hill School. 176 Mr. Ralston could recall only one incident involving

Mr. Poulos. He recalled an incident in which Mr. Poulos violated school rules by parking his car

in a restricted campus lot on a weekend during the 1996–97 school year. 177 Mr. Ralston used his

own car to block Mr. Poulos’s car into its parking spot so Mr. Poulos could not drive off before

the dean could discipline Mr. Poulos. 178

                 Attorney Garabedian ignores Mr. Poulos’s matter for months.

       116.    There is no evidence Attorney Garabedian worked on Mr. Poulos’s matter between

April 2018 and September 2018.

       117.    Mr. Poulos emailed Attorney Garabedian on September 17, 2018. 179 Mr. Poulos

wrote: “I haven’t heard from you in quite some time. I was just wondering if you have any updates

concerning my case against the Hill School.” 180

       118.    Attorney Garabedian did not respond. 181

       119.    Attorney Garabedian instead called Attorney Rees the day after receiving Mr.

Poulos’s email. 182

       120.    Attorney Rees missed the call, but promptly returned it. 183

       121.    Attorney Garabedian did not return Attorney Rees’s call. 184 Attorney Garabedian

resumed inactivity on Mr. Poulos’s matter.



                                                19
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 20 of 123




                 Attorney Garabedian resumes working on Mr. Poulos’s matter.

        122.   Attorney Garabedian resumed work on Mr. Poulos’s matter after Mrs. Poulos

angrily emailed Attorney Garabedian on December 18, 2018: “It has been almost a year since there

has been any communication from you as far as I know. Yet, on 12/16 I hear from [The Hill

School.] The email from Hill was a solicitation for MONEY!’” 185

        123.   Mrs. Poulos continued: “In my last email to you on 1/18[ 186] I expressed concern

about your lack of communication about this matter. This concern has been magnified by the mere

passage of time and the unsettling request for money from Hill.” 187

        124.   Mrs. Poulos concluded: “Can you please tell us something—anything—about this

case?! All we want is a refund of his tuition.” 188

        125.   Mr. Poulos also sent Attorney Garabedian an email complaining he had not heard

from Attorney Garabedian for a year. 189

        126.   These emails prompted Attorney Garabedian to revisit Mr. Poulos’s matter.

        127.   On December 18, 2018—the same day Mrs. Poulos emailed Attorney

Garabedian—Attorney Garabedian and his associate Nathan Gaul called Mrs. Poulos. 190

        128.   The attorneys’ notes reflect Attorney Garabedian discussed with Mrs. Poulos the

possible changing of Pennsylvania’s statute of limitations governing Mr. Poulos’s claim. 191 The

notes read: “MG [Attorney Garabedian] tells Mary Ellen [Mrs. Poulos] there’s movement to

amend SOL [statute of limitations], projected to take at least 9–12 months, but no guarantees.” 192

        129.   Attorney Garabedian emailed Attorney Rees on December 18, asking Attorney

Rees to “[p]lease contact me so we can discuss this matter.” 193

        130.   Attorney Rees responded within an hour, writing: “Let us schedule a call this week

. . . I have tried several times to reach you and it will be helpful to finally have the chance to

speak.” 194
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       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 21 of 123




        131.    Attorneys Garabedian and Gaul spoke with Mr. Poulos by phone on December 19,

2018 before their call with Attorney Rees. 195 Mr. Poulos updated the attorneys about his life.

Attorney Garabedian informed Mr. Poulos he would speak to Attorney Rees in the coming days. 196

        132.    There is no credible evidence Attorneys Garabedian and Gaul discussed a lawsuit

or a change in the statute of limitations during this December 19, 2018 call with Mr. Poulos. 197

        133.    Attorneys Garabedian and Gaul spoke to Attorney Rees by phone for the first time

on December 21, 2018. 198

        134.    Attorney Garabedian told Attorney Rees he would still pursue Mr. Poulos’s claims

and his $1 million demand still stood. 199

        135.    Attorney Garabedian proposed mediation. 200 He said he would not agree to a

confidential mediation. 201

        136.    Attorney Rees said The Hill School could not agree to mediate Mr. Poulos’s claims

without “an investigation.” 202

        137.    Attorney Rees asked Attorney Garabedian for “more specific allegations,” which

Attorney Garabedian said he would provide. 203

 Attorneys Garabedian and Gaul speak with Mr. Poulos, who provides different details about
                                       the abuse.

        138.    Attorneys Garabedian and Gaul spoke with Mr. Poulos again on December 26,

2018 to “get information” to tell Attorney Rees so he could “begin his investigation.” 204

        139.    Mr. Poulos told the attorneys Mr. Ralston would make him stay after class when

geometry fell as the last class of the day. 205

        140.    Mr. Poulos said Mr. Ralston “fondled” his penis and testicles, “skin on skin; put

mouth on penis,” and made Mr. Poulos do the same thing. 206




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       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 22 of 123




        141.    Mr. Poulos claimed Mr. Ralston sexually abused him ten to fifteen times over the

year, always in his geometry classroom during his sophomore year. 207

        142.    This allegation differed from Mr. Poulos’s initial allegations to Attorneys

Garabedian and Mahoney in 2017. Mr. Poulos initially reported the abuse occurred during his

freshman and sophomore year, not just his sophomore year. He also initially reported the abuse

occurred in study cubicles and his dorm room, not just the geometry classroom.

        143.    Mr. Poulos further claimed Mr. Ralston tried to get Mr. Poulos to “come to [his]

dorm room for tutoring,” but Mr. Poulos refused. 208

        144.    Mr. Poulos discussed the same incident Mr. Ralston had told Attorney Rees about

his car. 209 Mr. Poulos considered this incident an act of abuse. 210

        145.    Mr. Poulos said he left The Hill School for his junior year then returned his senior

year. 211 Mr. Poulos said Mr. Ralston did not abuse him his senior year. 212

        146.    Inconsistencies in Mr. Poulos’s stories from December 2017 and December 2018,

including his age at the time of the abuse and the location of the abuse, did not make Attorney

Garabedian doubt his story. Attorney Garabedian reasoned someone aged fifteen during the abuse

“is not going to have every detail bound in his mind.” 213 Attorney Garabedian believed victims try

to “suppress” the memories but they “come forward” eventually. 214 He thought when victims do

come forward, they will not have “a photograph of the abuse” memorized but can provide “enough

general details” making them credible. 215

       Attorney Garabedian sends second letter to Attorney Rees on December 26, 2018.

        147.    Attorney Gaul drafted a letter to Attorney Rees based on his conversation with Mr.

Poulos the same day (the “December 26 Letter”). 216 Attorney Garabedian signed the letter and sent

it to Attorney Rees. 217



                                                  22
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 23 of 123




        148.     In the December 26 Letter, Attorney Garabedian said Mr. Ralston taught Mr.

Poulos geometry and sexually abused Mr. Poulos when geometry fell as the last class of the day. 218

Attorney Garabedian accused Mr. Ralston of “sexually abus[ing]” Mr. Poulos while he attended

The Hill School by “among other things, Mr. Ralston fondling Mr. Poulos’s penis and testicles,

skin on skin; Mr. Ralston making Mr. Poulos fondle Mr. Ralston’s penis and testicles, skin on

skin; Mr. Ralston putting his mouth on Mr. [Poulos’s] penis; and Mr. Ralston making Mr. Poulos

put his mouth on Mr. Ralston’s penis.” 219 He wrote the sexual abuse ended when Mr. Poulos left

The Hill School to transfer to Marquette in Wisconsin. 220 Attorney Garabedian concluded by

listing Mr. Poulos’s alleged damages. 221

        149.     Unlike the April 11 Letter, Attorney Garabedian did not make a settlement demand

in the December 26 Letter. He instead concluded: “Please advise me as to your client’s position

with regard to this matter.” 222

    Attorney Rees repeatedly seeks to investigate claims; Attorney Garabedian ignores him.

        150.     Attorney Rees shared the December 26 Letter with Headmaster Lehman and the

same board members with whom Headmaster Lehman shared the April 11 Letter: Chairman

Athey, Vice Chairman Soussloff, Legal Committee Chairman Richards, Legal Committee Vice

Chairwoman Gyves, and Chief Financial Officer Wood. 223

        151.     Attorney Rees responded to the December 26 Letter on January 9, 2019 by email. 224

        152.     Attorney Rees invited Attorney Garabedian and Mr. Poulos to meet with The Hill

School’s outside counsel, Attorneys Smith and Gomez, so they could begin to investigate the

claim. 225

        153.     Attorney Garabedian did not respond to Attorney Rees’s request to begin an

investigation.



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      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 24 of 123




       154.    Attorney Garabedian instead wrote to Attorney Rees on January 28, 2019 asking

Attorney Rees to advise him as to whether The Hill School would “agree to attend mediation if

Mr. Poulos’s claim is found credible following an investigation.” 226

       155.    Mrs. Poulos emailed Attorney Garabedian on January 29, notifying him: “New

York just passed a law extending statute of limitations for sex abuse. I think Hill School should be

worried.” 227 Attorney Garabedian did not respond to the email.

       156.    Attorney Rees emailed back on January 30 telling Attorney Garabedian his January

28 letter “appear[ed] to overlook” Attorney Rees’s January 9 email which invited Mr. Poulos and

Attorney Garabedian to begin an investigation. 228

       157.    Attorney Rees also told Attorney Garabedian in the same email Attorneys Gomez

and Smith could travel to Attorney Garabedian’s Boston offices to interview Mr. Poulos. 229

       158.    Attorney Rees reminded Attorney Garabedian it was Attorney Garabedian who

proposed an investigation. 230

       159.    But Attorney Garabedian did not respond to Attorney Rees’s January 30 email.

       160.    Attorney Rees again wrote to Attorney Garabedian on February 21, 2019. 231

Attorney Rees referenced his earlier communications: “Mr. Poulos made very serious charges

against the School and a faculty member. You have agreed that it is important for the School to

investigate these charges, yet we remain unable to promptly investigate these charges.” 232

       161.    Attorney Rees asked Attorney Garabedian to respond by March 1, 2019. 233

Attorney Rees said The Hill School “will conclude that Mr. Poulos does not wish to pursue this

matter” if Attorney Garabedian did not respond by March 1. 234

       162.    Attorney Garabedian did not respond by March 1—or at all, for that matter.

       163.    Attorney Rees wrote to Attorney Garabedian again on March 26, 2019. 235



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       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 25 of 123




        164.      Attorney Rees notified Attorney Garabedian he had not heard from Attorney

Garabedian by the March 1 deadline. 236 “On this basis,” Attorney Rees wrote, “we have concluded

that your client is not in a position to pursue this matter at this time.” 237

        165.      Attorney Garabedian ignored Attorney Rees’s March 26 letter.

        166.      Attorney Garabedian instead called Mr. Poulos on April 3, 2019. 238

        167.      Attorney Garabedian told Mr. Poulos the Hill School “is giving us the

runaround.” 239

        168.      Attorney Garabedian told Mr. Poulos “there was a movement to amend the statute

of limitations in Pennsylvania.” 240

        169.      Attorney Garabedian proposed he and Mr. Poulos wait one year to see if the statute

of limitations would change, then reassess. 241

        170.      This April 3, 2019 discussion is the first time Attorney Garabedian discussed the

statute of limitations changing with Mr. Poulos.

                                 The accusations affect Mr. Ralston.

        171.      Mr. Ralston labored under the weight of Mr. Poulos’s accusations.

        172.      Mr. Ralston considered the allegations “the most heinous offense that could be done

against a child by anybody, let alone a teacher.” 242

        173.      Mr. Ralston thought about Attorney Garabedian’s April 11 Letter “[e]very day”

between April and October 2018. 243

        174.      Mr. Ralston wondered who had seen the letter and what they would think of him. 244

        175.      Mr. Ralston felt even worse when he discovered Attorney Garabedian was

favorably portrayed in Spotlight. 245 Mr. Ralston thought Attorney Garabedian “probably had a lot

of credibility in the world of dealing with sex abuse cases,” and began to worry “how this was

going to get unraveled because of that reputation.” 246
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       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 26 of 123




        176.   Attorney Rees later sent Mr. Ralston Attorney Garabedian’s December 26 Letter. 247

        177.   After reading it, Mr. Ralston “stopped thinking this was going to resolve itself

through . . . the prescribed process of investigations and cooperation from both sides.” 248

        178.   Mr. Ralston shared the letters’ allegations with his friends, family, and colleagues,

seeking solace they disbelieved the allegations. 249

        179.   For example, Mr. Ralston called his brother Mark Ralston to share the

allegations. 250 Mark Ralston perceived Mr. Ralston as “[a]nxious,” in “[d]isbelief,” and in

“[s]hock” as he shared the allegations. 251

        180.   Mr. Ralston also shared the letter with friend Christopher Hopkins, the former Dean

of Students at The Hill School. 252 Mr. Ralston sounded “extremely emotional in a desperate[,]

shaken way” and told Mr. Hopkins “a letter arrived that accused him of horrific[,] unspeakable

things.” 253

        181.   Mr. Hopkins, who serves as dean of a Maine boarding school, disbelieved the

allegations. They did not change his opinion of Mr. Ralston. Mr. Hopkins opined the allegations

made Mr. Ralston “unemployable” because Mr. Hopkins “would not be able to employ” Mr.

Ralston if he came to Mr. Hopkins’s school “even given” Mr. Hopkins’s “knowledge of” Mr.

Ralston. 254

        182.   Mr. Ralston asked Headmaster Lehman in January 2019 if he would allow him on

campus. 255 Headmaster Lehman said, “Yes, but try to keep a low profile, and don’t find yourself

alone with students.” 256

        183.   No one had previously told Mr. Ralston to avoid finding himself alone with

students. 257 Headmaster Lehman’s statement made Mr. Ralston feel “[a]wful.” 258 He “couldn’t

imagine that being said” to him after thirty years working with students. 259



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       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 27 of 123




        184.   Mr. Ralston stopped attending funerals and weddings of certain Hill School

families he would have otherwise attended because of Attorney Garabedian’s 2018 Letters. 260

        185.   Mr. Ralston found it difficult to perform his duties as a capital giving officer

because he “was afraid” alumni could discover the allegations, making both Mr. Ralston and The

Hill School “look horrible.” 261

        186.   But Mr. Ralston continued to satisfy his job obligations. 262 The Hill School gave

him a positive performance review in June 2018 after the April 11 Letter. 263 The Hill School raised

his salary and paid him a bonus in July 2018. 264 And The Hill School again raised his salary after

Attorney Garabedian’s December 26 Letter. 265

        187.   To manage emotional distress, Mr. Ralston improved his diet, exercised regularly,

obtained good sleep, and began mediating. 266 He also met with a counselor several times. 267 He

did not receive medical treatment or medication. 268

                                   No one believes the allegations.

        188.   Despite the anguish the 2018 Letters caused Mr. Ralston, Mr. Ralston’s family,

friends, and colleagues did not believe the allegations in the 2018 Letters. Everyone Mr. Ralston

identified who read the 2018 Letters either disbelieved the letters or formed no opinion about them.

        189.   Headmaster Lehman told Mr. Ralston he “didn’t believe the allegations in the

letter.” 269 He told Mr. Ralston the allegations were “bullshit, and that it was an attempt to extract

a million dollars from the school.” 270

        190.   Headmaster Lehman did not change his opinion of Mr. Ralston based on the 2018

Letters. 271

        191.   Mr. Ralston visited The Hill School in January 2019, and Headmaster Lehman

permitted him to reside on campus for three to four weeks. 272

        192.   Mr. Ralston’s wife, Mary Beth Ralston, disbelieved the allegations. 273
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       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 28 of 123




        193.    Mark Ralston disbelieved the allegations. 274

        194.    Mr. Ralston’s friend, Bill Yinger, disbelieved the allegations. 275

        195.    Mr. Ralston’s direct supervisors in his role as capital giving officer, Jeffrey Neese

and Virginia Yinger, disbelieved the allegations. 276 When Mr. Ralston told Mr. Neese and Ms.

Yinger about the letters, they told him to keep doing his job. 277

        196.    Mr. Ralston’s friend and former Hill School colleague Christopher Chirieleison

disbelieved the allegations. 278

        197.    Benjamin Walborn, a former student of Mr. Ralston’s, “didn’t believe” the

allegations because he considered Mr. Ralston “someone of high character.” 279

        198.    Zachary Brusko roomed with Mr. Poulos when Mr. Poulos attended The Hill

School. 280 Mr. Brusko later worked at The Hill School managing student records while Mr. Ralston

also worked at The Hill School. 281 Mr. Brusko holds a positive opinion of Mr. Ralston. 282 Mr.

Brusko did not hear about Attorney Garabedian’s allegations until Mr. Ralston’s counsel contacted

Mr. Brusko regarding his deposition. 283 Mr. Brusko found the allegations “hard to believe.” 284 And

the allegations did not change Mr. Brusko’s opinion of Mr. Ralston. 285

        199.    Attorney Rees had “no opinion” of Mr. Ralston. 286 Attorney Rees and Mr. Ralston

did not have a personal relationship. 287 The 2018 Letters did not change Attorney Rees’s non-

existent opinion of Mr. Ralston. 288 Attorney Rees evaluated the 2018 Letters professionally as The

Hill School’s counsel; he did not form personal opinions about them. 289

        200.    Mr. Ralston knew Chairman Athey before Chairman Athey read the 2018 Letters.

Mr. Ralston occasionally travelled with Chairman Athey to visit alumni. 290 Chairman Athey

disbelieved the allegations. 291 Chairman Athey did not change his opinion of Mr. Ralston after

reading the 2018 Letters. 292



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        Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 29 of 123




         201.   Mr. Ralston also shared a “personal relationship” with Legal Committee Chairman

Richards. Chairman Richards disbelieved the allegations. 293

         202.   Mr. Ralston did not know the other members of The Hill School board. 294 There is

no evidence these people believed the allegations.

         203.   Mr. Ralston taught Mr. Poulos’s cousin, Jason Zwerner. Mr. Ralston developed a

“very good” relationship with Mr. Zwerner. 295 Mr. Poulos told Mr. Zwerner about the allegations.

Mr. Ralston’s relationship with Mr. Zwerner remains “very good.” 296 Mr. Ralston asked Mr.

Zwerner to attend the bench trial, but Mr. Zwerner could not attend. 297 There is no evidence Mr.

Zwerner believed the allegations. There is also no evidence Mr. Zwerner read the 2018 Letters.

         204.   Mr. Ralston called David Dougherty, a Hill School employee who served as

headmaster of The Hill School for sixteen of Mr. Ralston’s seventeen years teaching there, to seek

his advice. 298 Mr. Dougherty told Mr. Ralston he could not speak to him about legal matters

without Attorney Rees present. 299 But there is no evidence Mr. Dougherty believed the allegations.

         205.   No Hill School representative except Attorney Rees ever asked Mr. Ralston if he

abused Mr. Poulos after Attorney Garabedian sent the 2018 Letters. 300

         206.   “[D]ozens of people” attended the first week of our bench trial to support Mr.

Ralston. 301 Mr. Ralston told “every one of” them about the allegations. 302 They still came to trial

despite risks posed by the Omicron variant of COVID-19 to support Mr. Ralston.

 Mr. Ralston sues Attorney Garabedian and Mr. Poulos, and The Hill School does not renew
                           Mr. Ralston’s employment agreement.

         207.   Mr. Ralston considered suing Mr. Poulos. He and his lawyer met with Attorney

Rees and Chairman Richards in February 2019 about whether he could sue Mr. Poulos and keep

his job. 303




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       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 30 of 123




        208.    Attorney Rees “discourage[d]” Mr. Ralston from suing Mr. Poulos. 304 Attorney

Rees told Mr. Ralston he would have to “take a leave from employment” if he sued Mr. Poulos

because “it would be an attempt or perceived as an attempt to silence someone who had alleged to

be a victim of sexual abuse.” 305 Attorney Rees told Mr. Ralston “litigation would be harmful to all

those involved.” 306

        209.    Mr. Ralston sued Mr. Poulos despite Attorney Rees’s warnings. 307 He sued

Attorney Garabedian and his law firm and Mr. Poulos for defamation. 308 Mr. Ralston named Mr.

Poulos in the lawsuit, but initially used a pseudonym for his own name. 309

        210.    Mr. Ralston sued because he perceived a “hostile environment” at The Hill School,

and he “didn’t want to put [himself] or [his] family at risk for false statements of abusing a

student.” 310 He thought the lawsuit “seemed like a good answer” while he attempted to “figure out

how [he] was going to move forward in [his] job with this going on.” 311

        211.    Mr. Ralston sued for damages; he did not seek declaratory relief. 312

        212.    The Hill School responded to Mr. Ralston’s lawsuit by placing Mr. Ralston on

leave. 313

        213.    The Hill School placed Mr. Ralston on leave because Mr. Ralston “sued an alumnus

of the school who had made a claim to be a victim of sexual misconduct” 314 and named the alleged

victim publicly. 315 Those actions were “incompatible with the duties of a Capital Giving

Officer.” 316

        214.    The Hill School did not renew Mr. Ralston’s employment agreement following the

2019–20 fiscal year. 317 The Hill School “separated from” Mr. Ralston. 318

        215.    Mr. Ralston understood The Hill School did not renew his employment because he

sued Mr. Poulos, not because of the allegations Mr. Poulos made. 319



                                                 30
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 31 of 123




                                Mr. Ralston did not abuse Mr. Poulos.

        216.      We find Mr. Poulos’s testimony Mr. Ralston abused him highly incredible because

his story offends our common sense; his story contradicts itself, his previous statements, and his

conduct; Mr. Poulos possessed incentives to lie; Mr. Poulos possessed bias against Mr. Ralston

because of the car incident; Mr. Poulos possessed poor memory of the abuse; and Mr. Poulos’s

demeanor made him incredible.

        217.      We find Mr. Ralston’s testimony he did not abuse Mr. Poulos highly credible

because he forcefully swore he did not abuse Mr. Poulos, he suffered mental anguish from the

false allegations, and he acted how we would expect someone falsely accused of sexual abuse to

act.

        218.      Mr. Ralston taught Mr. Poulos geometry on the first floor of a building called

“Upper School” located in the middle of The Hill School campus. 320 Several other classrooms

were in the basement of Upper School. 321

        219.      The Hill School used a rotating class schedule with eight classes. 322 The classes

were denoted “A” through “H.” 323 The classes rotated daily—if a student’s “A” class began his

Monday and his “H” class ended his Monday, then “B” would begin Tuesday and “A” would end

Tuesday, “C” would begin Wednesday and “B” would end Wednesday, and so forth. 324 Classes

ended most days at 3:10 before students began their sports practices at 3:30. 325

        220.      Mr. Poulos claims Mr. Ralston only abused him when geometry fell as the last class

of the day. 326

        221.      Mr. Poulos golfed as an extra-curricular activity his sophomore year. 327 Mr. Poulos

never showed up late for golf or missed a single golf practice during his sophomore year. 328 Golf

practice occurred about twenty minutes after class. 329 This means Mr. Ralston only had twenty



                                                   31
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 32 of 123




minutes to abuse Mr. Poulos after class before he timely arrived at golf practice on the other side

of campus.

       222.    Mr. Ralston possesses a distinctive birthmark, a patch of differently colored hair on

the top of his head. 330 Mr. Poulos never mentioned this birthmark when he described Mr. Ralston

to Attorney Garabedian. 331

       223.    Mr. Poulos acts inconsistently with the studied behaviors of teenage sexual abuse

survivors according to the highly credible testimony of Barbara Ziv, M.D.

       224.    Mr. Poulos does not remember details central to the abuse. He repeatedly testified

he could not remember “specifics” about the abuse. 332 He does not remember the size and shape

of Mr. Ralston’s genitals, whether Mr. Ralston had an erection, how it felt to fellate Mr. Ralston,

whether Mr. Ralston ejaculated, and whether Mr. Ralston locked the door before abusing him. 333

       225.    Mr. Poulos did not avoid The Hill School campus following the abuse. Mr. Poulos

lived on the same floor in the same building as Mr. Ralston when he returned to The Hill School

for his senior year. 334 Mr. Poulos voluntarily visited The Hill School with a girlfriend after he

graduated because he wanted to “show her where he went to school.” 335

       226.    Mr. Poulos wrote Mr. Ralston an anonymous positive review after his sophomore

year. Mr. Poulos defended the review by testifying Mr. Ralston was a “good teacher,” but this did

not mean he was a “good person.” 336

       227.    Mr. Ralston acts inconsistently with the studied behaviors of sexual abusers of

teenagers.

       228.    Mr. Ralston did not “groom” Mr. Poulos. Mr. Ralston never gave Mr. Poulos

gifts. 337 Mr. Ralston never saw Mr. Poulos off-campus. 338 Mr. Ralston never contacted Mr. Poulos




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      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 33 of 123




after he transferred schools. 339 Mr. Ralston instead antagonized Mr. Poulos through the car

incident.

                          III.    CONCLUSIONS OF LAW
   A. Conclusions of law applicable to Mr. Ralston’s claims against Attorney Garabedian
      and Mr. Poulos.

       1.      The 2018 Letters are defamatory per se.

       2.      The 2018 Letters applied to Mr. Ralston.

       3.      The recipients of the 2018 Letters understood the 2018 Letters’ defamatory

meaning.

       4.      The recipients of the 2018 Letters understood they applied to Mr. Ralston.

       5.      The allegations contained in the 2018 Letters are false.

   B. Conclusions of law applicable to Mr. Ralston’s claim against Attorney Garabedian.

       6.      Attorney Garabedian and the Law Offices of Attorney Garabedian (collectively,

“Attorney Garabedian” 340) published the 2018 Letters.

       7.      The judicial privilege does not protect Attorney Garabedian’s publication.

       8.      Mr. Ralston is not entitled to a damages judgment against Attorney Garabedian

because Attorney Garabedian did not publish the 2018 Letters with actual malice and the

publication did not cause Mr. Ralston actual reputational injury.

   C. Conclusions of law applicable to Mr. Ralston’s claim against Mr. Poulos.

       9.      Mr. Poulos published false allegations to Attorney Garabedian and authorized

Attorney Garabedian’s republications of the allegations in the 2018 Letters.

       10.     Mr. Poulos’s publication caused Mr. Ralston special harm.

       11.     The judicial privilege does not protect Mr. Poulos’s publication to Attorney

Garabedian.


                                                33
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 34 of 123




        12.     Mr. Poulos abused any conditional privileges which might attach to his publication

because he spoke with actual malice.

        13.     Mr. Ralston demonstrated $50,000 in presumed damages but no basis to award

punitive damages against Mr. Poulos.

                                       IV.      ANALYSIS
        Mr. Ralston alleges Attorney Garabedian and Mr. Poulos defamed him by falsely accusing

him of sexual abuse in the April 11 and December 26, 2018 Letters. 341

        Attorney Garabedian challenges several elements of Mr. Ralston’s claim. He argues the

2018 Letters did not harm Mr. Ralston’s reputation, the judicial privilege protects him, conditional

privileges protect him, he did not publish the letters with actual malice, and the allegations

contained in the 2018 Letters are true. 342 Mr. Poulos pro se argues he cannot be liable for Attorney

Garabedian’s publication of the 2018 Letters. 343 He also invokes the conditional privilege and

argues his allegations are true. 344

        Defamation “is the tort of detracting from a person’s reputation, or injuring a person’s

character, fame, or reputation” by publishing false words. 345 “In order to be actionable, the words

must be untrue, unjustifiable, and injurious to the reputation of another.” 346

        A defamation claim contains seven elements:

        (1) The defamatory character of the communication.

        (2) Its publication by the defendant.

        (3) Its application to the plaintiff.

        (4) The understanding by the recipient of its defamatory meaning.

        (5) The understanding by the recipient of it as intended to be applied to the plaintiff.

        (6) Special harm resulting to the plaintiff from its publication.



                                                  34
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 35 of 123




       (7) Abuse of a conditionally privileged occasion. 347

       Defendants generally bear the burden to prove three defenses to defamation, should they

assert them:

       (1) The truth of the defamatory communication.

       (2) The privileged character of the occasion on which it was published.

       (3) The character of the subject matter of defamatory comment as of public
           concern. 348

       We cannot award Mr. Ralston the damages he seeks against Attorney Garabedian because

Mr. Ralston does not prove by clear and convincing evidence Attorney Garabedian published the

2018 Letters with actual malice and does not prove Attorney Garabedian’s publication caused him

actual reputational injury. We find Mr. Ralston proves his defamation claim against Mr. Poulos.

Mr. Ralston demonstrated $50,000 in presumed damages against Mr. Poulos.

       We begin by explaining our five conclusions of law which apply to Mr. Ralston’s claims

against both Attorney Garabedian and Mr. Poulos because the conclusions regard the 2018 Letters:

(1) the 2018 Letters are defamatory per se; (2) the 2018 Letters applied to Mr. Ralston; (3) the

recipients of the 2018 Letters understood the 2018 Letters’ defamatory meaning; (4) the recipients

of the 2018 Letters understood they applied to Mr. Ralston; and (5) the allegations contained in

the 2018 Letters are false.

       We next explain our three conclusions of law applicable only to Mr. Ralston’s claim against

Attorney Garabedian: (1) Attorney Garabedian published the 2018 Letters, (2) the judicial

privilege does not protect Attorney Garabedian’s publication, and (3) Mr. Ralston is not entitled

to a damages judgment against Attorney Garabedian because Attorney Garabedian did not publish

the 2018 Letters with actual malice and the publication did not cause Mr. Ralston actual

reputational injury.

                                               35
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 36 of 123




       We then explain our five conclusions of law applicable only to Mr. Ralston’s claim against

Mr. Poulos: (1) Mr. Poulos published false allegations to Attorney Garabedian and authorized

Attorney Garabedian’s republications of the allegations in the 2018 Letters; (2) Mr. Poulos’s

publication caused Mr. Ralston special harm; (3) the judicial privilege does not protect Mr.

Poulos’s publication to Attorney Garabedian; (4) Mr. Poulos abused any conditional privileges

which might attach to his publication because he spoke with actual malice; and (5) Mr. Ralston

demonstrates $50,000 in presumed damages but no punitive damages against Mr. Poulos.

   A. Mr. Ralston established the 2018 letters contained defamatory statements.

       Mr. Ralston claims Attorney Garabedian and Mr. Poulos defamed him by publishing the

2018 Letters. 349 So we begin by analyzing the content contained in the 2018 Letters. We find: (1)

the 2018 Letters are defamatory per se; (2) the 2018 Letters applied to Mr. Ralston; (3) the

recipients of the 2018 Letters understood the 2018 Letters’ defamatory meaning; (4) the recipients

of the 2018 Letters understood they applied to Mr. Ralston; and (5) the allegations contained in

the 2018 Letters are false.

       1. The 2018 Letters are defamatory per se.

       We first examine whether the 2018 Letters are defamatory. A communication is

defamatory if it “tends to harm an individual’s reputation so as to lower him in the estimation of

the community or [to] deter third persons from associating or dealing with him.” 350 Some

communications are so obviously defamatory Pennsylvania courts consider them “defamation per

se.” 351 A communication is defamatory per se if it imputes “(1) [a] criminal offense, (2) [a]

loathsome disease, (3) business misconduct, or (4) serious sexual misconduct.” 352

       The 2018 Letters are defamatory per se by accusing Mr. Ralston of criminal offenses and

serious sexual misconduct. Mr. Poulos and Attorney Garabedian in the April 11 Letter accused

Mr. Ralston of “repeatedly sexually molest[ing]” Mr. Poulos when he was between fifteen and

                                               36
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 37 of 123




seventeen years old. And Mr. Poulos and Attorney Garabedian in the December 26 Letter accused

Mr. Ralston of “sexually abus[ing]” Mr. Poulos while he attended The Hill School by “among

other things, fondling Mr. Poulos’s penis and testicles, skin on skin; Mr. Ralston making Mr.

Poulos fondle Mr. Ralston’s penis and testicles, skin on skin; Mr. Ralston putting his mouth on

Mr. [Poulos’s] penis; and Mr. Ralston making Mr. Poulos put his mouth on Mr. Ralston’s penis.”

These accusations comprise both criminal conduct and serious sexual misconduct. 353 They are

defamatory per se. 354

       2. The 2018 Letters applied to Mr. Ralston.

       Mr. Ralston must show the 2018 Letters applied to him. He does so. The 2018 Letters

clearly applied to Mr. Ralston because they contained accusations Mr. Ralston sexually abused

Mr. Poulos.

       3. The recipients of the 2018 Letters understood their defamatory meaning.

       Mr. Ralston must show the recipients of the 2018 Letters understood their defamatory

meaning. Again, he does so. The 2018 Letters contain allegations Mr. Ralston sexually abused Mr.

Poulos. Anyone who read the 2018 Letters would understand they accused Mr. Ralston of sexually

abusing Mr. Poulos. And those who read the 2018 Letters would understand this meaning to be

defamatory because accusations of criminal conduct and serious sexual misconduct are defamatory

per se. Everyone who read the 2018 Letters understood their defamatory meaning.

       4. The recipients of the 2018 Letters understood they applied to Mr. Ralston.

       Mr. Ralston must show the recipients of the 2018 Letters understood their defamatory

content applied to Mr. Ralston. He does so. The 2018 Letters contained allegations Mr. Ralston

sexually abused a minor. Anyone who read the letters would understand they applied to Mr.

Ralston because they named him.



                                              37
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 38 of 123




       5. The allegations contained in the 2018 Letters are false.

       We next must decide whether the allegations in the 2018 Letters are false. 355 Truth is an

“absolute defense” to defamation. 356 Attorney Garabedian and Mr. Poulos must show “substantial,

rather than complete, truth.” 357 “[T]he falsity of an allegedly defamatory statement must go to the

gist or sting of the defamation.” 358 “The test is whether the [alleged] libel as published would have

a different effect on the mind of the reader from that which the pleaded truth would have

produced.” 359

       The adduced evidence requires we find the allegations contained in the 2018 Letters are

false. We so determine after carefully evaluating Mr. Poulos’s credibility during our bench trial.

We first detail Mr. Poulos’s testimony. We then explain we disbelieve him for three reasons: (1)

Mr. Poulos is incredible; (2) the unrebutted, credible expert testimony of Barbara Ziv, M.D. shows

Mr. Poulos acts inconsistently with studied behaviors of teenage sexual abuse survivors; and (3)

Dr. Ziv’s testimony shows Mr. Ralston acts inconsistently with studied behaviors of men who

sexually abuse teenagers.

           a. Mr. Poulos’s testimony.

       We describe Mr. Poulos’s testimony to describe background and not to suggest its truth.

We begin noting Mr. Poulos undisputedly suffered under substantial pressure and anxiety in

testifying and suffered in overcoming addictions and adjusting to adult life. We, like any

independent person, could not help but be affected by Mr. Poulos’s difficulties. But our question

is whether he credibly accused Mr. Ralston of sexually abusing him. We find he did not.

       Mr. Poulos grew up in Milwaukee. 360 He became the fourth member of his family to attend

The Hill School beginning in 1993. 361 He met Mr. Ralston during his freshman year at The Hill

School through Mr. Zwerner. 362 Mr. Poulos did not interact with Mr. Ralston his freshman year. 363



                                                 38
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 39 of 123




       Mr. Ralston allegedly began abusing Mr. Poulos during his sophomore year. Mr. Ralston

taught Mr. Poulos geometry in the first floor of a building called “Upper School” near the middle

of The Hill School’s campus. 364 Mr. Ralston made Mr. Poulos “feel uncomfortable” around

October of Mr. Poulos’s sophomore year by making Mr. Poulos stay behind after class “for no

apparent reason.” 365 Mr. Ralston picked on Mr. Poulos by making him take geometry quizzes on

the blackboard while Mr. Poulos’s classmates took quizzes sitting down. 366 Mr. Ralston also

rubbed Mr. Poulos’s shoulders during class. 367

       During the first instance of sexual abuse, Mr. Ralston walked up behind Mr. Poulos, shut

the door, grabbed him by the arm, put Mr. Poulos in the back corner of the classroom, “and made

advances toward[]” Mr. Poulos. 368 Mr. Poulos “froze.” 369 Mr. Ralston “groped” Mr. Poulos’s

genitalia, made him “perform fellatio,” and performed “fellatio” on Mr. Poulos. 370 Mr. Ralston

repeated this process “on multiple occasions.” 371

       Mr. Ralston allegedly sexually abused Mr. Poulos “over ten times.” 372 It always occurred

in the corner of the geometry classroom where passersby could not see. 373 The abuse only occurred

when geometry fell as the last day of class once a week on The Hill School’s rotating class

schedule. 374 Mr. Ralston either “groped” Mr. Poulos “or forced [him] to perform fellatio.” 375 Mr.

Ralston allegedly ejaculated in Mr. Poulos’s mouth during one occasion. 376 Mr. Ralston then

“acted like nothing happened.” 377

       Mr. Poulos testified he could only recall “general events, not specifics” about the abuse

because he has tried to “bla[c]k out everything that happened” to him for the past twenty-five

years. 378 He could not recall which day of the week the abuse occurred because he has “done [his]

best for the past [twenty-seven] years to black out the entire fact” he attended The Hill School. 379

He “hadn’t thought about this situation for over [twenty] years” before receiving Headmaster



                                                  39
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 40 of 123




Lehman’s 2016 letter. 380 Mr. Poulos could not describe Mr. Ralston’s penis because the abuse

occurred so long ago. 381 He could not recall whether Mr. Ralston had an erection during the

incidents of abuse because “it was too surreal” it “was actually happening.” 382 He also felt

uncomfortable testifying about the abuse to a room full of strangers. 383

        Mr. Poulos left The Hill School after his sophomore year to attend Marquette in Wisconsin

for his junior year. Mr. Poulos returned to The Hill School for his senior year. Mr. Ralston did not

abuse Mr. Poulos when he returned to The Hill School for his senior year. 384 Mr. Ralston only

“intimidate[d]” him. 385

        But there is one incident everyone seems to remember. Mr. Poulos vividly described a “car

incident” in which Mr. Ralston blocked Mr. Poulos’s car one weekend during his senior year when

his mother Mrs. Poulos happened to be in town. Mr. Poulos owned a Chevrolet Camaro. 386 He

obtained permission to drive it on campus. 387 The facts about the car incident are then disputed.

According to Mr. Ralston, Mr. Ralston saw Mr. Poulos’s car parked where he did not have

permission to park on a weekend. 388 Mr. Ralston then used his own car to block Mr. Poulos’s car

so Mr. Poulos could not remove his car before the dean addressed discipline for Mr. Poulos’s

violations. 389 Mr. Poulos told a different story. He testified he obtained permission from the dean

of students to park the car on campus overnight and planned to drive it off-campus so he could see

his mother, who visited from Wisconsin for the weekend. 390 Mr. Poulos said Mr. Ralston said,

“‘Screw it. I’m going to park my shitty Subaru behind his car and keep him here,’ even though he

knew my mother was there only for one night and kept me away from her.” 391

        Everyone agrees Mr. Poulos received psychological treatment. He met with therapists to

“progress as a person,” “not be so angry,” and remove the memories from “the back of my mind

where it[] fester[ed] like a cancer.” 392 Mr. Poulos testified he first reported the abuse to Mrs. Poulos



                                                   40
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 41 of 123




around 2012 or 2013. 393 But Mr. Poulos did not specify who abused him and did not specify sexual

abuse; he simply told his mother he had been “assaulted.” 394 Mr. Poulos tearfully testified he did

not tell anyone about the abuse when it occurred because he feared disappointing people. 395 Mr.

Poulos understood his family’s pride in attending The Hill School. 396 Mr. Poulos felt he would “let

them down” if he disclosed the abuse. 397 Telling his family members “face-to-face wasn’t

something” Mr. Poulos “was strong enough to do.” 398

       Having described Mr. Poulos’s testimony, we now explain why we disbelieve it.

           b. Mr. Poulos’s testimony regarding the alleged abuse is not credible.

       We determine Mr. Poulos’s credibility by considering five factors in order of their present

importance: (1) how reasonable the witness’s testimony is when considered in the light of other

evidence we believe; (2) whether the witness is contradicted by anything the witness said or wrote

before trial or other evidence; (3) whether the witness has an interest in the outcome of the case or

any motive, bias or prejudice; (4) the quality of the witness’s understanding and memory; and (5)

the witness’s manner while testifying. 399

       All five of these factors lead us to conclude Mr. Poulos fabricated the allegations

concerning Mr. Ralston.

                  i.   Mr. Poulos’s story offends our common sense.

       We first must determine whether Mr. Poulos’s testimony about sexual abuse in the

geometry classroom is reasonable after comparing it to other evidence we believe. We apply our

common sense to make this determination. 400 We weigh evidence by comparing it to our “everyday

experience with people and events.” 401

       Our common sense and everyday experience strongly tell us Mr. Poulos fabricated the

sexual abuse allegations against Mr. Ralston. Mr. Poulos’s recitation is inherently absurd. He

claimed Mr. Ralston sexually assaulted him ten times after geometry class shortly after the

                                                 41
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 42 of 123




remainder of his class exited the classroom. The abuse occurred in broad daylight. It occurred

while Upper School bustled with students preparing for sports. Mr. Poulos claimed Mr. Ralston

locked the door to the geometry classroom, and then abused him in a corner of the room where no

one could see through the window. Mr. Ralston presented as a calm, risk-averse, and cautious

teacher, husband, and father. But believing Mr. Poulos’s story requires us to believe Mr. Ralston

took the biggest risk imaginable for a teacher and father. Mr. Poulos claimed Mr. Ralston brazenly

abused him when anyone could have knocked on the door, heard the abuse, or unlocked the door.

Common sense and Dr. Ziv’s compelling opinion tell us those who commit abhorrent sex crimes

wish to avoid getting caught. 402 And The Hill School’s thorough investigation into historical

allegations of sexual abuse at The Hill School uncovered nothing about Mr. Ralston.

       Mr. Poulos’s story also appears impossible. Mr. Poulos golfed as an extra-curricular

activity his sophomore year. Mr. Poulos never showed up late to golf practice or missed a single

golf practice during his sophomore year. Golf practice occurred about twenty minutes after class.

Mr. Poulos told us Mr. Ralston abused him only when geometry fell as the last class period of the

day. This means the abuse could only occur within a twenty-minute window between the end of

geometry class and Mr. Poulos’s timely arrival to golf practice. Mr. Poulos attended geometry

class in a building on the middle of campus, but the golf practice occurred on the far north side of

campus. So, to believe Mr. Poulos, we would need to believe Mr. Ralston could wait until students

left the geometry classroom, pull Mr. Poulos to the corner of the classroom, fellate Mr. Poulos,

and make Mr. Poulos fellate him; then Mr. Poulos could return to his dorm room, change for golf

practice, and trek to the far north side of campus—all in fewer than twenty minutes, every time.

Counsel repeatedly asked us to review the campus map when evaluating testimony regarding




                                                42
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 43 of 123




distances between the buildings. 403 After doing so, we find this conduct is extremely unlikely to

have happened.

       The circumstances giving rise to Mr. Poulos’s allegations almost twenty-five years later

are also extremely suspect. It seems experienced litigation attorney Mrs. Poulos provoked her son

to accuse Mr. Ralston despite having no evidence Mr. Ralston abused him. When Mr. Poulos first

mentioned he suffered an “assault” to his mother, he was “hysterical,” “lashing out,” and “beside

himself with pain.” He was drinking heavily and acting unpredictably. Mr. Poulos fell into a coma

from alcohol poisoning a few months later. Mrs. Poulos reasonably worried about her son. But this

worry generated unreasonable inferences. Mrs. Poulos somehow leaped to infer her son had not

only suffered sexual abuse, but also suffered sexual abuse at The Hill School. She so inferred even

though Mr. Poulos never told her “anything about when, where, how, [and] who.” After Mrs.

Poulos received Headmaster Lehman’s 2016 letter, she “tenacious[ly]” endeavored to find out

“who had done this to [her] son”—even though her son never said what “this” was. And she did

so without consulting Mr. Poulos, fearing “it was too hard on” him to discuss it. Mrs. Poulos

emailed a reporter for The New York Times, contacted a lawyer, and obtained Mr. Poulos’s Hill

School yearbooks to uncover what happened. She remembered a vague incident in which she

watched a teacher stop another student from interrupting Mr. Poulos as he answered a question in

geometry class. This memory, coupled with Mr. Poulos’s declining grades his sophomore year,

triggered Mrs. Poulos to ask The Hill School who taught geometry to her son. Mrs. Poulos

“suspected” Mr. Ralston “was the one” who abused Mr. Poulos. It seems Mrs. Poulos confirmed

her theory Mr. Poulos suffered sexual abuse at The Hill School when Headmaster Lehman sent his

2017 letter about historical allegations of abuse. Mrs. Poulos contacted Attorney Garabedian

without telling her son. Her inferences triggered the events bringing us here.



                                                43
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 44 of 123




        Mrs. Poulos catalyzed Mr. Poulos’s allegations against Mr. Ralston with no evidence—not

even her son’s say-so. She simply put “two and two together.” We heard no credible evidence Mr.

Poulos told anyone Mr. Ralston abused him until speaking to Attorney Garabedian. There is no

evidence Mr. Poulos knew of Attorney Garabedian or ever considered contacting him but for his

mother’s encouragement. We cannot judge Mrs. Poulos’s credibility because we only possess her

deposition transcript. And we cannot speculate as to how she persuaded herself Mr. Poulos

suffered sexual assault by putting “two and two together.” But her incessant acts based on tenuous

(at best) inferences at least form another entry in the long list of reasons we disbelieve Mr. Poulos.

                  ii.      Mr. Poulos’s testimony contradicted itself, his previous statements, and
                           his conduct.

        We next determine whether Mr. Poulos’s testimony contradicts his other actions. It does.

        Mr. Poulos could not maintain a consistent story regarding the alleged abuse during his

testimony. He first testified Mr. Ralston groped him, fellated him, and made him fellate Mr.

Ralston during the first instance of abuse. But Mr. Poulos later testified the first instance of abuse

“was by touch only.” 404 Then he testified he did not “recall exactly everything that happened on

the first occasion” and could only “remember certain parts of it.” 405 Mr. Poulos first testified Mr.

Ralston abused him at least ten times, but later testified the abuse occurred between five to ten

times. Yet he told Attorney Gaul in December 2018 the abuse occurred between ten to fifteen

times. Mr. Poulos claims the sexual abuse “destroyed [his] entire life,” 406 but could not testify as

to any specifics about the abuse. He offered only vague and inconsistent details. Mr. Poulos

testified the abuse made him miss sports during his sophomore year, but he had perfect attendance

at sports practices. 407

        Mr. Poulos’s testimony contradicted details he told Attorney Garabedian and swore to at

his deposition. He told Attorney Garabedian in December 2017 the abuse occurred during his


                                                  44
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 45 of 123




freshman and sophomore year in a “study room,” “cubicles,” and in his dorm room. 408 But Mr.

Poulos testified at trial the abuse only occurred during his sophomore year. And it only occurred

in the geometry classroom after class. During his deposition, he swore Mr. Ralston once abused

him in a Hill School dorm room by coming to the dorm and rubbing his shoulders. 409 Yet we heard

nothing about this alleged incident during trial; Mr. Poulos instead testified the abuse only occurred

in the geometry classroom.

       Mr. Poulos’s testimony also contradicted his conduct. Mr. Poulos did things we would

never expect of someone who suffered abuse from Mr. Ralston. For example, Mr. Poulos wrote a

positive anonymous review of Mr. Ralston after his sophomore year (but before the car

incident). 410 Mr. Poulos wrote he “would recommend” Mr. Ralston to other students. 411 Mr. Poulos

provided an absurd explanation for this during trial: Mr. Ralston was a “good teacher,” but this did

not mean he was a “good person.” 412 It is inconceivable a student would anonymously recommend

Mr. Ralston to others after suffering serial sexual abuse at Mr. Ralston’s hands, then defend the

recommendation twenty-five years later by arguing a serial child abuser can be a “good teacher”

but not a “good person.” 413 Mr. Ralston also visited The Hill School with a girlfriend after he

graduated because he wanted to “show her where [he] went to school.” 414 Mr. Ralston voluntarily

gave his girlfriend a tour of the campus. 415 Yet Mr. Poulos testified during trial he has done

“everything in [his] possible power to forget every instance of [him] even being on that school

campus.” 416 Voluntarily returning to campus to provide a tour belies Mr. Poulos’s apparent

attempts to black out every instance of attending The Hill School.

       Mr. Ralston’s credibility undermines Mr. Poulos’s credibility. Mr. Ralston testified

forcefully he never abused Mr. Poulos. Mr. Ralston’s memories of discovering the abuse are vivid,

showing they pained him. He reacted to the allegations like we would expect someone falsely



                                                 45
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 46 of 123




accused to react: by seeking solace from family, friends, and colleagues. Had Mr. Ralston

committed the abuse, we expect he would not broadcast them, fearing others would discover the

allegations’ truth. The Hill School’s investigation into historical allegations of child sexual abuse

never implicated Mr. Ralston at any time. We believe his testimony.

       We do not suggest everything Mr. Poulos said was unbelievable. We found Mr. Poulos

credible when he testified he failed to meet the high expectations of his family members. He

displayed genuine emotion during this testimony. This testimony, however, extrapolated a

dishonest conclusion (Mr. Ralston abused Mr. Poulos) from an honest premise (Mr. Poulos’s

feelings of inadequacy regarding his Hill School experience). We believe Mr. Poulos feared

disappointing his family by failing to succeed at The Hill School, which triggered his genuine

emotion. But we disbelieve sexual abuse generated this fear.

                iii.   Mr. Poulos had an interest in the outcome of the case and possessed
                       bias against Mr. Ralston because of the car incident.

       We next consider Mr. Poulos’s biases, motives, and prejudices influencing his testimony.

We find Mr. Poulos possessed abundant reasons to lie about the abuse.

       For starters, truth is an absolute defense to Mr. Ralston’s defamation claim against him. If

we believe Mr. Poulos, Mr. Ralston loses his case. Mr. Poulos had incentive to lie to win this case.

       Mr. Poulos also had incentive to repeat the story. Mr. Poulos had claimed Mr. Ralston

abused him for over four years before our trial in January 2022. Mr. Poulos repeated the claim

many times: to Attorney Garabedian, Attorney Garabedian’s associates, counsel during

depositions, to the Court and the gallery during his testimony, and throughout his public filings in

this case. Mr. Poulos possessed a strong incentive to continue the fiction lest he be branded a liar.

       Mr. Poulos also possessed a fundamental prejudice against Mr. Ralston: retribution for the

“car incident.” Mr. Poulos loved his Camaro and the freedom and status it provided him as a high


                                                 46
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 47 of 123




school student. Mr. Poulos testified his mother promised him a car if he returned to The Hill School

after transferring. 417 He called receiving a car “a mighty proposition” for a 17-year-old boy. 418 Mr.

Ralston’s act of blocking Mr. Poulos’s car, making Mr. Poulos unable to use it, infuriated Mr.

Poulos—especially on the only night he could see his visiting mother.

       The car incident still upset Mr. Poulos twenty-five years later. The car incident assumed a

prominent role in this case; Dr. Ziv aptly called it “that infamous car parking incident.” 419 Mr.

Poulos reported the incident to Attorneys Garabedian and Mahoney during his intake interview,

then reported it again one year later to Attorney Gaul. 420 Mr. Poulos and Mr. Ralston described the

car incident during their depositions and trial testimony. When Attorney Rees asked Mr. Ralston

about Mr. Poulos, Mr. Ralston remembered almost nothing about him except the car incident. Mr.

Poulos reported the car incident to Dr. Ziv when she evaluated him. While testifying about the

details of the purported sexual abuse, Mr. Poulos, when asked why he did not tell Mr. Ralston to

stop, said: “I honestly don’t know why I didn’t just leave. I honestly don’t know why I didn’t call

the police when [Mr. Ralston] entrapped my vehicle when I was [eighteen]. I don’t know a lot of

reasons why I didn’t do a lot things twenty-five years ago.” 421 Twenty-five years passed since the

car incident, but it remained so crucial to Mr. Poulos’s memories of Mr. Ralston he mentioned it—

unprompted—in the middle of recounting purported sexual abuse.

       Mr. Poulos considered the car incident itself an act of abuse. Counsel asked Mr. Poulos if

he endured “any other types of abuse that are not sexual” from Mr. Ralston. 422 Mr. Poulos

answered by describing the car incident in detail. 423 Mr. Poulos’s demeanor when describing the

car incident changed dramatically from his demeanor while describing the purported sexual abuse.

When describing the sexual abuse, Mr. Poulos appeared unsure and could not remember specific

details about it—even though he claimed it “destroyed [his] entire life.” But Mr. Poulos vividly



                                                  47
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 48 of 123




remembered the car incident. He recalled specific details about it, testifying how the dean

permitted Mr. Poulos to drive a car on campus, Mr. Ralston parked his “shitty Subaru” to “entrap”

Mr. Poulos’s car, and Mr. Ralston knew he would keep Mr. Poulos away from his visiting mother

by doing so. 424 Mr. Poulos considered this “abuse.”

       The car incident seemed to motivate Mr. Poulos to accuse Mr. Ralston of sexual abuse.

We, of course, recognize how ridiculous it is to accuse someone of sexual assault because of such

a minor incident some twenty-five years earlier. Other motives also likely influenced Mr. Poulos’s

false allegations against Mr. Ralston. But the prominence of the car incident during this litigation,

Mr. Poulos’s vivid memories of it, and Mr. Poulos’s anger while testifying about it at least show

Mr. Poulos possessed animus toward Mr. Ralston.

                iv.    Mr. Poulos possessed poor memory of the alleged abuse.

       We next examine the quality of Mr. Poulos’s memory. We find it poor. Mr. Poulos often

testified he could not recall specifics of the abuse. Mr. Poulos barely even provided generalities

about the abuse. For example, Mr. Ralston possesses a distinctive birthmark, a patch of differently

colored hair on the top of his head. This is something one would see if the top of someone’s head

was positioned at or near one’s waist. Mr. Poulos never mentioned this birthmark when he

described Mr. Ralston to Attorney Garabedian. If Mr. Poulos’s abuse stories are true, Mr. Poulos

would likely have mentioned the birthmark when describing the appearance of Mr. Ralston.

       Mr. Poulos also could not provide specificity when testifying about the abuse. He

frequently appeared unsure of critical details. We readily recognize the difficulty abuse victims

face in testifying about their trauma. We are not suggesting abuse victims who cannot recall details

necessarily fabricate their harm. We also do not suggest Mr. Poulos’s delayed reporting of the

incident makes him incredible; “[d]elayed reporting is very common” 425 and our common sense

tells us disclosing an extremely traumatic incident may take time or never happen at all. But false
                                                 48
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 49 of 123




allegations against persons demonstrably not abusing students harm not only the accused but also

victims who courageously step forward and credibly identify those who harm them. Mr. Poulos

could not provide facts substantiating his allegations. We cannot credit them.

                 v.    Mr. Poulos presented as defensive and pugnacious.

       We must examine Mr. Poulos’s manner while testifying. His manner rendered him

unbelievable because he presented as knowing he was lying. He acted defensively from the

moment he started testifying. He made insolent or sarcastic remarks. He bickered with Mr.

Ralston’s counsel about insignificant matters. 426 Were Mr. Poulos speaking honestly, we expect

he would eschew trivialities and testify directly about the incident which he claimed ruined his

life. For example, Mr. Poulos testified forthrightly about the car incident, his work obligations

which forced him to testify virtually, and his difficult experiences after graduating college. But

Mr. Poulos could not testify forthrightly about conduct in his geometry classroom. We find Mr.

Poulos incredible as to his claim Mr. Ralston sexually abused him.

           c. Dr. Ziv’s unrebutted, credible expert testimony shows Mr. Poulos acted
              inconsistently with studied behaviors of teenage sexual abuse survivors.

       Barbara Ziv, M.D. is a forensic psychiatrist. She teaches forensic psychiatry to residents at

Temple University, specifically about the behaviors of sex offenders and victims of sexual

assault. 427 She specializes in treating and evaluating both victims and perpetrators of sexual

abuse. 428 She has evaluated more than one thousand convicted sex offenders and thousands of

victims of sexual abuse. 429 Dr. Ziv possesses sterling qualifications in her field. 430 We qualified

Dr. Ziv before trial as an expert in “behaviors of abuse victims” and “child sex abuser[s].” 431

       Dr. Ziv examined Mr. Poulos and opined his “behaviors are not consistent with an

individual who has been sexually assaulted.” 432 We find Dr. Ziv’s opinion highly credible.




                                                 49
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 50 of 123




       Dr. Ziv testified about well-studied behaviors of teenage boys who survive teenage sexual

abuse. Survivors often delay reporting the abuse. 433 But delayed reporting “should not be

confused” with faulty memory. 434 An abuse victim would recall the abuse as a “[t]raumatic

memory,” which differs from ordinary memories. 435 When trauma is occurring, the brain narrows

its focus on “survival” and ignores peripheral matters. 436 If someone threatens another with a knife,

for example, the person being threatened will focus on the knife and ignore the paintings on the

wall and the color of the rug. 437 The brain then stores these vivid survival-related memories

“robustly” and “accurately . . . maybe forever.” 438 Repressing these traumatic memories is

difficult. 439 The “central elements” of the traumatic memory do not change. 440 A teenage abuse

victim, for example, will often register at least the first instance of abuse as traumatic and forever

recall events “central” to the abuse. 441 For example, abuse victims recall the abuser’s genitals and

whether he ejaculated because these details are “central” to the traumatic event. 442 Abuse victims

often avoid the place where the abuse occurred to avoid triggering the memory. 443

       Mr. Poulos’s behaviors contrast with the studied behaviors Dr. Ziv described. Mr. Poulos

testified the abuse traumatized him. If this is true, Mr. Poulos would have at least registered the

first act of abuse as a traumatic memory. This means Mr. Poulos would “robustly” and “accurately”

remember central elements of the trauma. But Mr. Poulos remembered little about the abuse. Mr.

Poulos repeatedly testified he cannot recall specifics about the abuse, only generalities. 444 Counsel

asked Mr. Poulos about events which would be “central” to the abuse. For example, counsel asked

Mr. Poulos about whether Mr. Poulos unbuttoned Mr. Ralston’s pants, the size and shape of Mr.

Ralston’s genitals, whether Mr. Ralston had an erection, how it felt to fellate Mr. Ralston, whether

Mr. Ralston ejaculated, and whether Mr. Ralston locked the door before abusing him. In response

to almost all these questions, Mr. Poulos responded he did not remember. 445 An abuse victim



                                                 50
        Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 51 of 123




registering the abuse as traumatic—which Mr. Poulos claims he did—would likely remember these

central details. Mr. Poulos testified he cannot remember specifics because he tried to black out the

abuse. But Dr. Ziv testified it is “very difficult” for abusers to successfully “repress” memories of

trauma. 446

        Mr. Poulos also did not avoid the place of abuse to avoid triggering traumatic memories as

abuse survivors do. Mr. Poulos instead transferred back to The Hill School from Wisconsin for his

senior year so his mother would buy him a car—the same Camaro from the car incident. He not

only returned to The Hill School but lived on the same floor in the same building as Mr. Ralston

during his entire senior year. Mr. Poulos did nothing to avoid this arrangement. And Mr. Poulos

voluntarily returned to The Hill School after graduating because he wanted to give his girlfriend a

tour.

        We heard no evidence rebutting Dr. Ziv’s opinion. Attorney Garabedian presented the

expert testimony of psychiatrist Frank Fetterolf, M.D., who examined Mr. Poulos and opined Mr.

Poulos suffers from post-traumatic stress disorder and borderline personality disorder. 447 Dr.

Fetterolf testified both disorders can develop after trauma occurs. 448 Dr. Fetterolf opined

“childhood sexual abuse” best “explains” Mr. Poulos’s psychiatric diagnoses. 449 But, with due

respect to Dr. Fetterolf’s ample psychiatric qualifications, his qualifications regarding study of

sexual abuse survivors and offenders are incomparable to Dr. Ziv’s. 450 Dr. Fetterolf did not rebut

Dr. Ziv’s findings regarding the studied behaviors of sexual abuse victims. Dr. Fetterolf simply

opined childhood sexual abuse could have caused Mr. Poulos’s symptoms. We assign this opinion

little weight given the lack of detail compared to Dr. Ziv’s compelling testimony. Dr. Fetterolf is

undoubtedly qualified but could not rebut Dr. Ziv’s opinions.




                                                 51
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 52 of 123




           d. Dr. Ziv persuades us Mr. Ralston acts inconsistently with the studied
              behaviors of sexual abusers of teenagers.

       Dr. Ziv examined Mr. Ralston and opined he does not behave “consistent[ly] with a sex

offender or a man who sex offends against a child or a teenager.” 451 We again find Dr. Ziv’s

opinion highly credible.

       Dr. Ziv explained “by far and away” the “most common” method adults use to sexually

abuse teenage boys is “the process of grooming behaviors.” 452 An adult grooms a victim by

assuming a role of “mentor . . . of guidance, of friend, counselor.” 453 The adult makes the child

feel “special” by providing a “shoulder to cry on” and being the child’s “biggest fan.” 454 Adults

treat the victim specially by, for example, buying them lunch or providing extra tutoring. 455 The

adult does this to establish a “connection and a trusting relationship.” 456 This trust permits a

“cognitive distortion” within the abuser, allowing him to think he is in a “relationship” with his

victim. 457 The trust allows the abuser to “break down those barriers that naturally exist” by

developing “growing intimacy” with the victim. 458 For example, an abuser might go camping with

his victim, develop a ruse to get naked with the victim like jumping into a pond, and ultimately

assault the victim. 459 The grooming prevents the victim from fighting the eventual abuse because

it entails a “step-wise” process through which the victim becomes “comfortable with being

touched.” 460 After the abuse, the groomed victim “feels that they [had] some agency in [the abuse]

and some degree of responsibility for it because they liked” the abuser and “let it happen.” 461

       We heard no evidence Mr. Ralston groomed Mr. Poulos. Mr. Poulos described none of the

grooming behaviors Dr. Ziv described. Mr. Ralston never gave Mr. Poulos gifts. 462 Mr. Ralston

never saw Mr. Poulos off-campus. 463 Mr. Ralston never contacted Mr. Poulos after he transferred

schools. 464 Mr. Poulos and Mr. Ralston shared no “relationship,” let alone the intimate relationship

abusers typically groom. Mr. Ralston treated Mr. Poulos like he treated any other student.


                                                 52
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 53 of 123




       And Mr. Poulos’s theory leads us to find Mr. Ralston acted opposite how a child abuser

would act by antagonizing—rather than grooming—Mr. Poulos. Dr. Ziv testified “antagonistic”

behaviors are “not expected” from abusers because they inhibit grooming and increase the

likelihood of getting caught. 465 Abusers do not “go out of [their] way to do something that may

increase the likelihood that [they] would be caught.” 466 But Mr. Ralston did just this if we credit

Mr. Poulos’s testimony. Mr. Poulos argued in his post-trial briefing Mr. Ralston “would humiliate”

and “intimidate[]” him. 467 For example, according to Mr. Poulos, Mr. Ralston forced him to take

geometry quizzes on the blackboard while his classmates took quizzes in their seats. Mr. Ralston

regularly made Mr. Poulos stay after class. And the car incident so antagonized Mr. Poulos it still

bothered him twenty-five years later. Mr. Ralston would not “go out of [his] way” to alienate Mr.

Poulos if Mr. Ralston truly abused him because it would draw The Hill School’s attention to Mr.

Ralston’s relationship with Mr. Poulos and make him more likely to get caught.

       Dr. Ziv also credibly opined grooming is not the only way abusers victimize children. Some

abuse occurs abruptly without grooming. 468 But the victims of such abuse are more likely to exhibit

the “natural response . . . to recoil” upon suffering abuse. 469 These victims are “absolutely,”

“without question” more likely to report the abuse because the abuser never developed trust with

the victim by grooming. 470 But this type of abuse is also unlikely because Mr. Poulos did not report

the abuse for over twenty years. Mr. Poulos claimed he did not report the abuse because he feared

disappointing his family. But this explanation comports with victims who have been groomed, not

victims who suddenly suffer assault. 471

       Mr. Ralston abusing Mr. Poulos so recklessly further contradicts studied behaviors of

abusers. Dr. Ziv testified abusers assault children “in places where they are unlikely to be

discovered,” like “a hotel room,” “car,” or “early in the morning” at a remote campus location. 472



                                                 53
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 54 of 123




Abusers do this to avoid getting caught and to ensure enough time to derive “pleasure from these

sexual acts” by allowing the sexual act to “come to completion.” 473 Yet Mr. Ralston apparently

abused Mr. Poulos in a public classroom, in broad daylight, in a bustling building at the heart of

campus filled with students and teachers. Dr. Ziv’s testimony confirms our common-sense findings

it is unlikely Mr. Ralston would abuse Mr. Poulos in this way.

       We can never know exactly what, if anything, happened on The Hill School campus

between Mr. Poulos and Mr. Ralston besides the car incident. We do not suggest Mr. Poulos

fabricated his pain. He appeared to our untrained eye to be suffering. The crucible of depositions

and trial could not have helped. But we have no basis to find Mr. Ralston caused Mr. Poulos’s

suffering. We reach this conclusion following months of reading and re-reading the admitted

testimony and carefully evaluating the credibility of Mr. Poulos, Mr. Ralston, the undisputed

expert opinions of Dr. Ziv, and dozens of exhibits during trial.

       Our findings today should not be read in any way as dissuading persons from reporting

abuse. If anything, our findings should do the opposite by confirming trials exist to discover the

truth. Overwhelming evidence confirms the truth is Mr. Ralston did not sexually abuse Mr. Poulos.

   B. Attorney Garabedian is not entitled to the judicial privilege for the 2018 letters but
      Mr. Ralston is not entitled to damages from Attorney Garabedian.

       We now examine Mr. Ralston’s defamation claim against Attorney Garabedian. We reach

three conclusions confirming Attorney Garabedian does not owe damages to Mr. Ralston: (1)

Attorney Garabedian published the 2018 Letters; (2) the judicial privilege does not protect

Attorney Garabedian’s publication, and (3) Mr. Ralston is not entitled to a damages judgment

against Attorney Garabedian because Attorney Garabedian did not publish with actual malice and

the publication did not cause Mr. Ralston actual reputational injury.




                                                54
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 55 of 123




       1. Attorney Garabedian published the 2018 Letters.

       “Publication of defamatory matter is the intentional or negligent communication of such

matter to one other than the person defamed.” 474 “Any act by which the defamatory matter is

intentionally or negligently communicated to a third person is a publication.” 475

       Attorney Garabedian published the 2018 Letters because he intentionally communicated

them to Headmaster Lehman and Attorney Rees. Attorney Garabedian published the April 11

Letter to Headmaster Lehman by sending the April 11 Letter to Headmaster Lehman. And

Attorney Garabedian published the December 26 Letter to Attorney Rees by sending the December

26 Letter to Attorney Rees. These acts constitute publication.

       2. The judicial privilege does not protect Attorney Garabedian’s publication.

       Attorney Garabedian argues the judicial privilege protects his publication of the 2018

Letters because he and Mr. Poulos seriously considered litigation before Attorney Garabedian sent

the 2018 Letters. Attorney Garabedian argues he told Mr. Poulos Pennsylvania’s statute of

limitations governing Mr. Poulos’s potential claims had expired when Mr. Poulos retained him,

but a movement to amend the statute had developed great momentum and he would sue as soon as

the statute changed. Mr. Ralston responds Attorney Garabedian’s testimony about the statute of

limitations changing is not credible, and even if it were, it does not warrant the judicial privilege

as a matter of law. We agree with Mr. Ralston.

       The judicial privilege entitles a person “to absolute immunity for ‘communications which

are issued in the regular course of judicial proceedings and which are pertinent and material to the

redress or relief sought.’” 476 “[T]he judicial privilege is not limited to statements made in open

court.” 477 It also covers “less formal communications such as preliminary conferences and

correspondence between counsel in furtherance of the client’s interest.” 478 “The contours of the



                                                 55
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 56 of 123




privilege . . . have been shaped by a case-by-case evaluation of whether its application in specific

circumstances is needed to advance its underlying policy objectives.” 479

        The judicial privilege’s policy objectives include the “fundamental societal need for justice

to be administered freely and efficiently through the eliciting of speech from parties and witnesses

that may be accusatory or otherwise reflect negatively upon another’s character.” 480 It “is an

integral part of a public policy which permits all suitors, however bold and wicked, however

virtuous and timid, to secure access to the courts of justice to present whatever claims, true or false,

real or fictitious, they seek to adjudicate.” 481

        “The essential realm of protected communication is not, however, without bounds.” 482

Pennsylvania courts limit the privilege’s application where the “policy considerations” animating

the privilege “would not be implicated.” 483 The privilege applies to “communications preliminary

to a proposed judicial proceeding . . . only when the communication has some relation to a

proceeding that is actually contemplated in good faith and under serious consideration by the

witness or a possible party to the proceeding.” 484 “The bare possibility that the proceeding might

be instituted is not to be used as a cloak to provide immunity for defamation when the possibility

is not seriously considered.” 485 “Where a declarant has no intention of initiating proceedings or

otherwise obtaining a remedy, clothing his or her statement with immunity cannot serve” the

judicial privilege’s “goal” of “incentivizing individuals to . . . speak freely in seeking to

initiate judicial or quasi-judicial proceedings.” 486

        We found Attorney Garabedian did not carry his burden to show the judicial privilege

applied before trial. 487 We found the contingent fee agreement signed by Attorney Garabedian and

Mr. Poulos, in which they explicitly agreed they would not file a lawsuit, showed they did not




                                                    56
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 57 of 123




seriously consider judicial proceedings. We also found they did not seriously consider quasi-

judicial proceedings because they at most sought to mediate Mr. Poulos’s claims.

       But we were mindful the judicial privilege “depends on the speaker’s subjective intent,” so

“a factual inquiry into that intent may be necessary to apply the privilege.” 488 We were also

mindful the record contained little evidence regarding the reason why Attorney Garabedian and

Mr. Poulos agreed not to sue: the expiration of the statute of limitations governing Mr. Poulos’s

potential claims. 489 So we permitted Attorney Garabedian to adduce evidence at trial regarding

“his perception of the likelihood the statute of limitations might change.” 490

       We now affirm our December 23, 2021 findings the judicial privilege does not protect

Attorney Garabedian’s publication of the 2018 Letters because neither Attorney Garabedian nor

Mr. Poulos seriously considered judicial or quasi-judicial proceedings before Attorney Garabedian

sent the 2018 Letters.

       The evidence adduced at trial only strengthened our previous findings the judicial privilege

does not apply. In our December 23, 2021 findings, we assumed Attorney Garabedian and Mr.

Poulos seriously considered litigation at some point, but their serious consideration waned once

they discovered the statute of limitations expired. 491 But the trial evidence revealed the two never

seriously considered litigation. Mr. Poulos and Mrs. Poulos both testified they never intended to

file a lawsuit. Mrs. Poulos, who contacted Attorney Garabedian first, thought a “lawsuit didn’t

have anything to do with” contacting Attorney Garabedian because “[w]e weren’t even thinking

of a lawsuit.” Mrs. Poulos only would have considered a lawsuit once it “became viable”—i.e.,

once the statute of limitations governing Mr. Poulos’s claims changed. Mr. Poulos knew the statute

of limitations for claims against Mr. Ralston expired before he contacted Attorney Garabedian. He

contacted Attorney Garabedian so Attorney Garabedian could report his claims to The Hill



                                                 57
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 58 of 123




School—not to file a lawsuit. Mr. Poulos wanted to “be prepared” if the Pennsylvania General

Assembly and Governor someday amended the statute of limitations, but he had no reason to

believe they would do so when he contacted Attorney Garabedian. Mr. Poulos did not plan to “take

legal action” against Mr. Ralston because “[t]here was no point in thinking about something that

has an undetermined date.” Mr. Poulos testified he “knew that no lawsuit would be filed.” During

Attorney Garabedian’s initial discussions with Mr. Poulos in late 2017, they barely discussed a

lawsuit—the attorneys simply informed Mr. Poulos the statute of limitations had expired, then

moved forward.

       Attorney Garabedian testified he told Mr. Poulos before he sent the April 2018 Letters a

movement to change the statute of limitations governing his claims had gained “great

momentum.” 492 We find this testimony highly incredible for at least four reasons.

       First, Mr. Poulos, who possessed a much better memory of the relevant conversations with

his lawyer (as opposed to his recall of the claimed events in the geometry classroom), testified

Attorney Garabedian and his associates never told him the statute of limitations would change. Mr.

Poulos did not remember Attorney Garabedian telling him he contacted legislators or lobbyists

about changing the Pennsylvania statute of limitations. Mr. Poulos testified Attorney Garabedian

did not “directly” tell him “there was going to be a change” to the statute of limitations. 493

Although Mr. Poulos lacked credibility in other respects, we find his memory of his few

interactions with Attorney Garabedian more credible than Attorney Garabedian’s memory of one

client amid thousands of clients claiming abuse across the country under differing statutes of

limitations.

       Second, Attorney Garabedian’s memory of these discussions appeared non-existent.

Attorney Garabedian frequently did not remember details during our bench trial. Counsel used



                                               58
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 59 of 123




Attorney Garabedian’s notes of his conversations with Mr. Poulos to refresh his recollection—but

Attorney Garabedian, who testified virtually, would simply parrot the notes almost verbatim

during his “refreshed” testimony. 494 Attorney Garabedian also testified to some non-existent facts,

such as his belief Mr. Poulos’s father had sexually abused him. Attorney Garabedian was also full

of “I don’t know”s and “I don’t remembers” when asked about his discussions with Mr. Poulos

during his depositions. Attorney Garabedian has represented thousands of alleged sexual abuse

victims. He does not appear to remember the discussions with this alleged victim.

       Third, Attorney Garabedian’s notes are silent regarding discussions between Attorney

Garabedian and Mr. Poulos about the statute of limitations changing before Attorney Garabedian

sent the 2018 Letters. The notes are otherwise fulsome. But as to the statute of limitations, the

notes merely show Attorney Garabedian told Mr. Poulos the statute of limitations had expired, so

they would not sue. Attorney Garabedian’s file on Mr. Poulos’s matter contains no evidence he or

his associates researched a change to the statute of limitations. The first time the notes show

Attorney Garabedian discussing a change to the statute of limitations with Mr. Poulos is in April

2019. This is after Attorney Garabedian sent the 2018 Letters, after Attorney Rees told them The

Hill School considered the matter closed, and is too little, too late.

       Fourth, the expansive summary judgment record contained no evidence of Attorney

Garabedian’s understanding “great momentum” developed to change the statute of limitations. It

is remarkably convenient Attorney Garabedian suddenly found his purported discussions about the

statute of limitations relevant only after we “permit[ted] Attorney Garabedian to adduce evidence

at trial regarding his perception of the likelihood the statute of limitations might change.” 495 We

expect we would have seen something about Attorney Garabedian’s discussions with Mr. Poulos

regarding this momentum had the discussions occurred. 496 We do not doubt a movement to change



                                                  59
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 60 of 123




the statute of limitations developed momentum. 497 But we deeply doubt Attorney Garabedian

discussed this movement with Mr. Poulos. He is not credible on this issue. We do not credit

Attorney Garabedian’s eleventh-hour attempts to manufacture serious consideration of litigation.

       Even if we believed Attorney Garabedian’s testimony about his discussions with Mr.

Poulos, however, our belief would not warrant the judicial privilege. As we found in our December

23, 2021 Memorandum, we cannot apply the judicial privilege based on “the mere potential or

‘bare possibility’ that judicial proceedings ‘might be instituted’ in the future.” 498 The privilege

does not protect communications made “simply as a tactical ploy to negotiate a bargain” or “as a

means of obtaining a settlement.” 499 But this is exactly why Attorney Garabedian sent the 2018

Letters.

       Attorney Garabedian sent the 2018 Letters hoping to obtain a quick settlement of “claims”

Attorney Garabedian and Mr. Poulos agreed they would not file. Attorney Garabedian told Mr.

Poulos the statute of limitations prevented them from suing before he sent the April 11 Letter.

Attorney Garabedian agreed he would not sue in the fee agreement governing his representation

of Mr. Poulos. But Attorney Garabedian still boasted to Mr. Poulos about obtaining $500,000 for

other alleged abuse victims through “settlement” despite their claims being time-barred. Attorney

Garabedian tried to do the same here by bluffing about having “claims” worth $1,000,000 in the

April 11 Letter. Attorney Garabedian possessed “claims” in only an abstract sense: Attorney

Garabedian could have sued The Hill School or Mr. Ralston; the statute of limitations is an

affirmative defense, and The Hill School or Mr. Ralston might not have invoked it. But Attorney

Garabedian foreclosed the possibility of suing by agreeing with Mr. Poulos he would not sue. Then

he threatened “claims” anyway which he would only release for one million dollars.




                                                60
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 61 of 123




       Attorney Garabedian’s inactivity on Mr. Poulos’s matter after sending the 2018 Letters

confirms he sent the letters only hoping to obtain a quick settlement. Attorney Garabedian ignored

Attorney Rees’s outreach in April 2018 shortly after sending the April 11 Letter. Attorney

Garabedian and his associates performed no work on Mr. Poulos’s matter from April 2018 to

September 2018. Attorney Garabedian ignored Mr. Poulos’s September 2018 outreach seeking

updates on his case. Attorney Garabedian provided a bizarre explanation for his ignorance of Mr.

Poulos at trial: “In my area of the law, sometimes you don’t speak to clients because you trigger

them. . . . Sometimes you just leave the client alone, in my area of the law.” 500 It seems to us

ignoring a client desperate for updates about his case would be the event triggering the client.

       Attorney Garabedian finally called Attorney Rees in September 2018, but the two could

not connect and Attorney Garabedian resumed doing nothing on the matter. In December 2018,

after receiving an angry email from Mrs. Poulos fairly asking for updates, Attorney Garabedian

and his associates resumed working on Mr. Poulos’s matter. But Attorney Garabedian barely did

anything. He simply re-interviewed Mr. Poulos, sent the December 2018 Letter to Attorney Rees,

and asked Attorney Rees to mediate the case after an investigation. Then, yet again, Attorney

Garabedian resumed ignoring Mr. Poulos’s matter by disregarding three emails over three months

from Attorney Rees asking to begin an investigation—even though Attorney Garabedian first

proposed the investigation. After ignoring Attorney Rees, Attorney Garabedian told Mr. Poulos

The Hill School was “giving us the runaround.” Attorney Garabedian’s conclusion is curious.

Attorney Garabedian proposed an investigation, yet Attorney Garabedian somehow concluded

Attorney Rees’s messages seeking to start the very investigation Attorney Garabedian proposed

constituted “the runaround.” Attorney Garabedian’s pattern of inactivity and ignorance confirms




                                                61
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 62 of 123




his purpose for sending 2018 Letters: obtain a quick settlement without the fact-finding process

applied in trial courts.

           Still more reasons to reject the judicial privilege exist. Even accepting all of Attorney

Garabedian’s testimony as credible—which it is not by a long shot—still does not show Attorney

Garabedian or Mr. Poulos “seriously” considered judicial or quasi-judicial proceedings. At most,

the evidence shows they hoped the statute of limitations might change so they could then someday

seriously consider litigation. In April 2019, Attorney Garabedian told Mr. Poulos they should wait

one year to see if the statute of limitations changed, then reassess. Mr. Poulos swore at his

deposition he would not begin to consider a lawsuit until the statute of limitations changed. Only

then would Mr. Poulos “contemplate if it’s worth the time and mental energy to deal with.”

Applying the judicial privilege to these contingency-laden circumstances stretches the privilege

too far.

           Nor does Attorney Garabedian show either he or Mr. Poulos seriously considered a quasi-

judicial proceeding. We earlier found no evidence Attorney Garabedian considered a quasi-judicial

proceeding in our December 23, 2021 Memorandum. He considered mediation, but we found

mediation is not a quasi-judicial proceeding. 501 Attorney Garabedian presented no evidence

persuading us to change our view. Attorney Garabedian proposed an investigation of Mr. Poulos’s

claims, but this proposed investigation does not warrant the judicial privilege for two reasons.

First, an investigation is not quasi-judicial unless it at least “involves the exercise of discretion and

requires notice and a hearing.” 502 Private procedures do not suffice. 503 Attorney Garabedian only

considered a private investigation conducted by The Hill School through Attorneys Gomez and

Smith. This process does not qualify as quasi-judicial. Second, even if the investigation did qualify

as quasi-judicial, Attorney Garabedian did not “seriously” consider it. Attorney Garabedian



                                                   62
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 63 of 123




ignored Attorney Rees’s invitations to begin the investigation for months. Attorney Garabedian’s

ignorance made Attorney Rees close Mr. Poulos’s matter with no objection from Attorney

Garabedian. This is not serious consideration.

       As we reasoned in our December 23, 2021 Memorandum, the judicial privilege serves

important policy aims. The judicial privilege likely protects most pre-suit demand letters because

the attorney intends to sue. The judicial privilege might also protect pre-suit demand letters sent

by attorneys threatening claims barred by the statute of limitations—if the attorney or his client

seriously considered bringing the litigation in good faith. But we face different facts. Our

evaluation of witness credibility confirms Attorney Garabedian and Mr. Poulos did not seriously

consider judicial or quasi-judicial proceedings. We cannot infer they must have considered such

proceedings simply because Attorney Garabedian happens to be an attorney. We heard no evidence

Attorney Garabedian or Mr. Poulos seriously considered the procedures the judicial privilege

protects. The judicial privilege does not protect the 2018 Letters.

       3. Mr. Ralston is not entitled to a damages judgment against Attorney Garabedian
          because Attorney Garabedian did not publish the 2018 Letters with actual malice
          and the publication did not cause Mr. Ralston actual reputational injury.

       Mr. Ralston seeks a damages judgment against Attorney Garabedian. 504 Private figures like

Mr. Ralston may recover damages through two avenues depending on the level of fault they

prove. 505 First, if the plaintiff proves the defendant published with actual malice, he may recover

“presumed and punitive damages.” 506 Actual malice obviates the need to prove actual reputational

injury. 507 Second, if the plaintiff fails to prove actual malice, he may only recover damages by

proving the defendant’s publication caused “actual injury” to the plaintiff’s “reputation.” 508 Sans

actual malice, proof of reputational injury “is a prerequisite to the recovery of damages for other

actual injuries, including mental and emotional injuries.” 509



                                                 63
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 64 of 123




       Mr. Ralston proves neither actual malice nor actual injury to his reputation. We explain

this finding in three parts. First, the Pennsylvania Supreme Court’s decision in Joseph v. Scranton

Times L.P 510 requires Mr. Ralston to prove either actual malice or actual reputational injury to

recover damages. Second, Attorney Garabedian did not act with actual malice. Third, Attorney

Garabedian did not cause Mr. Ralston actual reputational injury.

           a. The Pennsylvania Supreme Court requires Mr. Ralston to prove either actual
              malice or actual reputational injury to recover damages.

       We first clarify why Mr. Ralston’s failure to prove actual malice or actual reputational

injury dooms his claim for defamation damages.

       The Pennsylvania Supreme Court exhaustively analyzed permissible damages in

defamation suits approximately seven years ago in Joseph. The Pennsylvania Court examined the

United States Supreme Court’s directive “only the State’s interest in protecting an individual’s

reputation can justify the intrusion into otherwise constitutionally protected free speech.” 511 The

Pennsylvania Supreme Court concluded a private-figure defamation plaintiff who does not prove

actual malice must prove “actual injury” to his “reputation” as “a prerequisite to the recovery of

damages for other actual injuries, including mental and emotional injuries.” 512 This conclusion

comported with the “historical framework of defamation” and “the manner in which the law of

defamation has generally been understood within [Pennsylvania’s] appellate case law.” 513

“[P]ermitting the recovery of damages for injuries such as mental anguish without a showing of

injury to reputation subverts” the United States Supreme Court’s defamation framework because

“protection of an individual’s reputation is the very essence of a claim for defamation.” 514 These

findings abrogated the Pennsylvania Superior Court’s previous findings in the same case a

defamation plaintiff only needed to prove reputational harm or personal humiliation to recover

damages. 515


                                                64
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 65 of 123




       Attorney Garabedian argues the Pennsylvania Supreme Court’s reasoning in Joseph is

unconstitutional under the First Amendment. Attorney Garabedian argues the First Amendment

requires Mr. Ralston to prove Attorney Garabedian acted with actual malice—not merely to prove

he suffered actual reputational injury—because his speech related to a matter of public concern

under Philadelphia Newspapers, Inc. v. Hepps. 516 We disagree.

       The United States Supreme Court in Hepps did not interpret the First Amendment to always

require actual malice in defamation actions regarding matters of public concern. The Court held

as a matter of First Amendment law, private-figure plaintiffs suing media defendants on matters

of public concern “bear the burden of showing falsity, as well as fault, before recovering

damages.” 517 But the Supreme Court did not define “fault” to mean “actual malice.” 518 The Court

left untouched its precedents permitting states to “define for themselves the appropriate standard

of liability” in defamation cases where private figures sue for defamation regarding matters of

public concern. 519 And the Court strongly suggested negligence sufficed to recover damages when

private figures sue on matters on public concern. 520

       The Pennsylvania Supreme Court defines the standard of liability as requiring negligence

when private figures sue on matters of public concern. In American Future Systems, Inc. v. Better

Business Bureau of Eastern Pennsylvania, 521 the Pennsylvania Supreme Court rejected the

argument private figures must show actual malice to prove defamation when the speech “pertained

to a matter of public concern.” 522 The Pennsylvania Supreme Court accurately described United

States Supreme Court law: “[P]ublic figures or officials . . . must show that such statements were

made with . . . actual malice, whereas states may impose liability on a lesser basis as to statements

about a private figure on a matter of public concern, so long as they require some showing of




                                                 65
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 66 of 123




fault.” 523 This “showing of fault” under Pennsylvania law is negligence. 524 This is

constitutional. 525

              b. Mr. Ralston does not meet his burden to prove Attorney Garabedian acted
                 with actual malice.

           The first way Mr. Ralston can recover damages from Attorney Garabedian is adducing

clear and convincing evidence Attorney Garabedian defamed him with actual malice. The

Pennsylvania Supreme Court follows the United States Supreme Court’s definition of actual

malice. 526 “‘Actual malice’ is a term of art that does not connote ill will or improper

motivation.” 527 “Actual malice exists where a statement [is] made with either: (1) knowledge of

its falsity; or (2) reckless disregard to its truth or falsity.” 528 “[T]he question of actual malice is a

subjective inquiry as to the defendant’s belief to be made by the finder of fact.” 529 Mr. Ralston

must prove actual malice by “clear and convincing evidence.” 530 “This standard requires evidence

‘so clear, direct, weighty, and convincing as to enable the trier of fact to come to a clear conviction,

without hesitancy of the truth of the precise facts in issue.’” 531 “This is a difficult burden to meet,

and . . . it is not met by a showing of mere carelessness or negligence.” 532

           Mr. Ralston did not adduce clear and convincing evidence Attorney Garabedian published

the 2018 Letters with actual malice. Mr. Ralston does not prove (1) Attorney Garabedian either

knew Mr. Poulos’s allegations were false or (2) acted with reckless disregard as to the statements’

falsity.

                      i.   Attorney Garabedian believed Mr. Poulos.

           Attorney Garabedian believed Mr. Poulos’s allegations because we credit Attorney

Garabedian’s testimony he believed Mr. Poulos. Attorney Garabedian has represented thousands

of abuse victims. He found Mr. Poulos’s story consistent with other victims’ stories. Attorney

Garabedian judged Mr. Poulos’s tone of voice during his interviews, finding him anxious and in


                                                   66
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 67 of 123




pain. Headmaster Lehman’s 2017 letter lent an air of credibility to Mr. Poulos’s allegations. Mr.

Poulos told Attorney Garabedian he contacted him because Headmaster Lehman solicited

comments about sexual abuse. Attorney Garabedian concluded Mr. Poulos reported a truthful story

responding to Headmaster Lehman’s 2017 letter. Simply put, we believe Attorney Garabedian’s

testimony he believed Mr. Poulos. We find no clear and convincing evidence suggesting otherwise.

                 ii.   Attorney Garabedian did not act with reckless disregard to the falsity
                       of the allegations because he did not have serious doubts as to the truth
                       of his publication or subjective awareness of probable falsity.

       Whether Attorney Garabedian acted with reckless disregard to the allegations’ falsity is a

tougher question. “The term ‘reckless disregard’ is not amenable to one infallible definition.” 533

“It is a term which is understood by considering a variety of factors in the context of an actual

case.” 534 These factors include “whether the author published a statement in the face of verifiable

denials . . . without further investigation or corroboration, where allegations were clearly serious

enough to warrant some attempt at substantiation” and “evidence of unexplained distortion or the

absence of any factual basis to support an accusation.” 535 “[R]ecklessness may be found where

there are obvious reasons to doubt the veracity of the informant or the accuracy of his reports.” 536

We may “use circumstantial evidence” to ascertain Attorney Garabedian’s reckless disregard. 537

       Critically, “[a]ctual malice focuses on [the speaker’s] attitude towards the truth.” 538 Mr.

Ralston must at least prove Attorney Garabedian published the statements with “serious doubts as

to the truth of his publication” or “subjective awareness of probable falsity.” 539

       After evaluating the credibility of the testimony, we find Attorney Garabedian did not act

with reckless disregard because he neither harbored serious doubts as to the truth of Mr. Poulos’s

allegations nor had subjective awareness of their probable falsity.

       We begin by acknowledging a reasonable person would have had serious doubts about Mr.

Poulos’s story by December 2018. Mr. Poulos told the Garabedian attorneys materially different
                                                 67
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 68 of 123




stories in December 2017 and in December 2018. In December 2017, Mr. Poulos said Mr. Ralston

abused him in a study room, cubicles in the basement of The Hill School, and in his dorm room.

But in December 2018, Mr. Poulos said the abuse occurred only in geometry classroom. In 2017,

Mr. Poulos said the abuse occurred during his freshman and sophomore years; in 2018, he said it

only occurred during his sophomore year. A reasonable person hearing these inconsistencies in

allegations so damning would stop and think before republishing them. A reasonable person would

inquire why Mr. Poulos changed material details like the location of the abuse and his age when it

occurred.

       But we are not examining what a “reasonably prudent person” would think about the truth

of the allegations—we are examining what Attorney Garabedian thought. 540 Attorney Garabedian

did not doubt Mr. Poulos’s statements. It seems decades of representing abuse victims have made

Attorney Garabedian default to believing victims irrespective of inconsistencies in their stories.

Attorney Garabedian provided credible—if unreasonable—reasons he did not doubt Mr. Poulos’s

story despite its inconsistences. Attorney Garabedian thought someone aged fifteen during abuse

“is not going to have every detail bound in his mind.” Attorney Garabedian believed victims try to

“suppress” the memories but they “come forward” eventually. He thought when victims do come

forward, they will not have “a photograph of the abuse” memorized, but can provide “enough

general details” making them credible. We now know Attorney Garabedian’s justifications for

disregarding the inconsistencies in Mr. Poulos’s story lack merit based on Dr. Ziv’s credible expert

testimony. But Attorney Garabedian believed what he believed.

       Attorney Garabedian found Mr. Poulos’s story consistent with other victims’ stories.

Attorney Garabedian thought Mr. Poulos felt “pain,” “anguish,” and “misery” when recounting

the abuse like most victims. Mr. Poulos committed crimes and received psychological treatment,



                                                68
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 69 of 123




which many victims do. Mr. Poulos recounted how Mr. Ralston purportedly “groom[ed]” him,

which Attorney Garabedian found frequently occurred.

       Attorney Garabedian’s belief of Mr. Poulos was not so unreasonable as to compel a finding

Attorney Garabedian lied about believing Mr. Poulos. Mr. Poulos initially presented to Attorney

Garabedian as a victim seeking to hold his abuser accountable. Mr. Poulos disclosed Headmaster

Lehman’s 2017 letter, which confirmed abuse at The Hill School “decades” ago and lent an air of

credibility to Mr. Poulos’s story. Attorney Garabedian thought “red flags” existed at The Hill

School because of the 2017 letter. Mr. Poulos asked Attorney Garabedian whether he should

contact Attorneys Smith and Gomez, suggesting Mr. Poulos was serious about his allegations. It

is understandable a sexual abuse victim would seek legal counsel in responding to a

communication like the 2017 letter. Mr. Poulos then disclosed a straightforward story of abuse in

December 2017. He described Mr. Ralston’s physical appearance, the harms he suffered, and

provided background information. Mrs. Poulos had previously contacted Attorney Garabedian

about The Hill School, giving him further reason to believe Mr. Poulos. Attorney Mahoney’s

minimal investigation confirmed some basic elements of Mr. Poulos’s story—Mr. Poulos attended

The Hill School when he said he did, Mr. Ralston signed Mr. Poulos’s transcript (confirming some

relationship between the two), and Mr. Poulos transferred from The Hill School after the abuse

allegedly occurred.

       We recognize the Garabedian attorneys performed a minimal investigation of Mr. Poulos’s

claims. Mr. Poulos informed the Garabedian attorneys he had received psychological treatment

and had been arrested, yet the attorneys made no effort to obtain Mr. Poulos’s criminal records or

medical records. Attorney Garabedian also published the 2018 Letters before obtaining his Hill

School file. Worse, Attorney Garabedian never met Mr. Poulos in person or even through video



                                               69
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 70 of 123




conference to assess his credibility. Attorney Garabedian simply spoke to Mr. Poulos by phone

before sending the 2018 Letters. A reasonable person would certainly meet someone making

allegations of abhorrent sexual abuse before republishing them to the accused’s employer.

Attorney Garabedian’s sloppiness is not the standard we expect of counsel. 541 Alas, “failure to

investigate before publishing” 542 or “failure to verify . . . facts” 543 does not establish actual malice.

Attorney Garabedian did not maintain serious doubts before publishing, so he did not act with

actual malice.

        Our finding Attorney Garabedian did not act with actual malice may appear inconsistent

with our unequivocal disapproval of Attorney Garabedian’s practices when rejecting the judicial

privilege above. We emphasize our disapproval of Attorney Garabedian’s settlement-seeking

practice as to The Hill School based on minimal investigation. But Attorney Garabedian’s

sloppiness is the very thing protecting him from an actual malice judgment. Actual malice focuses

on Attorney Garabedian’s “attitude towards the truth.” 544 By never stopping to question the truth

of Mr. Poulos’s allegations, Attorney Garabedian never formed serious doubts about them. Our

Court of Appeals recently directed us “an extreme departure from professional standards” is not

enough for actual malice. 545 Nor is “ill will” or “desire to increase profits.” 546 Attorney Garabedian

departed from the standard we expect of attorneys bringing such damning accusations to increase

profits through settlement. While this “circumstantial evidence” is relevant to Attorney

Garabedian’s “state of mind,” it does not excuse the requirement he harbored serious doubts as to

the truth of the statements he published. 547 This, he did not do.

        Our findings here might also seem inconsistent with our finding Mr. Poulos lied about the

abuse. But we focus our actual malice inquiry on Attorney Garabedian’s state of mind at the time

he published the statements on April 11 and December 26, 2018. When he published the



                                                    70
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 71 of 123




statements, he did not have the benefit of a two-week trial with comprehensive expert testimony,

powerful cross-examination, and dozens of exhibits. We have far more reasons to doubt Mr. Poulos

than Attorney Garabedian had when evaluating Mr. Poulos’s claims in 2017 and 2018.

       Mr. Ralston argues Attorney Garabedian “buried his own head in the sand” to avoid

obtaining contradictory information. 548 Maybe so, but this still does not establish actual malice.

The “purposeful avoidance theory” only supports a finding of actual malice “where there is

sufficient evidence from which a reasonable jury could infer that the publisher of the statement

subjectively doubted the truth of the underlying information.” 549 We may only find actual malice

based on a defendant’s purposeful avoidance of truth if the defendant “avoided contradictory

information due to the publisher’s doubts as to the truth of his own statements.” 550 As we

explained, Attorney Garabedian did not entertain doubts as to the truth of his statements. Attorney

Garabedian presents as a man with unparalleled confidence in his ability to detect truth in a sexual

abuse claim. He relied on his touted experience in representing thousands of alleged abuse victims

to self-assure his credibility finding. Mr. Ralston adduced no evidence Attorney Garabedian or his

associates doubted their credibility judgment.

       These facts exemplify why we join several jurists in questioning the continued viability of

the actual malice doctrine requiring private persons to adduce clear and convincing evidence of

actual malice by a non-media speaker to recover damages absent reputational harm. 551 The United

States Supreme Court created the actual malice doctrine in the context of a defamation suit against

The New York Times after it ran an inaccurate ad seeking donations for the civil rights

movement. 552 The Court reasoned we should “tolerate the occasional falsehood to ensure robust

reporting” by media outlets regarding public figures. 553 But as Justice Gorsuch notes, the doctrine

has evolved into “an ironclad subsidy for the publication of falsehoods by means and on a scale



                                                 71
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 72 of 123




previously unimaginable.” 554 To avoid actual malice, the “optimal legal strategy” might be to

publish “without investigation” or “fact-checking,” as here. 555 The Supreme Court has

acknowledged the actual malice doctrine arguably “puts a premium on ignorance” or “encourages

the irresponsible publisher not to inquire.” 556 We are skeptical the Court in Sullivan intended the

actual malice doctrine to protect Attorney Garabedian, a non-media defendant who issued

abhorrent allegations about a private figure while never intending to allow his allegations to be

tested in court. Yet the actual malice doctrine protects Attorney Garabedian because he avoided

knowing too much about Mr. Poulos’s story by conducting a minimal investigation which did not

reveal the facts’ falsity and instead relied on his self-confidence in detecting credibility when

seeking a million-dollar payday. Negligence counterintuitively protects Attorney Garabedian. Mr.

Ralston cleared his name through our defamation trial, but still cannot recover from Attorney

Garabedian because he could not adduce clear and convincing evidence of Attorney Garabedian’s

disbelief. Attorney Garabedian’s conduct is a long reach from the concern with a robust press

reporting on public figures in Sullivan and its progeny. But this is the law on reckless disregard

we must follow today. 557 Attorney Garabedian’s ignorance of Mr. Poulos’s incredibility tells us

quite a bit about Attorney Garabedian’s practice—but it does not constitute actual malice through

reckless disregard under the governing law.

       We are not alone in finding a minimal investigation before issuing defamatory accusations

is not actual malice under the clear and convincing standard. Judge Spector also found no clear

and convincing evidence of actual malice when reviewing sexual assault allegations after a bench

trial. In Powell v. Jones-Soderman, a mother attempting to gain custody of her two minor daughters

from their father hired an investigator to examine the father’s parenting. 558 The daughters told the

investigator the father sexually and physically abused them, which they had previously alleged. 559



                                                 72
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 73 of 123




One daughter produced her diary which detailed the purported abuse. 560 The investigator knew the

daughters suffered from mental conditions making them feign illnesses. 561 The investigator also

knew a judge ordered the daughters to the father’s custody after police and a child welfare agency

found the daughters’ previous allegations of abuse “unfounded.” 562 Nonetheless, the investigator

repeatedly posted on a public website detailed allegations the father sexually and physically abused

the daughters. 563 The father sued the investigator for defamation. Judge Spector found actual

malice by a preponderance of the evidence because the investigator kept up her allegations for

more than one year in a public forum despite knowing objective evidence the allegations were

false. 564 But Judge Spector did not find clear and convincing evidence of actual malice. 565 Judge

Spector recognized the investigator had subjective reasons to believe the daughters’ allegations. 566

The investigator interviewed the daughters for three hours, conducted many phone calls with them,

and reviewed one daughter’s diary. 567 Judge Spector found insufficient evidence meeting the

“heightened standard of clear and convincing evidence.” 568

       We, like Judge Spector, cannot find Mr. Ralston established recklessness by clear and

convincing evidence. Judge Spector considered similar facts to ours: A person hired someone who

became incentivized to accuse another of sexually abusing a minor. But the investigator in Powell

acted more culpably than Attorney Garabedian by publishing false allegations of sexual abuse

despite knowing a judge, the police, and a child welfare agency found “absolutely no support” for

the allegations and despite knowing the children feigned illnesses. 569 Attorney Garabedian did not

have such evidence. The investigator also published the allegations on a public forum. Attorney

Garabedian, meanwhile, published the 2018 Letters privately to The Hill School. The facts of

Powell still did not persuade Judge Spector to find clear and convincing evidence of actual malice

because the investigator had reasons to believe the allegations. Like the investigator, Attorney



                                                 73
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 74 of 123




Garabedian had subjective reasons to believe Mr. Poulos. We cannot find “without hesitancy”

Attorney Garabedian acted with actual malice. 570 This ends the actual malice inquiry.

            c. Mr. Ralston does not meet his burden to prove Attorney Garabedian caused
               him actual reputational injury.

        Because Mr. Ralston does not prove Attorney Garabedian’s actual malice, he must prove

Attorney Garabedian’s publication caused him actual reputational injury. Mr. Ralston does not

meet his burden to show actual reputational injury.

        “[R]eputation is the estimation in which one’s character is held by his neighbors or

associates.” 571 Pennsylvania courts broadly define actual reputational harm as “any injury done to

[plaintiff’s] reputation.” 572

        Defamation plaintiffs must present “competent evidence” of actual reputational injury. 573

Mr. Ralston may adduce “evidence concerning the circulation and contents of the defamatory

publication.” 574 This evidence “may support an inference that it was read by its intended recipients

and caused damage to the plaintiff’s reputation.” 575 “[T]he plaintiff in a defamation action may

also present testimony concerning his loss of reputation.” 576 The plaintiff’s testimony may alone

show reputational harm; “evidence of others in the community” is not required. 577 Still, the

plaintiff’s testimony regarding reputational harm must bear on “the perception of others, rather

than that of the plaintiff.” 578 Mr. Ralston need only show “just one person’s opinion of him was

negatively affected.” 579

        Mr. Ralston does not make this showing. Mr. Ralston adduced no competent evidence he

suffered reputational harm from the 2018 Letters because he adduced no evidence anyone believed

the content in the 2018 Letters. Every person Mr. Ralston identified who read or heard about the

2018 Letters either disbelieved them or formed no opinion about them. Headmaster Zachary

Lehman, Mary Beth Ralston, Mark Ralston, Benjamin Walborn, Christopher Hopkins, Bill Yinger,


                                                 74
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 75 of 123




Virginia Yinger, Christopher Chirieleison, Jeffrey Neese, Chairman Preston Athey, and Chief

Financial Officer Richard Wood disbelieved the allegations. Dozens of supporters attended Mr.

Ralston’s trial. We infer these supporters disbelieved the allegations because Mr. Ralston told them

the allegations, yet they still came to support him. We heard no testimony a single person believed

the allegations. Mr. Ralston identified no one whose “estimation” of his “character” changed

because of the 2018 Letters. 580

       The facts adduced during trial resemble Joseph, the very decision requiring Mr. Ralston to

prove actual reputational harm. In Joseph, the Pennsylvania Supreme Court held the trial judge

properly found newspaper articles implicating plaintiffs in criminal conduct did not harm

plaintiffs’ reputations. 581 The trial judge heard “unequivocal[]” testimony during a bench trial from

plaintiffs’ “friends and employees” the newspaper articles did not change their opinions of

plaintiffs. 582 As to one plaintiff, the trial judge heard no “testimony of any member of his

community who had a lesser or diminished view” of his reputation.” 583 The trial judge properly

concluded the plaintiffs failed to prove “any actual reputational injury.” 584

       The same applies today. Like Joseph, we heard no evidence from Mr. Ralston or his

friends, colleagues, or community members the 2018 Letters affected their opinions of him. Mr.

Ralston identified no one who believed the allegations, let alone a person in his “community.” Mr.

Ralston instead testified about person after person who disbelieved the allegations and did not

change their opinion of him.

       Mr. Ralston argues he must have suffered reputational harm because The Hill School did

not renew his employment following the 2018 Letters. But we heard convincing evidence Mr.

Ralston’s decision to sue Mr. Poulos—not the 2018 Letters—caused The Hill School’s decision.

Mr. Ralston adduced no evidence The Hill School had even considered adverse employment action



                                                 75
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 76 of 123




because of the 2018 Letters. Mr. Ralston told his direct supervisors, Mr. Neese and Ms. Yinger,

about the letters; they told him he should keep doing his job. Mr. Ralston then received positive

performance reviews, raises, and bonuses following The Hill School’s receipt of the 2018 Letters.

No Hill School representative asked Mr. Ralston if the allegations were true except Attorney Rees

acting as The Hill School’s attorney required to ask these questions. The Hill School never

contemplated adverse employment action against Mr. Ralston until February 2019, when Attorney

Rees spoke to Mr. Ralston and his lawyers about the consequences of suing Mr. Poulos. Attorney

Rees explained The Hill School would place Mr. Ralston on administrative leave if he sued an

alumnus because suing an alumnus is incompatible with his job duties. Mr. Ralston sued Mr.

Poulos anyway knowing of this likely result. Mr. Ralston’s decision, not reputational harm caused

by the 2018 Letters, provoked the Hill School to decline renewing Mr. Ralston’s employment

agreement.

       Ignoring his sworn testimony, Mr. Ralston argues many people changed their opinions of

him because of the 2018 Letters: (1) Christopher Hopkins; (2) Headmaster Zachary Lehman; (3)

Attorney Thomas Rees; (4) Jason Zwerner; (5) David Dougherty; (6) Chairman Preston Athey and

Chairman Geoffrey Richards; and (7) the three Hill School board members who did not previously

know Mr. Ralston—Vice Chairwoman Michelle Gyves, Vice Chairman Andrew Soussloff, and

Chief Financial Officer Richard Wood. But we heard no evidence allowing us to infer these people

changed their opinions of Mr. Ralston.

                 i.   Christopher Hopkins.

       Mr. Hopkins, Mr. Ralston’s friend, forcefully testified he disbelieved the allegations. Mr.

Hopkins held Mr. Ralston’s reputation in high regard before hearing about the 2018 Letters. The

2018 Letters did not change Mr. Hopkins’s opinion.



                                               76
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 77 of 123




       Mr. Ralston argues Mr. Hopkins’s opinion must have changed because Mr. Hopkins

commented the 2018 Letters made Mr. Ralston “unemployable.” But Mr. Hopkins did not testify

he thought the 2018 Letters made Mr. Ralston unemployable; rather, he testified: “I would not be

able to employ [Mr. Ralston] if [Mr. Ralston] came to my school even given my knowledge of

[him] and the circumstances.” 585 The 2018 Letters did not change Mr. Hopkins’s opinion of Mr.

Ralston—they simply made him unable to employ Mr. Ralston because Mr. Hopkins feared others

might disapprove of a school hiring someone accused of sexual abuse. Mr. Hopkins still held Mr.

Ralston’s reputation in the highest esteem after reading the 2018 Letters. Mr. Hopkins simply

speculated, in a hypothetical situation in which Mr. Ralston sought employment from Mr. Hopkins,

Mr. Hopkins could not employ him—despite his excellent opinion of Mr. Ralston—for reasons

beyond his control.

       Mr. Hopkins’s speculation as to what others might think about him hiring Mr. Ralston is

irrelevant to what Mr. Hopkins himself thinks about Mr. Ralston. Mr. Hopkins’s speculation about

what others might think is also inadmissible for the purpose of Mr. Ralston’s reputational harm for

two reasons. First, Mr. Hopkins lacks personal knowledge about what others would think about

him hiring Mr. Ralston. 586 Second, the evidence is irrelevant to Mr. Hopkins’s opinion of Mr.

Ralston. The evidence proves only what Mr. Hopkins feared others would think of Mr. Hopkins

hiring Mr. Ralston. Mr. Hopkins’s concern about others’ perceptions is “not evidence of

reputational harm”; at most, it is evidence of “any other injury of which [defamation] is the legal

cause.” 587 Mr. Hopkins’s testimony does not show reputational harm.

                ii.   Headmaster Zachary Lehman.

       Similar reasoning applies to Headmaster Lehman. Headmaster Lehman did not testify, but

Mr. Ralston repeatedly testified Headmaster Lehman disbelieved the allegations. Headmaster



                                                77
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 78 of 123




Lehman told Mr. Ralston he “didn’t believe the allegations.” He told Mr. Ralston the allegations

were “bullshit, and that it was an attempt to extract a million dollars from the school.”

       Mr. Ralston still argues Headmaster Lehman must have changed his opinion of Mr. Ralston

because Headmaster Lehman told him to keep a low profile on campus and to avoid time alone

with students. This isolated comment does not show Headmaster Lehman changed his opinion of

Mr. Ralston. Headmaster Lehman did not believe the allegations, so they cannot have changed his

estimation of Mr. Ralston’s character and motivated his comment. 588 Headmaster Lehman likely

told Mr. Ralston not to be alone with students out of concern for what others might think about

him or The Hill School if The Hill School permitted someone accused of sexual abuse to be alone

with students. Headmaster Lehman’s own opinion of Mr. Ralston did not change; he simply

speculated others might change their opinion of him or The Hill School if he permitted Mr. Ralston

to spend time alone with students. 589 Like Mr. Hopkins, Headmaster Lehman’s speculation about

what others might think of The Hill School lacks personal knowledge regarding what others would

think about Mr. Ralston and is irrelevant to Mr. Ralston’s reputational harms. Headmaster

Lehman’s opinion of Mr. Ralston did not change, so it does not prove reputational harm.

                iii.   Attorney Thomas Rees.

       Attorney Rees testified he had “no opinion” of Mr. Ralston because the two did not share

a personal relationship. The 2018 Letters did not change Attorney Rees’s opinion of Mr. Ralston.

       Mr. Ralston argues the 2018 Letters must have changed Attorney Rees’s view of Mr.

Ralston because Attorney Rees “asked Mr. Ralston if the information in the letter was true.” 590 We

reject this argument for two reasons. First, irrespective of whether Attorney Rees believed the

allegations, he testified they did not affect his opinion of Mr. Ralston. Second, Attorney Rees

asking Mr. Ralston about the allegations’ truth does not bear on Attorney Rees’s opinion of the

allegations. Attorney Rees simply performed his professional obligation as The Hill School’s
                                                 78
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 79 of 123




lawyer to investigate claims made against a Hill School employee. He expressed no view as to the

allegations’ truth. The 2018 Letters did not change Attorney Rees’s opinion of Mr. Ralston.

                 iv.   Jason Zwerner.

       We heard no evidence Mr. Zwerner, Mr. Poulos’s cousin and Mr. Ralston’s former student,

changed his opinion of Mr. Ralston. Mr. Zwerner did not testify. We simply heard Mr. Zwerner

could not attend our trial. While Mr. Poulos testified Mr. Zwerner believes Mr. Poulos’s

allegations, we assign this testimony little weight given Mr. Poulos’s credibility problems. 591 Mr.

Ralston still views his relationship with Mr. Zwerner as “very good.” If Mr. Zwerner believed the

allegations Mr. Ralston assaulted his cousin, we cannot imagine Mr. Ralston would maintain a

“very good” relationship with him. We cannot find Mr. Zwerner changed his opinion of Mr.

Ralston.

       Even if we assumed Mr. Zwerner’s opinion of Mr. Ralston changed, Mr. Ralston does not

meet his burden to show Attorney Garabedian caused this harm because Mr. Zwerner heard the

allegations from Mr. Poulos, not Attorney Garabedian. Attorney Garabedian is liable only for the

reputational harms caused by his “negligently published falsehood.” 592 Attorney Garabedian is

also liable for harms caused by “republication” of the falsehood if “the recipient was privileged to

repeat it, or if the repetition was authorized or intended by the original defamer, or if the repetition

was reasonably to be expected.” 593 But we heard no evidence Attorney Garabedian published the

2018 Letters to Mr. Zwerner either directly or foreseeably. The testimony suggests Mr. Zwerner

heard the allegations directly from Mr. Poulos, his cousin. 594 We find no nexus between Attorney

Garabedian sending the 2018 Letters to The Hill School and Mr. Zwerner hearing the allegations

from Mr. Poulos. Attorney Garabedian did not cause Mr. Zwerner’s opinion to change even

assuming his opinion did change. 595



                                                  79
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 80 of 123




                 v.   David Dougherty.

       We heard little evidence about Mr. Dougherty’s opinion of Mr. Ralston. We simply heard

Mr. Ralston called Mr. Dougherty, his former colleague, asking for advice. But Mr. Dougherty

could not speak to Mr. Ralston about the 2018 Letters because he could not discuss The Hill School

legal matters without Attorney Rees present. This evidence reveals nothing about Mr. Dougherty’s

views of Mr. Ralston; it simply shows Mr. Dougherty’s job obligations prevented him from

speaking to Mr. Ralston. We cannot infer reputational harm from Mr. Dougherty’s isolated

comment to Mr. Ralston.

                vi.   Chairman Preston Athey and Chairman Geoffrey Richards.

       Chairman Athey and Chairman Richards did not testify at trial. Mr. Ralston also did not

testify about their opinions at trial. Mr. Ralston cites his own deposition testimony in which Mr.

Ralston opined Chairman Athey and Chairman Richards acted differently toward Mr. Ralston

following the 2018 Letters. But this does not prove reputational harm for two reasons. First, Mr.

Ralston cannot designate his own deposition testimony as substantive evidence because it is

inadmissible hearsay subject to no exception for using depositions in court proceedings under Rule

32(a). 596 Second, even assuming Mr. Ralston could offer the deposition testimony, it does not show

Chairman Athey or Chairman Richards changed their views of Mr. Ralston because—once

again—Mr. Ralston swore these men disbelieved the allegations. 597

               vii.   Vice Chairwoman Michelle Gyves, Vice Chairman Andrew Soussloff,
                      and Chief Financial Officer Richard Wood.

       Perhaps recognizing the absence of evidence showing reputational harm, Mr. Ralston asks

us to infer reputational harm. He argues three Hill School board members—Vice Chairwoman

Gyves, Vice Chairman Andrew Soussloff, and Chief Financial Officer Wood—must have changed

their opinions of Mr. Ralston. Mr. Ralston argues we should infer these board members’ opinions


                                                80
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 81 of 123




of Mr. Ralston changed because the board members had no “reason to disbelieve” the 2018

Letters. 598 We disagree.

       Mr. Ralston asks us to infer reputational harm based on Judge Yohn’s well-reasoned but

distinguishable analysis in Sprague v. American Bar Ass’n. 599 In Sprague, a “prominent

Philadelphia attorney” sued the American Bar Association Journal—a periodical—and a Journal

reporter after they reported the attorney achieved legal success by “fix[ing]” cases. 600 The

periodical and reporter sought summary judgment arguing the attorney failed to adduce evidence

of reputational harm because “numerous witnesses presented by plaintiff concede[d] that their

estimations of plaintiff did not falter as a result of the article.” 601 Judge Yohn denied summary

judgment because the evidence of disbelief permitted “highly contested inferences.” 602 Judge

Yohn reasoned the witnesses only disbelieved the defamation because they personally knew

plaintiff and knew he would not fix cases. 603 But others having “no reason to disbelieve” the article

might have believed it, causing plaintiff reputational harm. 604 And because the defamation

appeared in a journal which circulated to 400,000 readers, Judge Yohn found the jury could infer

at least one person who read the defamation had no reason to disbelieve it. 605

       Judge Yohn’s reasoning does not apply today because Vice Chairwoman Gyves, Vice

Chairman Andrew Soussloff, and Chief Financial Officer Wood had ample “reason to disbelieve”

the 2018 Letters. The three board members owed a fiduciary obligation to inform themselves about

the merits of the 2018 Letters. These three board members worked in The Hill School community

where no one appeared to believe the allegations. Their other three board colleagues—Headmaster

Lehman, Chairman Athey, and Chairman Richards—disbelieved the allegations. Attorney

Garabedian ignored Attorney Rees’s invitations to investigate the claim, giving the three board

members nothing to substantiate Attorney Garabedian’s allegations. Mr. Ralston’s sterling



                                                 81
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 82 of 123




reputation in The Hill School community makes it more likely the three board members

disbelieved the allegations like their colleagues.

       Had the board members believed the claims, we expect we would have heard some

evidence about it. The board members’ fiduciary obligation to The Hill School would have

motivated some action had they believed the allegations. But we heard no evidence they took such

action, which is telling. The board members never asked Mr. Ralston about the allegations. The

Hill School—through its board—took no adverse employment actions against Mr. Ralston because

of the 2018 Letters. The Hill School, presumably with Board approval, instead raised Mr. Ralston’s

salary and issued positive performance reviews. We cannot infer The Hill School board members

believed the allegations when the evidence suggests only otherwise.

       This case is also distinguishable from Judge Yohn’s analysis in Sprague because Attorney

Garabedian published the allegations to a far lesser number of persons. In Sprague, Judge Yohn

identified a compelling inference of reputational harm because the defendants published the

defamation in a journal with 400,000 readers. Many of these readers likely knew nothing about

the attorney before reading the article, giving them no reason to disbelieve it. But here, we know

exactly who read the 2018 Letters. Attorney Garabedian privately published the 2018 Letters. He

published the letters only to Headmaster Lehman and Attorney Rees, who then shared the letters

only with those people necessary to investigate the claims. Those people did not believe the

allegations. Nor did Mr. Ralston’s friends, family, and colleagues. Mr. Ralston identified no one

else who read the 2018 Letters. We cannot infer someone who did not know Mr. Ralston came

upon the allegations because they were not published to a wide audience (at least until Mr. Ralston

chose to bring these allegations into a public forum).




                                                 82
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 83 of 123




       We do not mean to belittle Mr. Ralston’s mental anguish. But Mr. Ralston’s emotional

harms are not compensable without reputational injury or actual malice. Defamation is “the tort of

detracting from a person’s reputation.” 606 The “primary purpose” of an action for defamation is

to “vindicat[e]” a plaintiff’s “good name” and “to restore [the plaintiff’s] unjustly tarnished

reputation.” 607 Mr. Ralston does not show a tarnished reputation, which is the “prerequisite to the

recovery of damages for other actual injuries.” 608 The evidence persuades us Mr. Ralston enjoyed

such sterling character in The Hill School community that the allegations did not dent his

reputation. We cannot award Mr. Ralston damages from Attorney Garabedian.

   C. Mr. Ralston has shown a basis for presumed damages from Mr. Poulos.

       We now turn to our conclusions of law particular to Mr. Ralston’s defamation claim against

the pro se Mr. Poulos. We reach five conclusions: (1) Mr. Poulos published false allegations to

Attorney Garabedian and authorized Attorney Garabedian’s republications of the allegations in the

2018 Letters; (2) Mr. Poulos’s publication caused Mr. Ralston special harm; (3) the judicial

privilege does not protect Mr. Poulos’s publication to Attorney Garabedian; (4) Mr. Poulos abused

any conditional privileges which might attach to his publication because he spoke with actual

malice; and (5) Mr. Ralston demonstrates $50,000 in presumed damages but no punitive damages

against Mr. Poulos.

       1. Mr. Poulos published false allegations to Attorney Garabedian and authorized
          Attorney Garabedian’s republications of the allegations in the 2018 Letters.

       Mr. Poulos argues he cannot be liable because he did not publish the 2018 Letters, Attorney

Garabedian did. 609 We disagree because Mr. Poulos published the defamatory words forming the

2018 Letters to Attorney Garabedian and authorized Attorney Garabedian’s republication of the

words to The Hill School.




                                                83
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 84 of 123




        As we described above, “[p]ublication of defamatory matter is the intentional or negligent

communication of such matter to one other than the person defamed.” 610 Mr. Poulos is liable for

harms caused by republication of the falsehood he published if “the recipient was privileged to

repeat it, or if the repetition was authorized or intended by the original defamer, or if the repetition

was reasonably to be expected.” 611 A defamer who “sets in motion” foreseeable harms cannot

“claim lack of causality because, after initiating the harm, he/she stands back and watches the

results of their duplicity.” 612

        Mr. Poulos published the 2018 Letters because he published false allegations of sexual

assault to Attorney Garabedian, then authorized Attorney Garabedian to republish those

allegations to The Hill School. Mr. Poulos retained Attorney Garabedian for the specific purpose

of Attorney Garabedian publishing his allegations to The Hill School. Mr. Poulos contacted

Attorney Garabedian in response to Headmaster Lehman’s 2017 letter soliciting feedback from

the Hill School community about sexual assault. Mr. Poulos hoped Attorney Garabedian would

respond to the 2017 letter by republishing his allegations of assault. Mr. Poulos contacted Attorney

Garabedian hoping he could recover his tuition from The Hill School and receive counseling. His

conduct required Attorney Garabedian to republish Mr. Poulos’s allegations.

        Mr. Poulos argues he never intended to demand $1,000,000 from The Hill School and never

read the 2018 Letters before their publication. But this simply shows Mr. Poulos quibbled with the

way Attorney Garabedian republished his allegations; it does not change the fact Mr. Poulos

authorized Attorney Garabedian to republish his defamatory allegations. Mr. Poulos retained

Attorney Garabedian to remedy “[i]njuries caused by Matthew Ralston . . . and the Hill School.” 613

Mr. Poulos agreed Attorney Garabedian would recover a contingency fee upon “the recovery of

damages” for Mr. Ralston’s and The Hill School’s actions. 614 Mr. Poulos swore he retained



                                                  84
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 85 of 123




Attorney Garabedian for the specific purpose of publishing allegations Mr. Ralston abused him to

The Hill School. Mr. Poulos authorized Attorney Garabedian’s republication of his allegations

through the 2018 Letters, making Mr. Poulos liable for harms caused by the 2018 Letters.

       2. Mr. Poulos’s publication caused Mr. Ralston special harm.

       Mr. Ralston must show Mr. Poulos’s publication caused him “special harm.” Special harm

simply means “general damages,” which are proven upon a showing of “actual harm.” 615 “Actual

harm includes impairment of reputation and standing in the community, personal humiliation, and

mental anguish and suffering.” 616

       Mr. Poulos’s publication of the 2018 Letters caused Mr. Ralston mental anguish and

humiliation. Mr. Ralston dedicated his life to education. He taught, coached, and led thousands of

students. He convincingly testified about the satisfaction he received from his fulfilling

accomplishments working with students and their families. So Mr. Ralston credibly viewed the

2018 Letters’ allegations as the most “heinous offense” of which anyone could accuse him. Mr.

Ralston thought about the letters every day, wondering who might have seen them. He struggled

to perform his duties as a capital giving officer because he worried the alumni with whom he spoke

had seen the letters. He regularly checked with Attorney Rees for updates on the case. He contacted

family and friends, hoping to obtain their validation they did not believe the allegations. Mr.

Ralston felt humiliated when Headmaster Lehman told him not to find himself alone with children.

Mr. Poulos caused Mr. Ralston actual harm.

       3. The judicial privilege does not protect Mr. Poulos’s publication to Attorney
          Garabedian.

       Mr. Poulos does not invoke the judicial privilege. This alone suffices to find the judicial

privilege does not apply because it is it the defendant’s burden to prove privilege. 617




                                                 85
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 86 of 123




       Given the importance of the judicial privilege to this litigation, however, we note Mr.

Poulos would not enjoy the judicial privilege even had he invoked it. As we found in our December

23, 2021 Memorandum, the judicial privilege operates similarly for both attorneys and their

clients; 618 Mr. Poulos needed to seriously consider a judicial or quasi-judicial proceeding for the

privilege to apply.

       Mr. Poulos never considered a judicial or quasi-judicial proceeding. When Mr. Poulos

contacted Attorney Garabedian, he did not plan to “take legal action” against Mr. Ralston because

“[t]here was no point in thinking about something that has an undetermined date.” Mr. Poulos

knew the statute of limitations had expired when he contacted Attorney Garabedian. He contacted

Attorney Garabedian simply to “be prepared” if the Pennsylvania legislature changed its statute of

limitations. The two did not discuss a lawsuit beyond affirming their knowledge the statute of

limitations had expired. Mr. Poulos agreed in writing with Attorney Garabedian no lawsuit would

be filed. Mr. Poulos identified no quasi-judicial proceeding he hoped to initiate; at most, he hoped

for a private investigation of Mr. Ralston. The judicial privilege does not protect Mr. Poulos’s

publications to Attorney Garabedian and his authorized republications.

       4. Mr. Poulos abused any conditional privileges which might attach to his
          publication because he spoke with actual malice.

       We liberally construe Mr. Poulos’s pro se arguments. 619 He appears to invoke a conditional

privilege based on good-faith reporting of abuse. We find several conditional privileges attach to

Mr. Poulos’s publication to Attorney Garabedian. But we find clear and convincing evidence Mr.

Poulos abused the conditional privileges by speaking with actual malice.

       “[A] publisher of defamatory matter is not liable if the publication was made subject to a

privilege, and the privilege was not abused.” 620 One such privilege is the conditional privilege. “A

conditional privilege is one of the methods utilized by the common law for balancing the interest


                                                 86
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 87 of 123




of the defamed person in the protection of his reputation against the interests of the publisher, of

third persons and of the public in having the publication take place.” 621 The conditional privilege

protects statements “made on a proper occasion, from a proper motive, in a proper manner, and

based upon reasonable cause.” 622 Some examples are: “(1) when some interest of the publisher of

the defamatory matter is involved; (2) when some interest of the recipient of the matter, or a third

party is involved; or (3) when a recognized interest of the public is involved.” 623 It is the

defendant’s burden to show a conditional privilege attaches. 624

       If the defendant shows conditional privilege, the plaintiff “must establish that the defendant

abused that conditional privilege.” 625 A defendant abuses a conditional privilege when the

publication:

       (1) is actuated by malice or negligence;

       (2) is made for a purpose other than that for which the privilege is given;

       (3) is made to a person not reasonably believed to be necessary for the
           accomplishment of the purpose of the privilege; or

       (4) includes defamatory matter not reasonably believed to be necessary for the
           accomplishment of the purpose. 626

       We identify at least two conditional privileges attaching to Mr. Poulos’s publication. First,

the 2018 Letters related to a public concern: sexual abuse at The Hill School. The public maintains

a strong interest in allowing abuse victims to report their allegations of abuse. The public’s interest

in knowing whether educators sexually abuse children is weighty. Second, the recipients of the

2018 Letters had interests in the 2018 Letters’ subject matter. Headmaster Lehman notified The

Hill School community of historical allegations of sexual abuse at The Hill School and invited

comments from the community. Mr. Poulos responded by authorizing Attorney Garabedian to send




                                                  87
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 88 of 123




the April 11 Letter. Attorney Rees later requested Attorney Garabedian provide more details about

the alleged abuse. Mr. Poulos authorized the December 26 Letter to provide these details.

       But Mr. Poulos abused any conditional privileges attaching to his conduct by speaking with

actual malice. As we discussed, “[a]ctual malice exists where a statement [is] made with either:

(1) knowledge of its falsity; or (2) reckless disregard to its truth or falsity.” 627 The plaintiff must

prove actual malice by “clear and convincing evidence.” 628

       We find clear and convincing evidence Mr. Poulos spoke with actual malice because he

knew the falsity of his allegations. This finding of falsity flows from our findings Mr. Poulos

fabricated the abuse allegations. We heard overwhelmingly clear and convincing evidence Mr.

Ralston did not abuse Mr. Poulos. Mr. Poulos maintained his lies throughout the litigation. We

heard no evidence permitting us to find Mr. Poulos somehow did not know he fabricated the

allegations despite speaking them. The clear falsity of Mr. Poulos’s allegations compels a finding

Mr. Poulos knew the falsity of his allegations. Mr. Poulos acted with actual malice and his conduct

is unprivileged.

       5. Mr. Ralston demonstrates $50,000 in presumed damages but no basis to award
          punitive damages against Mr. Poulos.

       Our finding Mr. Poulos acted with actual malice entitles Mr. Ralston to punitive and

presumed damages from Mr. Poulos. Mr. Ralston demonstrates $50,000 in presumed damages.

We decline to award Mr. Ralston punitive damages.

           a. Mr. Ralston demonstrates $50,000 in presumed damages from Mr. Poulos.

       Presumed damages are a form of compensatory damages in defamation actions. 629

Presumed damages are the damages we “expect[]” the defamation would cause. 630 “Presumed

damages allow a defamation plaintiff to recover compensatory damages without proving the

defamatory statement caused actual harm.” 631


                                                  88
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 89 of 123




       Because presumed damages do not require proof of harm, they are notoriously difficult to

measure. 632 Presumed damages are an “oddity of tort law” permitting “recovery of purportedly

compensatory damages without evidence of actual loss.” 633 The proper damages amount is simply

“referred to the sound discretion of the” factfinder. 634 The factfinder assumes “the awkward

position of awarding damages without any criteria with which to measure harm.” 635

       Applying our discretion in this “awkward position,” we will award Mr. Ralston presumed

damages reflecting harms he suffered for the mental anguish and humiliation the 2018 Letters

caused. Presumed damages permit awards of damages one might expect the defamation would

cause. We could expect the 2018 Letters to cause Mr. Ralston reputational harm, mental anguish,

and job loss. But as we described above, the 2018 Letters only caused Mr. Ralston’s mental

anguish; they caused no reputational harm or job loss. We are uncomfortable awarding

compensatory damages to compensate Mr. Ralston for harms we know he did not suffer. “Juries

usually are instructed that their awards of presumed damages must be commensurate with the

actual injuries sustained.” 636 So we exercise discretion to limit Mr. Ralston’s presumed damages

to the mental anguish and humiliation he suffered. 637

       But “putting a price tag on” Mr. Ralston’s “pain and suffering is challenging.” 638 Emotional

injury “does not readily translate into dollar amounts.” 639 And “few truly comparable cases can be

found” given the uniqueness of each plaintiff’s emotional harms. 640

       Mr. Ralston undoubtedly suffered mental anguish as a teacher, mentor, father, and husband

as we detailed in describing Mr. Ralston’s special harm. But he did not require medical treatment.

He did not receive medications. He received some counseling. The mental anguish also led to an

improved diet, regular exercise, better sleep habits, and beginning a meditating practice.




                                                89
       Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 90 of 123




        We are again partially guided by Judge Spector’s analysis of similar facts in Powell as to

damages. Judge Spector awarded $40,000 in emotional distress to the father based on the

investigator’s public allegations he physically and sexually abused his daughters. 641 The father

testified he experienced “headaches, sleeplessness[,] and loss of appetite.” 642 He felt “sick to his

stomach,” he “gain[ed] and los[t] weight,” and lost “memory and cognitive functioning.” 643 The

allegations “impacted his social relationships” and caused him “social anxiety.” 644 Judge Spector

characterized the father’s emotional distress as “garden variety” because he did not present medical

evidence establishing the distress. 645 Judge Spector awarded $40,000 to compensate the father for

his mental anguish.

        Judge Spector’s $40,000 award comports with our instincts regarding Mr. Ralston’s

presumed damages. We exercise our discretion to increase the figure to $50,000. Our evaluation

of Mr. Ralston’s demeanor and credibility, plus the present value of damages, 646 persuades us the

higher figure is necessary. We find $50,000 in presumed damages is warranted.

              b. Mr. Ralston did not demonstrate a basis for punitive damages.

        Punitive damages in defamation cases “are private fines levied by civil juries to punish

reprehensible conduct and to deter its future occurrence.” 647 Punitive damages exist “not to

compensate the plaintiff, but rather to impress upon the defendant the gravity of the wrong

committed.” 648 Punitive damages “serv[e] the dual function of penalizing past conduct constituting

an aggravated violation of another’s interests, and of deterring such behavior in the future.” 649

“Punitive damages are not a matter of right, but may be granted in the sound discretion of the

court.” 650

        We decline to award Mr. Ralston punitive damages against Mr. Poulos because Mr. Poulos

suffered enough punishment. Mr. Poulos suffered trauma in his life as abundantly evident to us

and confirmed by Dr. Fetterolf’s evaluation. We believed Mr. Poulos when he testified how
                                                 90
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 91 of 123




uncomfortable he felt testifying in front of “a bunch of strangers” about the purported sexual abuse.

He cried twice during his testimony. He endured a pointed interrogation from Attorney

Garabedian’s counsel about the specifics of the abuse; he could not answer counsel’s questions.

Our extensive findings today about Mr. Poulos’s incredibility and our award of presumed damages

suffice to deter lying about abuse; anything more would be gratuitous and there is no further need

to deter Mr. Poulos from continuing this accusation.

                                   V.     CONCLUSION

       Matthew Ralston adduced evidence through the crucible of trial demonstrating Kurtis

Poulos defamed him by lying about sexual abuse in the geometry classroom from 1993 to 1995.

Mr. Poulos’s statements to Attorney Garabedian, given their manifest falsity, are a result of actual

malice. Mr. Ralston is entitled to a measure of considered damages based on his emotional distress

from Mr. Poulos’s estate should one ever be formed.

       But Mr. Ralston is not entitled to damages from Attorney Garabedian because no one

believed Attorney Garabedian and there is no clear and convincing evidence Attorney Garabedian

published Mr. Poulos’s lies with actual malice.

       The late Mr. Poulos published these lies to Attorney Garabedian and his law firm. Attorney

Garabedian and his associates engaged in marginal investigation and relied upon Attorney

Garabedian’s touted experience in representing victims of sexual abuse to justify their financial

reasons to believe Mr. Poulos even though they never met Mr. Poulos or engaged in the level of

diligence we expect from counsel accusing a teacher of the most heinous of conduct towards their

students. Attorney Garabedian published defamatory statements in letters written to Mr. Ralston’s

employer knowing he already agreed with Mr. Poulos and his mother not to bring a lawsuit against




                                                  91
      Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 92 of 123




anyone given the statute of limitations barred such claims. Attorney Garabedian’s demand letter

seeking $1,000,000 including these defamatory statements do not warrant a judicial privilege.

       But no one believed Attorney Garabedian. Mr. Ralston did not suffer a loss in reputation

or income. Mr. Ralston could not show reputational harm. And Mr. Ralston also could not adduce

clear and convincing evidence Attorney Garabedian, while not protected by the judicial privilege,

published his letter with actual malice as today required by the Supreme Court consistent with the

present interpretation of the First Amendment. Mr. Ralston is not entitled to damages from

Attorney Garabedian.


1
  Former Hill School teacher and administrator Matthew Ralston sued his former mid-1990’s
geometry student Kurtis N. Poulos and Mr. Poulos’s lawyer Mitchell Garabedian in April 2019
shortly after The Hill School told Mr. Ralston the suit would result in the loss of his job with
alumni at The Hill School. Then in his early forties, Mr. Poulos of Wisconsin chose to defend Mr.
Ralston’s claims without counsel explaining he could not afford representation.

Judge DuBois ably managed the litigation until his retirement last fall. The Clerk of Court
randomly reassigned the case to our docket. We conferred with Mr. Poulos and counsel to promptly
conclude discovery, set dispositive motion deadlines, and schedule the jury trial to begin January
10, 2022. ECF Doc. No. 143. But the spread of the Omicron variant of COVID-19 caused our
Court to suspend jury trials in January 2022. The parties consented to a bench trial. See ECF Doc.
Nos. 251–52.

We held a bench trial from January 11, 2022 through January 20, 2022. The parties agreed to
present certain witnesses in-person and others by video live feed. Plaintiff Matthew Ralston and
witnesses Barbara Ziv, M.D.; Mark Ralston; Christopher Hopkins; Andrew Verzilli; and Clifford
Haines, Esquire testified in-person. Defendants Mitchell Garabedian and Kurtis Poulos, and
witnesses Thomas Rees, Esquire; Frank Chirieleison; Leslie Gomez, Esquire; Daniel Mahoney,
Esquire; Nathan Gaul, Esquire; Frank Fettorolf M.D.; Mary Eilers; and Robert Tintner, Esquire
testified through video conference. The parties also designated extensive deposition testimony
from Mr. Poulos; Mr. Poulos’s mother Mary Ellen Poulos; Shanin Specter, Esquire; Charles Grade,
M.D.; Attorney Garabedian; Mr. Ralston; Zachary Brusko; and Benjamin Walborn.

The video conferencing worked seamlessly. The parties’ technology professionals allowed us to
view and hear the witnesses and judge witness credibility as though they sat in our courtroom. We
commend those handling technology for operating our unique Omicron trial. And we thank
counsel for their flexibility.

Counsel informed us Mr. Poulos passed in April 2022 after the parties filed extensive proposed
findings of fact and conclusions of law and a couple days before we intended to issue findings and

                                               92
         Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 93 of 123




conclusions. See ECF Doc. No. 407. We first elected to defer issuing today’s Memorandum with
Findings of Fact and Conclusions of Law until Mr. Ralston either dismissed his claims against the
late Mr. Poulos or someone substituted for Mr. Poulos acting pro se. See Ralston v. Garabedian,
No. 19-1539, --- F. Supp. 3d ----, 2022 WL 1524108, at *3 (May 13, 2022). We twice denied Mr.
Ralston’s motions to substitute; first because he did not adduce evidence supporting his proposed
substitute, then because he did not propose a proper substitute under Pennsylvania law. See ECF
Doc. Nos. 419, 434–35. We then decided to issue our findings of fact and conclusions of law to
end further delay for Mr. Ralston and Attorney Garabedian. ECF Doc. No. 434. We will continue
staying judgment relating to Mr. Ralston’s claims against Mr. Poulos until Mr. Ralston either
dismisses this claim or timely moves to substitute a personal representative for the deceased Kurtis
Poulos. We did not let Mr. Poulos’s regrettable passing after our trial affect our reasoning. We
judge the facts solely based on the evidence adduced at trial.
2
    Notes of Testimony (“N.T.”) Jan. 11, 2022 Bench Trial at 33:24–34:5; id. at 49:20–21.
3
    Id. at 33:7–10 (started in 1992); id. at 119:11–13 (left in 2009).
4
    See Ex. J-36.
5
    See Exs. J-51, 52, 54, 61, 62.
6
    See Ex. J-63.
7
    N.T. Jan. 12, 2022 Bench Trial at 193:20–194:6.
8
    N.T. Jan. 13, 2022 Bench Trial at 59:4–7.
9
    N.T. Jan. 12, 2022 Bench Trial at 217:3–10.
10
     N.T. Jan. 11, 2022 Bench Trial at 83:6–84:3.
11
     Id. at 164:15; id. at 165:1–3.
12
     Id. at 164:23–165:4.
13
     Id. at 165:13–14.
14
     Id. at 119:11–17.
15
     Id. at 128–33.
16
     Id. at 130:1–7.
17
     Id. at 133:16–19.
18
     Ex. J-161 at 1903.
19
     N.T. Jan. 13, 2022 Bench Trial at 278:8–14.

                                                    93
         Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 94 of 123




20
     Ex. J-161 at 1903; N.T. Jan. 11, 2022 Bench Trial at 47:12–15.
21
     N.T. Jan. 13, 2022 Bench Trial at 215:19–25.
22
     Id. at 215:19–25.
23
     Ex. J-161 at 1903.
24
   Id.; see Ex. J-320 (Mary Ellen Poulos Dep.) at 98:21–99:3 (Mr. Poulos requested to transfer
back to The Hill School). We cite deposition transcripts by citing the page number of the transcript
itself, not the pagination assigned by CM/ECF.
25
     N.T. Jan. 13, 2022 Bench Trial at 229:12–13.
26
     Ex. J-320 at 5:12–13.
27
     Id. at 6:14–7:23.
28
     N.T. Jan. 13, 2022 Bench Trial at 230:19–23; see also Ex. J-320 at 105:2–12.
29
     N.T. Jan. 13, 2022 Bench Trial at 230:19–23.
30
     Ex. J-320 at 30:1–7; N.T. Jan. 13, 2022 Bench Trial at 230:20–231:8.
31
     Ex. J-320 at 49:21–50:1.
32
     Id. at 49:21–50:1.
33
     Id. at 33:17–34:8; id. at 105:6–15.
34
     Id. at 79:23.
35
     Id. at 206:3–11.
36
     Id. at 29:12.
37
     Id. at 78:2–8.
38
     Id. at 29:12–18.
39
     Id. at 33:17–34:23.
40
     Id. at 105:17–22.
41
     Id. at 33:17–34:23.
42
     Id. at 41:24–42:3.
43
     Id. at 135:17–23.
                                                 94
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 95 of 123




44
     Id. at 47:14–20.
45
     Id. at 213:6–10.
46
  Id. at 29:5–9 (Mrs. Poulos swearing Mr. Poulos told her about the assault “a few months before”
his alcohol poisoning).
47
     Id. at 27:13–16 (Mrs. Poulos swearing her son suffered from “acute alcohol poisoning”).
48
  Ex. J-321-A at 91:25–92:4 (Mr. Poulos swearing he “drank [him]self into a coma trying to deal
with the trauma of what happened at that school” around “2015, 2014”).
49
   Ex. J-320 at 26:6–27:19 (Mrs. Poulos’s deposition testimony regarding Mr. Poulos’s hospital
stay).
50
     Ex. J-71.
51
     Id..
52
     Ex. J-320 at 39:4–10.
53
     Id. at 130:8–21.
54
     Id.
55
     Id. at 126:24–127:1.
56
     Id. at 127:14–20.
57
  Id. at 20:25–21:11 (details of interaction); id. at 213:24–25 (recalling why she queried Mr.
Poulos’s geometry teacher).
58
     Id. at 21:3–6.
59
     Id. at 51:3–8.
60
     Id. at 143:20–21.
61
     Id. at 143:20–144:2.
62
     Id. at 214:12–16.
63
     Id. at 143:20–144:2.
64
     Id. at 43:2–9.
65
     Id. at 43:9.
66
     Id. at 39:21–40:3; id. at 109:4–6.
                                                 95
           Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 96 of 123




67
     Id. at 156:21–157:13.
68
     Id. at 66:13–20; id. at 67:6–13.
69
     Ex. J-74.
70
     Id.
71
     Id.
72
     N.T. Jan. 13, 2022 Bench Trial at 135:19–25.
73
     Ex. J-74.
74
     Id.
75
     Id.
76
     N.T. Jan. 13, 2022 Bench Trial at 308:1–12.
77
     Id. at 308:23–309:4; Ex. J-320 at 45:20–23.
78
     Ex. J-320 at 171:8–13.
79
     Id. at 44:25–45:6; N.T. Jan. 18, 2022 Bench Trial at 198:2–14.
80
     See, e.g., N.T. Jan. 11, 2022 Bench Trial at 282:22–283:5.
81
     N.T. Jan. 18, 2022 Bench Trial at 208:3–11.
82
     Ex. J-320 at 45:24–46:5.
83
     Id.
84
     Id. at 52:4–7.
85
     Id. at 146:14–16.
86
     Id. at 168:21–170:10.
87
     Id.
88
     Ex. J-321-E (Kurtis Poulos May 27, 2021 Dep.) at 86:15–18.
89
     N.T. Jan. 13, 2022 Bench Trial at 199:7–9; N.T. Jan. 18, 2022 Bench Trial at 263:2–24.
90
     Ex. J-86; N.T. Jan. 18, 2022 Bench Trial at 225:21–23.
91
     N.T. Jan. 18, 2022 Bench Trial at 228:20–229:10.

                                                   96
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 97 of 123




92
     Id.
93
     See id. at 223:21–24; id. at 231:22–232:1.
94
     Id. at 229:1–3.
95
     Id. at 232:12–19.
96
     Ex. J-87; N.T. Jan. 14, 2022 Bench Trial at 84:18–25.
97
     N.T. Jan. 18, 2022 Bench Trial at 239:5–23.
98
     Id. at 239:15–240:3.
99
     Id. at 240:25–241:20.
100
      Id. at 241:12–16.
101
      Id. at 241:5–8.
102
   Ex. J-87. Attorney Mahoney testified and confirmed Ex. J-87 reflects the contents of the intake
interview. See N.T. Jan. 14, 2022 Bench Trial at 90:22–123:17.
103
      Ex. J-87 at 35; N.T. Jan. 14, 2022 Bench Trial at 97:8–12.
104
      Ex. J-87 at 35; N.T. Jan. 14, 2022 Bench Trial at 98:17–99:4.
105
      Ex. J-87 at 35.
106
      Id. at 36.
107
      Id. at 37–38.
108
      See generally id. (corroborated during testimony of Attorney Mahoney).
109
      Id. at 34.
110
      Id.
111
      Id. at 39.
112
      Id.
113
      See, e.g., N.T. Jan. 18, 2022 Bench Trial at 213:24–214:1.
114
      N.T. Jan. 19, 2022 Bench Trial at 57:19–22.
115
      N.T. Jan. 18, 2022 Bench Trial at 215:1–2.
116
      Id. at 247:11–19.
                                                    97
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 98 of 123




117
      Ex. J-87 at 33.
118
   N.T. Jan. 18, 2022 Bench Trial at 219:17–24 (call occurred on December 13, 2017 despite date
of Ex. J-87 reading “12/12/17”).
119
      Id. at 220:6–15.
120
      N.T. Jan. 14, 2022 Bench Trial at 92:1–9.
121
      N.T. Jan. 18, 2022 Bench Trial at 243:17–244:1.
122
      Id. at 221:1–3.
123
      Id. at 248:16–21.
124
      Id.
125
      Id. at 229:1–3; N.T. Jan. 13, 2022 Bench Trial at 198:16–18.
126
      N.T. Jan. 13, 2022 Bench Trial at 252:20–254:9.
127
      Id.
128
      Id. at 252:17–20.
129
   Id. at 268:2–13. It is possible Mr. Poulos spoke to Attorney Anderson with Mrs. Poulos, but the
testimony on this point is unclear.
130
      See, e.g., Ex. J-321-E at 58:5–18.
131
      Id. at 50:20–51:8.
132
      Id. at 51:2–8.
133
      Id.
134
   Ex. J-321-A at 136:5–13 (asking Mr. Poulos whether he wanted “The Hill School to learn” Mr.
Ralston abused him; Mr. Poulos answering, “Through proper legal counsel.”); id. at 137:12–15
(Mr. Poulos swearing he wanted The Hill School to learn his allegations through Attorney
Garabedian); id. at 139:19–140:4 (Mr. Poulos testifying he wished to inform The Hill School about
the specific details of how Mr. Ralston abused him).
135
      ECF Doc. No. 388 at 145:18–24.
136
      Ex. J-103.
137
      Id.
138
      Id.
                                                  98
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 99 of 123




139
      Id.
140
      Id.
141
   See N.T. Jan. 18, 2022 Bench Trial at 73:13–18; Ex. J-166 (Garabedian file containing materials
about Mr. Ralston).
142
      N.T. Jan. 18, 2022 Bench Trial at 27:13–19.
143
      Ex. J-93.
144
      Ex. J-161 at 1903.
145
      Id.
146
      Id.
147
    Ex. J-87 (disclosing arrests); Ex. J-318 (Mitchell Garabedian June 24, 2021 Dep.) at 175:9–13
(Attorney Garabedian swearing at deposition he did not obtain Mr. Poulos’s criminal records until
this lawsuit); Ex. J-166 (absence of criminal records from Attorney Garabedian’s file on Mr.
Poulos’s matter).
148
    Ex. J-87 at 33 (disclosing psychological treatment); Ex. J-318 at 177:14–22 (Attorney
Garabedian swearing at deposition he did not ask for Mr. Poulos’s release for his medical records
until May 2019); Ex. J-166 (absence of medical records from Attorney Garabedian’s file on Mr.
Poulos’s matter).
149
  See Ex. J-166 (absence of The Hill School file from Attorney Garabedian’s file on Mr. Poulos’s
matter).
150
      Ex. J-81.
151
      Id.
152
      Id.
153
      Id.
154
      Id.
155
      Id.
156
      See N.T. Jan. 13, 2022 Bench Trial at 234:2–13.
157
      Ex. J-318 at 53:7–16.
158
      N.T. Jan. 13, 2022 Bench Trial at 234:6–9.
159
      Id. at 234:2–5.
                                                    99
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 100 of 123




160
   N.T. Jan. 11, 2022 Bench Trial at 134:9–18 (Mr. Ralston describing Headmaster Lehman
reading the letter).
161
      N.T. Jan. 13, 2022 Bench Trial at 16:22–25:5; id. at 99:14–100:10.
162
      Id. at 19:11–20; 20:10–14.
163
      Id. at 19:11–20.
164
      Id. at 22:15–19.
165
      Id. at 19:21–20:1.
166
      Id. at 22:15–19.
167
      N.T. Jan. 11, 2022 Bench Trial at 133:25–134:8.
168
      Id. at 134:9–14.
169
      Id. at 134:15–18.
170
      Id. at 134:15–135:1.
171
      Id. at 135:11–15.
172
      Id. at 134:21–135:1.
173
      Id. at 135:16–25.
174
      Id. at 33:2–9.
175
      Id.
176
      See Ex. J-96.
177
      Id.
178
      Id.
179
      See Ex. J-102.
180
      Id.
181
      N.T. Jan. 19, 2022 Bench Trial at 65:15–24.
182
      N.T. Jan. 13, 2022 Bench Trial at 80:15–24.
183
      Id.
184
      Id. at 80:18–24.
                                                 100
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 101 of 123




185
      Ex. J-106.
186
      The record does not contain an email dated January 18 from Mrs. Poulos.
187
      Ex. J-106.
188
      Id.
189
      N.T. Jan. 13, 2022 Bench Trial at 233:9–12.
190
   See Ex. J-104. The date in the top-right corner of the notes reads “12/12/18,” but the phone call
occurred on December 18, 2018. See N.T. Jan. 18, 2022 Bench Trial at 158:5–14.
191
      See Ex. J-104.
192
      Id.
193
      Ex. J-107.
194
      Ex. J-108.
195
      Ex. J-109; N.T. Jan. 18, 2022 Bench Trial at 131:19–132:6.
196
      See Ex. J-109.
197
      See id.
198
      See Ex. J-110.
199
      See N.T. Jan. 13, 2022 Bench Trial at 23:5–14.
200
      See id.
201
      See id.
202
      Id. at 86:3–5.
203
      Id. at 23:18–24:1.
204
   N.T. Jan. 18, 2022 Bench Trial at 142:4–10; N.T. Jan. 19, 2022 Bench Trial at 75:9–13; Ex. J-
112.
205
      Ex. J-112.
206
      Id.
207
      Id.; N.T. Jan. 18, 2022 Bench Trial at 145:10–146:14.
208
      Ex. J-112.
                                                 101
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 102 of 123




209
      Id.
210
      N.T. Jan. 13, 2022 Bench Trial at 335:3–22.
211
      Ex. J-112.
212
      Id.
213
      N.T. Jan. 18, 2022 Bench Trial at 218:3–16.
214
      Id.
215
      Id.
216
      Ex. J-85; N.T. Jan. 18, 2022 Bench Trial at 149:1–9.
217
      See N.T. Jan. 18, 2022 Bench Trial at 150:10–16.
218
      Ex. J-85.
219
      Id.
220
      Id.
221
      Id.
222
      Id.
223
      N.T. Jan. 13, 2022 Bench Trial at 99:18–100:10.
224
      See Ex. J-128.
225
      N.T. Jan. 13, 2022 Bench Trial at 25:22–26:2; Ex. J-128.
226
      N.T. Jan. 18, 2022 Bench Trial at 150:18–151:5; Ex. J-118; Ex. 128.
227
      Ex. J-127.
228
      Ex. J-128.
229
      Id.
230
      Id.
231
      See Ex. J-130.
232
      Id.
233
      Id.

                                                 102
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 103 of 123




234
      Id.
235
      Ex. J-132.
236
      Id.
237
      Id.
238
      Ex. J-133.
239
      Id.
240
      See N.T. Jan. 18, 2022 Bench Trial at 192:12–21; Ex. J-133.
241
      Ex. J-133; N.T. Jan. 18, 2022 Bench Trial at 192:12–21.
242
      N.T. Jan. 11, 2022 Bench Trial at 144:17–22.
243
      Id. at 147:8–10.
244
      Id. at 147:13–149:8.
245
      Id. at 282:22–283:5.
246
      Id. at 192:17–193:15; id. at 282:22–283:5.
247
      Id. at 152:4–6
248
      Id. at 152:9–15.
249
      Id. at 278:13–279:8.
250
      N.T. Jan. 12, 2022 Bench Trial at 196:16–18.
251
      Id.
252
      Id. at 219:19–23.
253
      Id.
254
      Id. at 225:22–226:1.
255
      N.T. Jan. 11, 2022 Bench Trial at 153:8–9.
256
      Id. at 153:11–12.
257
      Id. at 153:20–23.
258
      Id. at 155:11–14.

                                                   103
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 104 of 123




259
      Id.
260
      Id. at 161:1–164:14.
261
      Id. at 145:23–147:6.
262
      Id. at 146:9–12.
263
      See Ex. J-84.
264
      N.T. Jan. 11, 2022 Bench Trial at 224:24–225:6.
265
      Id. at 225:7–16.
266
      Id. at 172:14–173:4.
267
      Id. at 172:23–24.
268
      Id. at 172:18–20.
269
      Id. at 189:5–7.
270
      Id. at 189:11–15.
271
      Id. at 191:5–9.
272
      Id. at 225:13–20.
273
      Id. at 196:14–197:4.
274
      N.T. Jan. 12, 2022 Bench Trial at 208:5–7.
275
      N.T. Jan. 11, 2022 Bench Trial at 213:6–14.
276
      Id. at 214:6–215:3.
277
      Id. at 223:10–13.
278
      N.T. Jan. 13, 2022 Bench Trial at 60:25–61:7.
279
      Ex. J-317 (Benjamin Walborn Dep.) at 18:10–12.
280
   ECF Doc. No. 290 (Zachary Brusko Dep.) at 23:1–3. The parties moved in designations and
counter-designations of Mr. Brusko at the close of Mr. Ralston’s case-in-chief. See N.T. Jan. 18,
2022 Bench Trial at 11–15.
281
      ECF Doc. No. 290 at 10:6–10.
282
      Id. at 51:10–23; 54:14–19.
                                                   104
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 105 of 123




283
      Id. at 56:2–20; 63:3–64:13.
284
      Id. at 58:2–14.
285
      Id. at 15–22.
286
      N.T. Jan. 13, 2022 Bench Trial at 74:10–13.
287
      N.T. Jan. 11, 2022 Bench Trial at 210:14–20.
288
      N.T. Jan. 13, 2022 Bench Trial at 74:21–24.
289
      Id.
290
      N.T. Jan. 11, 2022 Bench Trial at 149:19–23.
291
      ECF Doc. No. 372 (Matthew Ralston Sept. 20, 2021 Dep.) at 183:1–7.
292
      Id. at 185:3–12.
293
      Id. at 151:3–10.
294
   N.T. Jan. 11, 2022 Bench Trial at 150:7–151:6 (only disclosing Chairman Richards in response
to question whether Mr. Ralston knew any board members beside Chairman Athey).
295
      Id. at 167:4–5.
296
      Id. at 167:6–7.
297
      Id. at 228:1–11.
298
      Id. at 157:14–21.
299
      Id. at 158:17–20.
300
   Id. at 221:15–20; N.T. Jan. 13, 2022 Bench Trial at 91:25–92:2 (Attorney Rees asked Mr.
Ralston about the allegations’ truth).
301
      N.T. Jan. 11, 2022 Bench Trial at 278:13–279:3.
302
      Id.
303
   Id. at 155:24–156:6 (describing Mr. Richards’s role); N.T. Jan. 13, 2022 Bench Trial at 96:9–
13 (describing call).
304
      N.T. Jan. 13, 2022 Bench Trial at 96:14–95:1.
305
      Id. at 97:2–98:3.

                                                105
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 106 of 123




306
      Id. at 98:19–22.
307
      ECF Doc. No. 1.
308
      Id.
309
      Id. at 1.
310
      N.T. Jan. 11, 2022 Bench Trial at 216:14–23.
311
      Id.
312
      See ECF Doc. No. 28.
313
      N.T. Jan. 13, 2022 Bench Trial at 102:1–3.
314
      Id.
315
      See Ex. J-145.
316
      See id.
317
      N.T. Jan. 11, 2022 Bench Trial at 285:7–11.
318
      Id.
319
  See N.T. Jan. 11, 2022 Bench Trial at 223:20–23 (“Q: [Y]ou weren’t fired in reaction to the
December 26, 2018 letter, right? A: I was not fired then because of the letter, no.”).
320
   Id. at 51:7–15 (denoting building No. 20 on exhibit J-57 as Upper School East); Ex. J-57
(building No. 20 is Upper School East).
321
      Id. at 53:13–18.
322
      Id. at 54:25–55:18.
323
      Id.
324
      Id.
325
      Id. at 56:2–5.
326
      N.T. Jan. 13, 2022 Bench Trial at 184:7–13.
327
      Id. at 185:7–10.
328
   See id. at 190:6–9; see Ex. P16.72; Ex. J-171 at P16.72 (listing demerits from Mr. Poulos’s
sophomore year, but none listed about sports); Ex. J-171 at P16.93 (perfect score in attendance on
Mr. Poulos’s “Athletic Report”).
                                                   106
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 107 of 123




329
   See N.T. Jan. 11, 2022 Bench Trial at 246:9–16 (twenty minutes between end of geometry class
and the beginning of sports).
330
      N.T. Jan. 13, 2022 Bench Trial at 240:13–15.
331
      Id.
332
      Id. at 294:1–3; id. at 295:6–7.
333
      Id. at 302:10–13; id. at 316:9–15; id. at 318:24–25; id. at 321:14–20; id. at 321:24–322:11.
334
      N.T. Jan. 11, 2022 Bench Trial at 251:12–252:21.
335
      N.T. Jan. 13, 2022 Bench Trial at 249:2–9.
336
      Id. at 215:23–25.
337
      Id. at 244:13–15.
338
      Id. at 244:16–21.
339
      Id. at 244:22–245:1.
340
   Mr. Ralston sued Attorney Garabedian and The Law Offices Attorney Garabedian as separate
entities. See ECF Doc. No. 28 at 1. The parties do not dispute the Law Offices are liable for the
conduct of Attorney Garabedian. We refer to both defendants collectively as “Attorney
Garabedian.”
341
      ECF Doc. No. 28; ECF Doc. Nos. 402–03.
342
      ECF Doc. Nos. 401, 404.
343
      ECF Doc. No. 400.
344
      Id. ¶ 27 (arguing Mr. Poulos accused Mr. Ralston “in good faith”).
345
      Joseph v. Scranton Times L.P., 959 A.2d 322, 334 (Pa. Super. Ct. 2008).
346
      Id.
347
      42 Pa. Stat. and Cons. Stat. Ann. § 8343(a).
348
      Id. § 8343(b).
349
   See ECF Doc. No. 28 at 1 (introducing claims by arguing Attorney Garabedian and Mr. Poulos
published defamatory allegations “to Plaintiff’s supervisors and peers”); id. ¶¶ 47–70 (claiming
defamation against Attorney Garabedian for publishing the 2018 Letters); id. ¶¶ 78–93 (focusing
defamation claim against Mr. Poulos on statements in the 2018 Letters).

                                                     107
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 108 of 123




350
   Emekekwue v. Offor, 26 F. Supp. 3d 348, 359 (M.D. Pa. 2014) (alteration in original) (quoting
U.S. Healthcare v. Blue Cross of Greater Phila., 898 F.2d 914, 923 (3d Cir. 1990)).
351
      I.M. Wilson, Inc. v. Otvetstvennostyou “Grichko”, 500 F. Supp. 3d 380, 424 (E.D. Pa. 2020).
352
    Mallory v. S & S Publishers, 260 F. Supp. 3d 453, 465 (E.D. Pa. 2017), aff’d sub nom. Mallory
v. Simon & Schuster, Inc., 728 F. App’x 132 (3d Cir. 2018).
353
      See 18 Pa. Stat. and Cons. Stat. Ann. § 6318(a) (prohibiting sexual abuse of minors).
354
   See, e.g., Thompson v. Wagner, 631 F. Supp. 2d 664, 686 n.15 (W.D. Pa. 2008) (a
communication is “easily” defamatory when it “implicates the plaintiff in criminal activity”).
355
    It is unclear whether Attorney Garabedian and Mr. Poulos bear the burden to prove the
allegations’ truth or if Mr. Ralston bears the burden to prove the allegations’ falsity. The defamer
usually bears the burden to prove truth as an affirmative defense. See Emekekwue, 26 F. Supp. 3d
at 362 (citing 42 Pa. Con. Stat. § 8343(b)(1)) (“The burden is on the defendant to prove the truth
of the defamatory communication.”). The First Amendment requires the plaintiff to prove falsity
when the defamation relates to a matter of public concern and the plaintiff sues a media defendant.
See Phila. Newspapers, Inc. v. Hepps, 475 U.S. 767, 777 (1986) (“[T]he common-law presumption
that defamatory speech is false cannot stand when a plaintiff seeks damages against a media
defendant for speech of public concern.” (emphasis added)).

The speech here about child sexual abuse at a boarding school relates to a matter of public concern.
But Attorney Garabedian and Mr. Poulos are not media defendants. So the burden of proof is
unclear. See id. at 780 (Brennan, J., concurring) (noting the Court “reserve[d] the question whether
the rule it announce[d] [in Hepps] applies to nonmedia defendants”); see also Milkovich v. Lorain
Journal Co., 497 U.S. 1, 20 n.6 (1990) (“In Hepps the Court reserved judgment on cases involving
nonmedia defendants, and accordingly we do the same.” (internal citations omitted)). The
Pennsylvania Superior Court required the plaintiff to prove falsity in a case against a nonmedia
defendant, but the court did not acknowledge Hepps limited its holding to media defendants. See
Kuwait & Gulf Link Transp. Co. v. Doe, 216 A.3d 1074, 1089 n.4 (Pa. Super. Ct. 2019) (“Under
the First Amendment to the United States Constitution, a plaintiff asserting defamation concerning
a publication of a matter of ‘public concern’ bears the burden of proving that the publication was
false.” (citing Hepps, 475 U.S. at 776)). We need not resolve this question today because even
assuming Mr. Ralston must prove falsity, he overwhelmingly does so.
356
  Pacitti v. Durr, 310 F. App’x 526, 528 (3d Cir. 2009) (citing Bobb v. Kraybill, 511 A.2d 1379,
1380 (Pa. Super. Ct. 1986)).
357
      Id.
358
  Wallace v. Media News Grp., Inc., 568 F. App’x 121, 125 (3d Cir. 2014) (internal quotations
omitted).
359
      Emekekwue, 26 F. Supp. 3d at 362 (alteration in original).
360
      N.T. Jan. 13, 2022 Bench Trial at 292:13.
                                                  108
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 109 of 123




361
      Id. at 278:8–15; see also Ex. J-171 at P16.10.
362
      N.T. Jan. 13, 2022 Bench Trial at 164:15–17; id. at 288:2–4.
363
      Id. at 289:1–5.
364
      Id. at 168:2–5.
365
      Id. at 291:10–25.
366
      Id. at 297:5–12.
367
      Id. at 301:24–302:3.
368
      Id. at 292:4–6.
369
      Id. at 292:15–16.
370
      Id. at 294:1–6.
371
      Id.
372
      Id. at 294:23–25.
373
      Id. at 295:6–13.
374
      Id. at 184:7–13.
375
      Id. at 301:9–11.
376
      Id. at 323:18–22.
377
      Id. at 323:24–25.
378
      Id. at 294:1–3; id. at 295:6–7.
379
      Id. at 221:3–5.
380
      Id. at 240:18–25.
381
      Id. at 302:11–13.
382
      Id. at 318:24–319:6.
383
      Id. at 293:18–21.
384
      Id. at 245:2–14.
385
      Id. at 245:2–14

                                                  109
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 110 of 123




386
      Id. at 250:10.
387
      Id. at 335:13–22.
388
      Ex. J-96.
389
      Id.
390
      N.T. Jan. 13, 2022 Bench Trial at 335:13–22.
391
      Id.
392
      Id. at 271:3–13.
393
      Id. at 227:3–14.
394
      Id. at 230:20–23.
395
      Id. at 277:16–278:7.
396
      Id.
397
      Id. at 278:6.
398
      Id. at 278:8–14.
399
    3d Cir. Model Civ. Jury Instructions § 1.7. This model instruction contains two factors we need
not consider today. First, it directs juries to consider “the opportunity and ability of the witness to
see or hear or know the things the witness testifies to.” Id. This is the only factor which does not
harm Mr. Poulos’s credibility, as he possessed an excellent opportunity to “see or hear or know”
his story. His story, however, is false, so this factor is irrelevant. Second, the instruction allows
juries to consider “any other factors that bear on believability.” Id. We need not consider this catch-
all factor because the other five factors are sufficient to find Mr. Poulos unbelievable.
400
      See id. § 1.5.
401
      Id.
402
   See, e.g., N.T. Jan. 12, 2022 Bench Trial at 30:25–31:19 (Dr. Ziv testifying child abusers are
“worried” about getting caught, so abusers often “go out of their way to meet at times where
detection is likely not to occur”).
403
      See Ex. J-57.
404
      N.T. Jan. 13, 2022 Bench Trial at 312:21–24.
405
      Id. at 315:20–25.
406
      Id. at 333:7–9.
                                                 110
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 111 of 123




407
   Id. at 186:3–9; Ex. J-171 at P16.93 (perfect score in attendance on Mr. Poulos’s “Athletic
Report”).
408
      Ex. J-87.
409
      Ex. J-321-B (Kurtis Poulos Nov. 20, 2020 Dep.) at 406:23–408:4.
410
      N.T. Jan. 13, 2022 Bench Trial at 215:19–25.
411
      Id.
412
      Id. at 215:23–25.
413
      Id.
414
      Id. at 249:2–9.
415
      Id.
416
      Id. at 302:11–13.
417
      Id. at 213:12–16.
418
      Id.
419
      N.T. Jan. 12, 2022 Bench Trial at 40:19.
420
      See Ex. J-87, Ex. J-112.
421
      N.T. Jan. 13, 2022 Bench Trial at 292:25–293:4.
422
      Id. at 335:3–4.
423
      Id. at 335:13–22.
424
      Id.
425
      N.T. Jan. 12, 2022 Bench Trial at 47:2–4.
426
   See, e.g., N.T. Jan. 13, 2022 Bench Trial at 177:10–16 (“Q: And then did you black out then?
A: No. I didn’t know what was going on. Q: Well, what went on? A: I know that after that, that he
started to sexually abuse me, Lane. Q: I’m asking about the first instance, Mr. Poulos. Okay? A:
And I just explained that to you.”); id. at 184:1–6 (“Q: Did you tell Mr. Garabedian anything else
other than [the abuse] all occurred in the geometry classroom when it was the last period of the
day? A: I can only tell you what I can recall. I can’t be specific about certain things I do not recall.
You asked me to be falsely testifying.”); id. at 191:10–14 (“Q: Well, what type of lawyer do you
think Mr. Garabedian is? A: Lane, you have to be more succinct with your verbiage. When you
speak about abuse, there’s two types of abuse.”); id. at 246:10–14 (“Q: Forgive me, Mr. Poulos, I
didn’t mean to interrupt you . . . Would you like to complete your answer? A: No. You never let
                                                  111
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 112 of 123




me do, so just go ahead.”); id. at 259:15–16 (“Q: Did he ask you whether or not—strike that. A:
Are you prepared for this?” By this, Mr. Poulos meant to ask Mr. Ralston’s counsel whether he
had prepared to examine Mr. Poulos.).
427
      N.T. Jan. 12, 2022 Bench Trial at 3:4–19.
428
      Id. at 4:9–25.
429
      Id. at 8:12–23.
430
      Id. at 2:20–10:13 (Dr. Ziv testifying to her qualifications).
431
    Ralston v. Garabedian, No. 19-1539, 2022 WL 19273, at *17 (E.D. Pa. Jan. 3, 2022). We
granted in part Attorney Garabedian’s Daubert Motion to exclude portions of Dr. Ziv’s testimony
in our January 3, 2022 Order. See id. at *11–17. We excluded portions of Dr. Ziv’s opinion in
which she simply opined as to whether Mr. Poulos lied because those opinions did not require
specialized knowledge, invaded the jury’s fact-finding role, and relied on inadmissible previous
bad acts. Id. at *14–16. We permitted Dr. Ziv to testify only as to those opinions requiring
specialized knowledge, like whether Mr. Poulos displayed studied behaviors of sexual abuse
survivors and whether Mr. Ralston displayed studied behaviors of sexual abuse perpetrators. Id. at
*16–17. We planned to hold a Daubert hearing to determine the scope of admissible opinions but
no longer needed a hearing after the parties consented to a bench trial.

Dr. Ziv complied with our January 3 Order at our bench trial. She provided competent opinions
based on her specialized knowledge and did not invade our fact-finding role. We found her
testimony helpful and credible. Litigants should not cite our January 3 findings concerning
opinions outside of her expertise as somehow impugning Dr. Ziv’s qualifications, which are
abundant.
432
      N.T. Jan. 12, 2022 Bench Trial at 23:16–17.
433
      Id. at 46:23–47:8.
434
      Id. at 47:6–8.
435
      Id. at 48:8–51:3.
436
      Id.
437
      Id.
438
      Id.
439
      Id. at 53:9–10.
440
      Id. at 51:6–14.
441
      Id. at 52:22–23; id. at 57:12–13.
                                                   112
        Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 113 of 123




442
      Id. at 61:18–25.
443
      Id. at 63:10–18.
444
   See, e.g., N.T. Jan. 13, 2022 Bench Trial at 316:11–15 (“Q: Tell me about the first time you
performed fellatio on Mr. Ralston. How did you get access to Mr. Ralston’s penis? A: I don’t
remember the specifics.”); id. at 326:8–10 (“Q: I want to know about a time when Mr. Ralston
sexually abused you. A: I don’t recall specifics.”); id. at 326:21–24 (“Q: So did you perform oral
sex on Mr. Ralston in both corners of the classroom? A: I don’t remember the specifics of what I
did or didn’t do.”).
445
  Id. at 302:10–13; id. at 316:9–15; id. at 318:24–25; id. at 321:14–20; id. at 321:24–322:11. Mr.
Poulos did claim Mr. Ralston ejaculated. See id. at 323:18–22.
446
      N.T. Jan. 12, 2022 Bench Trial at 53:9–10.
447
      N.T. Jan. 19, 2022 Bench Trial at 167:17–25.
448
      Id. at 173:4–8.
449
      Id. at 176:4–11.
450
   Id. at 209:1–3 (“I don’t have a lot of experience with nonpatient populations who experience
sexual assault and report it in their experience.”).
451
      N.T. Jan. 12, 2022 Bench Trial at 22:10–16.
452
      Id. at 26:8–11.
453
      Id. at 26:16–18.
454
      Id. at 28:6–14.
455
      Id. at 31:18–32:17.
456
      Id. at 26:20–21.
457
      Id. at 26:22–27:3.
458
      Id. at 27:4–28:14.
459
      Id. at 33:13–17.
460
      Id. at 27:4–28:14.
461
      Id. at 33:3–12.
462
      N.T. Jan. 13, 2022 Bench Trial at 244:13–15.

                                                   113
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 114 of 123




463
      Id. at 244:16–21.
464
      Id. at 244:22–245:1.
465
      N.T. Jan. 12, 2022 Bench Trial at 40:23–41:6; id. at 44:11–14.
466
      Id. at 41:2–4.
467
      ECF Doc. No. 400 ¶¶ 37, 42.
468
      N.T. Jan. 12, 2022 Bench Trial at 26:1 (describing “stranger assault”).
469
      Id. at 27:6–7.
470
      Id. at 44:17–45:8; see also id. at 33:1–2.
471
      See id. at 33:3–12 (explaining how groomed victims feel “responsibility” for their own assault).
472
      Id. at 45:20–46:8.
473
      Id. at 46:4–8.
474
      Chicarella v. Passant, 494 A.2d 1109, 1112 (Pa. Super. Ct. 1985)
475
      Restatement (Second) of Torts § 577 (1977).
476
   Bochetto v. Gibson, 860 A.2d 67, 71 (Pa. 2004) (emphases removed) (quoting Post v. Mendel,
507 A.2d 351, 355 (Pa. 1986)).
477
      Schanne v. Addis, 121 A.3d 942, 947 (Pa. 2015).
478
      Id. (quoting Pawlowski v. Smorto, 588 A.2d 36, 41 (Pa. Super. Ct. 1991)).
479
      Id. at 948.
480
      Id. at 947.
481
      Post, 507 A.2d at 355.
482
      Id.
483
      Schanne, 121 A.3d at 948.
484
      Id. at 950 (emphasis removed) (quoting Restatement (Second) of Torts § 588 cmt. e (1977)).
485
      Id. (quoting Restatement (Second) of Torts § 588 cmt. e (1977)).
486
      Id. at 949 (emphasis removed).


                                                   114
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 115 of 123




487
   Ralston v. Garabedian, --- F. Supp. 3d. ----, No. 19-1539, 2021 WL 6072881, at *7–13 (E.D.
Pa. Dec. 23, 2021) [hereinafter “Ralston I”].
488
   Weinik v. Temple Univ. of Commonwealth Sys. of Higher Educ., No. 20-2525, 2021 WL
5882039, at *1 (3d Cir. Dec. 13, 2021) (citing Schanne, 121 A.3d at 951).
489
   The statute of limitations effective during Attorney Garabedian and Mr. Poulos’s discussions
required Mr. Poulos to sue within twelve years of turning eighteen. See 42 Pa. Stat. and Cons. Stat.
Ann. § 5533(b)(2)(i) (effective through Nov. 25, 2019).
490
      Ralston I, 2021 WL 6072881, at *10.
491
    See id. at *8 (assuming Attorney Garabedian seriously considered litigation because he “needed
to research Mr. Poulos’s legal remedies to discover the statute of limitations expired”).
492
      See, e.g., N.T. Jan. 18, 2022 Bench Trial at 254:16–255:3.
493
      N.T. Jan. 13, 2022 Bench Trial at 254:4–7.
494
    See, e.g., N.T. Jan. 18, 2022 Bench Trial at 283:21–284:5; compare also 284:18–285:7
(Attorney Garabedian testifying after refreshing recollection), with Ex. J-109 (showing Attorney
Garabedian parroted his law firm’s notes).
495
      Ralston I, 2021 WL 6072881, at *10.
496
    We judicially noticed the existence of certain documents Attorney Garabedian submitted before
trial purporting to show his efforts to change the statute of limitations. See ECF Doc. No. 289 at
5–6. But we conditioned our consideration of the documents’ contents—as opposed to their mere
existence—on Attorney Garabedian establishing a foundation for the documents’ relevance at trial.
Id. at 8. But Attorney Garabedian made no effort to establish the documents’ relevance. His
counsel never presented him the documents and he never testified about them, let alone testified
about his purported discussions with Mr. Poulos related to the documents. We now discount as
irrelevant the documents which Attorney Garabedian asked us to judicially notice.
497
    Indeed, Pennsylvania’s statute of limitations governing sexual abuse claims now reads: “If an
individual entitled to bring a civil action arising from sexual abuse is under 18 years of age at the
time the cause of action accrues, the individual shall have a period of 37 years after attaining 18
years of age in which to commence an action for damages regardless of whether the individual
files a criminal complaint regarding the sexual abuse.” 42 Pa. Stat. and Cons. Stat. Ann. §
5533(b)(2)(i).
498
   Ralston I, 2021 WL 6072881, at *9 (quoting Edwards v. Centex Real Est. Corp., 61 Cal. Rptr.
2d 518, 531 (Cal. Ct. App. 1997)).
499
      Id.
500
      N.T. Jan. 19, 2022 Bench Trial at 65:21–66:4.

                                                   115
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 116 of 123




501
    See Ralston I, 2021 WL 6072881, at *11 (mediation is not a quasi-judicial proceeding because
it is a “private form of dispute resolution which does not involve administrative functions or
government bodies”).
502
  Greenberg v. McGraw, 161 A.3d 976, 983–84 (Pa. Super. Ct. 2017) (quoting Urbano v.
Meneses, 431 A.2d 308, 311 (Pa. Super. Ct. 1981)).
503
   See, e.g., Harris v. Saint Joseph’s Univ., No. 13-3937, 2014 WL 1910242, at *9 (E.D. Pa. May
13, 2014).
504
   See ECF Doc. No. 28 at 12 (“WHEREFORE, Plaintiff hereby demands damages from the
Garabedian Defendants.”).
505
    We found Mr. Ralston is a private figure in our December 23, 2021 Memorandum. See Ralston
I, 2021 WL 6072881, at *13–20. We found the subject matter of the 2018 Letters regarded a public
controversy of the extent of sexual abuse at The Hill School, but Mr. Ralston did not constitute a
limited-purpose public figure vis-à-vis the public controversy. Id. We heard no evidence
persuading us to change our view during trial.
506
      Joseph v. Scranton Times L.P., 129 A.3d 404, 432 (Pa. 2015).
507
   Id. at 431–32 (rejecting argument presumed and punitive damages “should be limited to those
for proven actual injury”).
508
   Id. at 429 (“[F]or purposes of a Pennsylvania defamation case, proof of actual injury to a private
plaintiff’s reputation is a prerequisite to the recovery of damages for other actual injuries, including
mental and emotional injuries.”).
509
      Id.
510
      129 A.3d 404.
511
      Id. at 426 (emphasis removed) (citing Gertz v. Robert Welch, Inc., 418 U.S. 323, 350 (1974)).
512
      Id. at 429.
513
      Id. at 429–30.
514
      Id. at 430 (citing Time, Inc. v. Firestone, 424 U.S. 448, 475 n.3 (1976) (Brennan, J., dissenting)).
515
    See Joseph, 959 A.2d at 344 (“With words that are actionable per se, only general
damages, i.e., proof that one’s reputation was actually affected by defamation or that one suffered
personal humiliation, or both, must be proven.”). The Pennsylvania Supreme Court in Joseph did
not specify whether its analysis pertained to one of the seven statutory elements of defamation or
whether it analyzed constitutional protections. But we need not decide the analytical underpinnings
of the Joseph analysis because the court made its holding clear: Private figure plaintiffs cannot
obtain damages judgments without proving actual malice or actual reputational injury.

                                                    116
         Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 117 of 123




516
      475 U.S. 767 (1986); ECF Doc. No. 404 at 6–7, 13–15.
517
      Hepps, 475 U.S. at 776.
518
      See generally id.
519
      Id. at 774 (quoting Gertz, 418 U.S. at 347).
520
   See, e.g., id. at 774 (noting Gertz required a “showing of simple fault . . . to allow recovery for
actual damages”); id. at 780 (Stevens, J., dissenting) (“The issue the Court resolves today will
make a difference in only one category of cases—those in which a private individual can prove
that he was libeled by a defendant who was at least negligent. . . . [T]he only litigants—and the
only publishers—who will benefit from today’s decision are those who act negligently or
maliciously. (emphases added)); see also Milkovich, 497 U.S. at 20–21 (requiring actual malice
when public figures sue on matters of public concern, but requiring only “some level of fault”
when private figures sue on matters of public concern).
521
      923 A.2d 389 (Pa. 2007).
522
      Id. at 399.
523
      Id. at 399 n.12.
524
   Id. at 400 (“[S]tates are free to allow a private-figure plaintiff to recover by establishing that
the defendant acted negligently rather than maliciously . . . Indeed, we do find this to be the
appropriate standard relative to a private-figure plaintiff.”).
525
   Attorney Garabedian argues our Court of Appeals’s nonprecedential decision fifteen years ago
in Moore v. Vislosky requires Mr. Ralston to prove actual malice, not just reputational injury. 240
F. App’x 457 (3d Cir. 2007). We disagree. In Moore, our Court of Appeals predicted the
Pennsylvania Supreme Court would require actual malice to defeat a conditional privilege arising
from speech related to public concern. Id. at 464. This prediction turned out to be incorrect; the
Pennsylvania Supreme Court addressed the issue after Moore and found negligence suffices to
defeat conditional privileges. See Am. Future, 923 A.2d at 400. Our Court of Appeals returned to
applying a negligence standard to defeat conditional privileges under Pennsylvania law following
Moore. See, e.g., Wallace v. Media News Grp., Inc., 568 F. App’x 121, 125 n.4 (3d Cir. 2014)
(“Actual malice is required for liability only when the plaintiff is a public figure and the speech
relates to matters of public concern, and private figures may seek compensatory damages for
defamation under Pennsylvania law and the First Amendment on the basis of mere negligence.”);
Manning v. Flannery, 528 F. App’x 141, 143 (3d Cir. 2013) (quoting negligence standard to defeat
conditional privilege). In any event, the Moore decision does not bind us because our Court of
Appeals’s non-published opinions are “not precedents for the district courts of this circuit.” In re
Grand Jury Investigation, 445 F.3d 266, 276 (3d Cir. 2006).
526
  See Joseph, 129 A.3d at 436–37 (discussing actual malice based on what “the federal High
Court has held” and citing United States Supreme Court law in defining actual malice).
527
      McCafferty v. Newsweek Media Grp., Ltd., 955 F.3d 352, 359 (3d Cir. 2020).
                                               117
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 118 of 123




528
      Mzamane v. Winfrey, 693 F. Supp. 2d 442, 506 (E.D. Pa. 2010).
529
      Id.
530
      Joseph, 129 A.3d at 436.
531
   Manning v. WPXI, Inc., 886 A.2d 1137, 1144 (Pa. Super. Ct. 2005) (quoting Matter of Braig,
554 A.2d 493, 495 (Pa. 1989)).
532
      Medure v. New York Times Co., 60 F. Supp. 2d 477, 487 (W.D. Pa. 1999).
533
      Curran v. Phila. Newspapers, Inc., 546 A.2d 639, 642 (Pa. Super. Ct. 1988).
534
      Id.
535
      Id.
536
      Medure, 60 F. Supp. 2d at 487 (quoting St. Amant v. Thompson, 390 U.S. 727, 732 (1968)).
537
      McCafferty, 955 F.3d at 359 (citing Joseph, 129 A.3d at 437).
538
      Id. at 360 (first alteration and emphasis in original).
539
  Mzamane, 693 F. Supp. 2d at 506 (first quoting St. Amant, 390 U.S. at 731, then quoting
McDowell v. Paiewonsky, 769 F.2d 942, 951 (3d Cir. 1985)).
540
      Joseph, 129 A.3d at 437.
541
   See, e.g., ECF Doc. No. 369 (Shanin Specter Dep.) at 96:13–23 (Mr. Ralston’s expert witness,
Shanin Specter, Esquire, opining a lawyer “must exercise exquisite care in the investigatory and
evaluative process before making” claims of sexual abuse).
542
      Joseph, 129 A.3d at 437.
543
      Medure, 60 F. Supp. 2d at 487 (quoting McDowell, 769 F.2d at 951).
544
      McCafferty, 955 F.3d at 360 (emphasis in original).
545
      Id. at 359.
546
      Medure, 60 F. Supp. 2d at 487.
547
      Joseph, 129 A.3d at 437.
548
      ECF Doc. No. 403 at 24.
549
      Mzamane, 693 F. Supp. 2d at 507.
550
      Id. (emphasis added).
                                                    118
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 119 of 123




551
    See, e.g., Berisha v. Lawson, 141 S. Ct. 2424, 2425 (2021) (Thomas, J., dissenting) (urging
Supreme Court to reconsider actual malice doctrine because “of the doctrine’s real-world effects,”
as “lies impose real harm”); id. at 2429 (Gorsuch, J., dissenting) (noting the actual malice doctrine
has “evolved into a subsidy for published falsehoods on a scale no one could have foreseen [and]
it has come to leave far more people without redress than anyone could have predicted”); Tah v.
Glob. Witness Publ’g, Inc., 991 F.3d 231, 251 (D.C. Cir. 2021) (Silberman, J., dissenting) (urging
the Supreme Court to overrule actual malice doctrine considering “doubt[s] the Court would invent
the same rule” today), cert. denied, 142 S. Ct. 427, 211 L. Ed. 2d 252 (2021).
552
      See New York Times Co. v. Sullivan, 376 U.S. 254, 256–57 (1964).
553
      Berisha, 141 S. Ct. at 2428 (Gorsuch, J., dissenting).
554
   Id. (Gorsuch, J., dissenting). Because the Pennsylvania Supreme Court has adopted the federal
actual malice doctrine, criticisms of the federal doctrine apply all the same to the Pennsylvania
doctrine.
555
      Id. at 2428 (Gorsuch, J., dissenting) (emphasis in original).
556
   St. Amant, 390 U.S. at 731; see also Berisha, 141 S. Ct. at 2428 (Gorsuch, J., dissenting)
(“Under the actual malice regime as it has evolved, ignorance is bliss.” (internal quotations
omitted)).
557
   See, e.g., Blankenship v. Fox News Network, LLC, No. 19-236, 2022 WL 321023, at *15 n.24
(S.D. W. Va. Feb. 2, 2022) (compiling criticisms of actual malice doctrine but concluding “it
remains binding precedent that the court is obligated to follow”).
558
      433 F. Supp. 3d 353, 362 (D. Conn. 2020).
559
      Id. at 363.
560
      Id. at 366.
561
      Id. at 372.
562
      Id.
563
      Id. at 368–69.
564
      Id. at 376–77, 380.
565
      Id. at 380.
566
      Id.
567
      Id.
568
      Id.

                                                   119
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 120 of 123




569
      Id. at 376.
570
      Manning, 886 A.2d at 1144.
571
  Sprague v. Am. Bar Ass’n, 276 F. Supp. 2d 365, 370 (E.D. Pa. 2003) (internal quotations
omitted).
572
      Agriss v. Roadway Exp., Inc., 483 A.2d 456, 474 (Pa. Super. Ct. 1984).
573
      Marcone v. Penthouse Int’l Mag. For Men, 754 F.2d 1072, 1080 (3d Cir. 1985).
574
      Joseph, 959 A.2d at 344 (Pa. Super. Ct. 2008).
575
      Id.
576
      Id.
577
      Joseph, 959 A.2d at 345.
578
      Sprague, 276 F. Supp. 2d at 370.
579
      Id. at 370 n.6.
580
      Id. at 370.
581
    Joseph, 129 A.3d at 409–10 (newspaper article suggesting plaintiff committed money
laundering and organized crime); id. at 434 (affirming trial judge’s findings).
582
      Id.
583
      Id.
584
      Id. at 435.
585
      N.T. Jan. 12, 2022 Bench Trial at 225:24–226:1 (emphases added).
586
      See Fed. R. Evid. 602.
587
   Sprague, 276 F. Supp. 2d at 371 (finding judge’s fear of associating with defamed person did
not constitute evidence of reputational harm because the judge’s own opinion of the defamed
person did not change).
588
   Cf. id. at 370 (defamation plaintiff suffers reputational harm if the evidence allows an inference
those with “no reason to disbelieve the alleged defamation” read the defamation and believed it).
589
   Indeed, Mr. Ralston lived on The Hill School campus for four weeks unsupervised after
Headmaster Lehman made this comment.
590
      ECF Doc. No. 402 ¶ 118.
                                                 120
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 121 of 123




591
      N.T. Jan. 13, 2022 Bench Trial at 165:7–13.
592
      Menkowitz v. Peerless Publ’ns, Inc., 211 A.3d 797, 806 (Pa. 2019).
593
   Reed v. Brown, 166 A.3d 570, 575 (Pa. Commw. Ct. 2017) (citing Restatement (Second) of
Torts § 576, cmts. b & c (1977)).
594
      See N.T. Jan. 13, 2022 Bench Trial at 165:7–13.
595
    Mr. Ralston does not argue Zachary Brusko’s opinion of him changed. The argument would
fail had Mr. Ralston made it for the same reasons relevant to Mr. Zwerner. Mr. Brusko testified he
holds a positive view of Mr. Ralston. The allegations did not change Mr. Brusko’s view of Mr.
Ralston. And even if they did, Mr. Brusko heard the allegations from Mr. Ralston’s counsel for
purposes of this litigation, not from Attorney Garabedian.
596
      See Fed. R. Civ. P. 32(a).
597
  See ECF Doc. No. 372 at 70 (using the pagination assigned by the CM/ECF system) (Ralston
Dep. at 151:2–2), 77 (Ralston Dep. at 183:1–7).
598
      ECF Doc. No. 403 at 17.
599
      276 F. Supp. 2d 365.
600
      Id. at 367.
601
      Id. at 370.
602
      Id.
603
      Id.
604
      Id.
605
      Id.
606
      Joseph, 959 A.2d at 334 (emphasis added).
607
      Agriss, 483 A.2d at 473.
608
      Joseph, 129 A.3d at 429.
609
      ECF Doc. No. 400.
610
      Chicarella, 494 A.2d at 1112.
611
      Reed, 166 A.3d at 575.
612
      Stine v. Walter, 29 Pa. D. & C.4th 193, 201–02 (Com. Pl. 1996).
                                                  121
            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 122 of 123




613
      Ex. J-103.
614
      Id.
615
   Joseph v. Scranton Times, L.P., 89 A.3d 251, 261 (Pa. Super. Ct. 2014), aff’d in part, rev’d in
part on other grounds, 129 A.3d 404. As we previously explained in our December 23, 2021
Memorandum, the term “special harm” as used by the General Assembly is not to be confused
with the term “special harm” as used in the Restatement, which means economic harm or pecuniary
loss. See Ralston I, 2021 WL 6072881, at *23.
616
      Joseph, 89 A.3d at 261 (cleaned up).
617
      42 Pa. Stat. and Cons. Stat. Ann. § 8343(b)(2).
618
   See Ralston I, 2021 WL 6072881, at *9 (“[T]he Restatement advises similar application of the
judicial privilege to attorney and non-attorney conduct.”).
619
   See Higgs v. Atty. Gen. of the U.S., 655 F.3d 333, 339 (3d Cir. 2011), as amended (Sept. 19,
2011).
620
      Elia v. Erie Ins. Exch., 634 A.2d 657, 660 (Pa. Super. Ct. 1993).
621
      Restatement (Second) of Torts § 593 cmt. c (1977).
622
      Martin v. Finley, 349 F. Supp. 3d 391, 428 (M.D. Pa. 2018) (internal quotations omitted).
623
      Elia, 634 A.2d at 660.
624
      42 Pa. Stat. and Cons. Stat. Ann. § 8343(b) (requiring defendant to prove privileged occasion).
625
      Elia, 634 A.2d at 661.
626
      Id. (footnote omitted).
627
      Mzamane, 693 F. Supp. 2d at 506.
628
      Joseph, 129 A.3d at 436.
629
   See Sprague, 276 F. Supp. 2d at 368 (categorizing presumed damages as compensatory
damages).
630
      Id.
631
      Franklin Prescriptions, 424 F.3d at 341 (internal quotations omitted).
632
   See Gertz, 418 U.S. at 349 (“The largely uncontrolled discretion of juries to award [presumed]
damages where there is no loss unnecessarily compounds the potential of any system of liability
for defamatory falsehood to inhibit the vigorous exercise of First Amendment freedoms.

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            Case 2:19-cv-01539-MAK Document 436 Filed 08/26/22 Page 123 of 123




Additionally, the doctrine of presumed damages invites juries to punish unpopular opinion rather
than to compensate individuals for injury sustained by the publication of a false fact.”).
633
      Id.
634
   David A. Anderson, Reputation, Compensation and Proof, 25 Wm. & Mary L. Rev. 747, 749
(1984) (cited in Synygy, Inc. v. Scott-Levin, Inc., 51 F. Supp. 2d 570, 581 (E.D. Pa. 1999), aff’d,
229 F.3d 1139 (3d Cir. 2000)).
635
      Synygy, 51 F. Supp. 2d at 581.
636
      Anderson, Reputation, supra, at 749 (citing Sullivan, 376 U.S. 254).
637
    Pennsylvania courts “generally” require medical evidence to establish emotional distress
damages in defamation and false light cases. See Taha v. Bucks Cnty., No. 12-6867, 2021 WL
534464, at *2 (E.D. Pa. Feb. 12, 2021). But presumed damages allow us to award damages without
evidence the damages were suffered. See Synygy, 51 F. Supp. 2d at 581 n.10. We need not follow
the general rule requiring medical testimony.
638
      Synygy, 51 F. Supp. 2d at 581 n.10.
639
      Doe v. Whitebread, No. 15-1165, 2017 WL 590272, at *4 (M.D. Pa. Feb. 14, 2017).
640
      Id.
641
      433 F. Supp. 3d at 379.
642
      Id. at 378.
643
      Id. at 367.
644
      Id.
645
      Id. at 379.
646
   According to the United States Bureau of Labor Statistics, $40,000 in January 2020 is worth
about $46,000 in July 2022. See U.S. Bureau of Labor Statistics, CPI Inflation Calculator,
available at https://www.bls.gov/data/inflation_calculator.htm.
647
      Gertz, 418 U.S. at 350.
648
   Clemente v. Espinosa, 749 F. Supp. 672, 681–82 (E.D. Pa. 1990) (citing Rhoads v. Heberling,
451 A.2d 1378 (Pa. Super. Ct. 1982)).
649
  Chuy v. Phila. Eagles Football Club, 595 F.2d 1265, 1277 (3d Cir. 1979) (quoting Medvecz v.
Choi, 569 F.2d 1221, 1227 (3d Cir. 1977)).
650
      Clemente, 749 F. Supp. at 681.

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